Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 1 of 212




                   EXHIBIT A
        Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 2 of 212



            UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                    UNITED STATES DEPARTMENT OF COMMERCE
                                                                    United States Patent and Trademark Office
                                                                    Address: COMMISSIONER FOR PATENTS
                                                                           P.O.Box 1450
                                                                           Akxandria, Virg[Ilia 22313-1450
                                                                           www.uspto.gov

    APPLICATION NUMBER          PATENT NUMBER            GROUP ART UNIT                  FILE WRAPPER LOCATION

        13/971,606                8836922                    3645                                   9200

                                                                    11111HIN111114111111111E111111111111111110111111
                         Correspondence Address/Fee Address Change
The following fields have been set to Customer Number 138779 on 03/09/2016
  • Correspondence Address
  • Maintenance Fee Address
The address of record for Customer Number 138779 is:
138779
McDonnell Boehnen Hulbert & Berghoff LLP/X
300 South Wacker Drive
Chicago, IL 60606




                               PART 1 - ATTORNEY/APPLICANT COPY
                                            page 1 of 1
                Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 3 of 212
                     UNITED STA1ES PA1ENT AND TRADEMARK OFFICE
                                                                                    UNITED STATES DEPARTMENT OF COMMERCE
                                                                                    United States Patent and Trademark Office
                                                                                    Address: COMMISSIONER FOR PATENTS
                                                                                           P.O. Box 1450
                                                                                           Alexandria, Virginia 22313-1450
                                                                                           www.uspto.gov


      APPLICATION NO.             ISSUE DATE              PATENT NO.         ATTORNEY DOCKET NO.        CONFIRMATION NO.

          13/971,606              09/16/2014                8836922                 13-873                     4985


            98929         7590        08/27/2014
        McDonnell Boehnen Hulbert & Berghoff
        LLP/Google Inc.
        300 South Wacker Drive, Suite 3100
        Chicago, IL 60606



                                                   ISSUE NOTIFICATION

The projected patent number and issue date are specified above.

                          Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                      (application filed on or after May 29, 2000)

The Patent Term Adjustment is 0 day(s). Any patent to issue from the above-identified application will include
an indication of the adjustment on the front page.

If a Continued Prosecution Application (CPA) was filed in the above-identified application, the filing date that
determines Patent Term Adjustment is the filing date of the most recent CPA.

Applicant will be able to obtain more detailed information by accessing the Patent Application Information
Retrieval (PAIR) WEB site (http://pair.uspto.gov).

Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the
Office of Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee
payments should be directed to the Application Assistance Unit (AAU) of the Office of Data Management
(ODM) at (571)-272-4200.

APPLICANT(s) (Please see PAIR WEB site http://pair.uspto.gov for additional applicants):
Google Inc., Mountain View, CA, Assignee (with 37 CFR 1.172 Interest);
Gaetan Pennecot, San Francisco, CA;
Pierre-Yves Droz, Los Altos, CA;
Drew Eugene Ulrich, San Francisco, CA;
Daniel Gruver, San Francisco, CA;
Zachary Morriss, San Francisco, CA;
Anthony Levandowski, Berkeley, CA;




The United States represents the largest, most dynamic marketplace in the world and is an unparalleled location
for business investment, innovation, and commercialization of new technologies. The USA offers tremendous
resources and advantages for those who invest and manufacture goods here. Through SelectUSA, our nation
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IR103 (Rev. 10/09)
                        Case 3:17-cv-00939-WHA  Document
                                             PART B - FEE(S) 584-51 Filed 06/12/17 Page 4 of 212
                                                             TRANSMITTAL
  Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                         Commissioner for Patents
                                                                         P.O. Box 1450
                                                                         Alexandria, Virginia 22313-1450
                                                                 or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)              Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                             Fee(s) Transmittal. This certificate cannot be used for any other accompanying
                                                                                             papers. Each additional paper, such as an assignment or formal drawing, must
  98929                                                                                      have its own certificate of mailing or transmission.
 McDonnell Boehnen Hulbert & Berghoff LLP/Google                                                                         Certificate of Mailing or Transmission
 Inc.                                                                                                I hereby certify that this Fee(s) Transmittal is being deposited with the United
                                                                                                     States Postal Service with sufficient postage for first class mail in an envelope
 300 South Wacker Drive, Suite 3100                                                                  addressed to the Mail Stop ISSUE FEE address above, or being facsimile
                                                                                                     transmitted to the USPTO (571) 273-2885, on the date indicated below.
 Chicago, IL 60606                                                                                                                                                     (Depositor's name)
                                                                                                                                                                              (Signature)
                                                                                                                                                                                  (Date)

    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                             ATTORNEY DOCKET NO.            CONFIRMATION NO.

13/971,606                   08/20/2013                   Gaetan Pennecot                                                    13-873                       4985
TITLE OF INVENTION:




     APPLN. TYPE             SMALL ENTITY              ISSUE FEE DUE         PUBLICATION FEE DUE PREY. PAID ISSUE FEE TOTAL FEE(S) DUE                              DATE DUE

Nonprovisional NO                                  $960                      $0                           $0                        $960                     09/16/2014
                   EXAMINER                               ART UNIT              CLASS-SUBCLASS



1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).                                                                                                                                1 McDonnell Boehnen Hulbert & Berghoff LLP
                                                                                (1) the names of up to 3 registered patent attorneys
   ❑ Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
   Address form PTO/SB/122) attached.                                                                                                      2
                                                                                (2) the name of a single firm (having as a member a
   ❑ "Fee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is     3
   Number is required.                                                          listed, no name will be printed.

3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)
  Google Inc.                                                                  Mountain View, CA


Please check the appropriate assignee category or categories (will not be printed on the patent) :    ❑ Individual El Corporation or other private group entity ❑ Government

4a. The following fee(s) are submitted:                                   4b. Payment of Fee(s): (Please first reapply any previously paid issue fee shown above)
   a Issue Fee                                                               ❑ A check is enclosed.
   ❑ Publication Fee (No small entity discount permitted)                    ❑ Payment by credit card. Form PTO-2038 is attached.
   ❑ Advance Order - # of Copies                                               The Director is hereby authorized to charge the required fee(s), any deficiency, or credit any
                                                                               overpayment, to Deposit Account Number ,32490               (enclose an extra copy of this form).
5. Change in Entity Status (from status indicated above)
   ❑ a. Applicant claims SMALL ENTITY status. See 37 CFR 1.27.               ❑ b. Applicant is no longer claiming SMALL ENTITY status. See 37 CFR 1.27(g)(2).
NOTE: The Issue Fee and Publication Fee (if required) will not be accepted from anyone other than the applicant; a registered attorney or agent; or the assignee or other party in
interest as shown by the records of the United States Patent and Trademark Office.


   Authorized Signature
                          /Richard A. Machonkin/                                                               Date   August 12, 2014

   Typed or printed name   Richard A. Machonkin                                                                Registration No.   41,962

This collection of information is required by 37 CFR 1.311. The information is required to obtain or retain a benefit by the public which is to file (and by the USPTO to process)
an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete, including gathering, preparing, and
submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you require to complete
this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and Trademark Office, U.S. Department of Commerce, P.O.
Box 1450, Alexandria, Virginia 22313-1450. DO NOT SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box 1450,
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PTOL-85 (Rev. 02/11) Approved for use through 08/31/2013.                       OMB 0651-0033           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
     Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 5 of 212




                                      Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with
your submission of the attached form related to a patent application or patent. Accordingly, pursuant to
the requirements of the Act, please be advised that: (1) the general authority for the collection of this
information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the
principal purpose for which the information is used by the U.S. Patent and Trademark Office is to process
and/or examine your submission related to a patent application or patent. If you do not furnish the
requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine
your submission, which may result in termination of proceedings or abandonment of the application or
expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:
 1. The information on this form will be treated confidentially to the extent allowed under the Freedom
    of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.0 552a). Records from this system of
    records may be disclosed to the Department of Justice to determine whether disclosure of these
    records is required by the Freedom of Information Act.
 2. A record from this system of records may be disclosed, as a routine use, in the course of presenting
    evidence to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel
    in the course of settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress
    submitting a request involving an individual, to whom the record pertains, when the individual has
    requested assistance from the Member with respect to the subject matter of the record.
 4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency
    having need for the information in order to perform a contract. Recipients of information shall be
    required to comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5
    U.S.C. 552a(m).
 5. A record related to an International Application filed under the Patent Cooperation Treaty in this
    system of records may be disclosed, as a routine use, to the International Bureau of the World
    Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for
    purposes of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy
    Act (42 U.S.C. 218(c)).
 7. A record from this system of records may be disclosed, as a routine use, to the Administrator,
    General Services, or his/her designee, during an inspection of records conducted by GSA as part of
    that agency's responsibility to recommend improvements in records management practices and
    programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance
    with the GSA regulations governing inspection of records for this purpose, and any other relevant
    (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make determinations about
    individuals.
 8. A record from this system of records may be disclosed, as a routine use, to the public after either
    publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35
    U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37 CFR 1.14, as a
    routine use, to the public if the record was filed in an application which became abandoned or in
    which the proceedings were terminated and which application is referenced by either a published
    application, an application open to public inspection or an issued patent.
 9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local
    law enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or
    regulation.
                Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 6 of 212



                                 Electronic Patent Application Fee Transmittal

Application Number:                                 13971606


Filing Date:                                        20-Aug-2013




                                                    DEVICES AND METHODS FOR A ROTATING LIDAR PLATFORM WITH A SHARED
Title of Invention:
                                                    TRANSMIT/RECEIVE PATH




First Named Inventor/Applicant Name:                Gaetan Pennecot


Filer:                                              Richard A Machonkin


Attorney Docket Number:                             13-873


Filed as Large Entity


Utility under 35 USC 111(a) Filing Fees

                                                                                                     Sub-Total in
                           Description                       Fee Code     Quantity    Amount
                                                                                                       USD($)


Basic Filing:



Pages:



Claims:



Miscellaneous-Filing:



Petition:



Patent-Appeals-and-Interference:



Post-Allowance-and-Post-Issuance:


                        Utility Appl Issue Fee                 1501          1           960             960


Extension-of-Time:
           Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 7 of 212
                                                                                Sub-Total in
                  Description                 Fee Code   Quantity      Amount
                                                                                  USD($)


Miscellaneous:


                                                    Total in USD ($)             960
             Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 8 of 212
                             Electronic Acknowledgement Receipt

                         EFS ID:                                19840411


                  Application Number:                           13971606


         International Application Number:


                  Confirmation Number:                          4985




                                                                DEVICES AND METHODS FOR A ROTATING LIDAR PLATFORM WITH A SHARED
                    Title of Invention:
                                                                TRANSMIT/RECEIVE PATH




       First Named Inventor/Applicant Name:                     Gaetan Pennecot


                   Customer Number:                             98929


                           Filer:                               Richard A Machonkin


                   Filer Authorized By:


               Attorney Docket Number:                          13-873


                      Receipt Date:                             12-AUG-2014


                       Filing Date:                             20-AUG-2013


                      Time Stamp:                               12:59:51


                    Application Type:                           Utility under 35 USC 111(a)


Payment information:
Submitted with Payment                                          yes

Payment Type                                                  Deposit Account

Payment was successfully received in RAM                       $960

RAM confirmation Number                                         10094

Deposit Account                                                 132490

Authorized User

The Director of the USPTO is hereby authorized to charge indicated fees and credit any overpayment as follows:
      Charge any Additional Fees required under 37 C.F.R. Section 1.16 (National application filing, search, and examination fees)

      Charge any Additional Fees required under 37 C.F.R. Section 1.17 (Patent application and reexamination processing fees)
            Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 9 of 212
      Charge any Additional Fees required under 37 C.F.R. Section 1.19 (Document supply fees)

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 Document                                                                                         File Size(Bytes)/                  Multi         Pages
                      Document Description                          File Name
  Number                                                                                          Message Digest                    Part /.zip   (if appl.)

                                                                                                            73973
     1               Issue Fee Payment (PTO-85B)               13-873_Issue_Fee.pdf                                                     no           2
                                                                                           352509f977a704a824707897480195b0ab2
                                                                                                          acd7b



Warnings:

Information:

                                                                                                            30336
     2                  Fee Worksheet (51306)                       fee-info.pdf                                                        no           2
                                                                                              8f620447ba19e2394308680173d1c808e7c
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Warnings:

Information:

                                                            Total Files Size (in bytes):                                       104309


This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
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New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 1810), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/105) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
           Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 10 of 212



                UNITED STATES PATENT AND TRADEMARK OFFICE
                                                                                          UNITED STATES DEPARTMENT OF COMMERCE
                                                                                          United States Patent and Trademark Office
                                                                                          Address: COMMISSIONER FOR PATENTS
                                                                                                 PO. Box 1450
                                                                                                 Alexandria, Virginia 22313-1450
                                                                                                 www.uspto.gov

    APPLICATION NUMBER               FILING OR 371(C) DATE                 FIRST NAMED APPLICANT               ATTY. DOCKET NO./TITLE

          13/971,606                     08/20/2013                          Gaetan Pennecot             13-873
                                                                                                 CONFIRMATION NO. 4985
98929                                                                                    NONPUBLICATION RESCISSION
McDonnell Boehnen Hulbert & Berghoff                                                     LETTER
LLP/Google Inc.
300 South Wacker Drive, Suite 3100                                                      11111111111111111111111110I00000985886 HAI      II
Chicago, IL 60606
                                                                                                              Date Mailed: 07/29/2014




                             Communication Regarding Rescission Of
                        Nonpublication Request and/or Notice of Foreign Filing
Applicant's rescission of the previously-filed nonpublication request and/or notice of foreign filing is acknowledged.
The paper has been reflected in the Patent and Trademark Office's (USPTO's) computer records so that the
earliest possible projected publication date can be assigned.
The projected publication date is 02/26/2015.
If applicant rescinded the nonpublication request before or on the date of "foreign filing," then no notice of foreign
filing is required.
If applicant foreign filed the application after filing the above application and before filing the rescission,
and the rescission did not also include a notice of foreign filing, then a notice of foreign filing (not merely a
rescission) is required to be filed within 45 days of the date of foreign filing. See 35 U.S.C. § 122(b)(2)(B)(iii), and
Clarification of the United States Patent and Trademark Office's Interpretation of the Provisions of 35 U.S.C. §
122(b)(2)(B)(ii)-(iv), 1272 Off. Gaz. Pat. Office 22 (July 1, 2003).
If a notice of foreign filing is required and is not filed within 45 days of the date of foreign filing, then the
application becomes abandoned pursuant to 35 U.S.C. § 122(b)(2)(B)(iii). In this situation, applicant should either
file a petition to revive or notify the Office that the application is abandoned. See 37 CFR 1.137(f). Any such
petition to revive will be forwarded to the Office of Petitions for a decision. Note that the filing of the petition will
not operate to stay any period of reply that may be running against the application.
Questions regarding petitions to revive should be directed to the Office of Petitions at (571) 272-3282.
1 Note,for purpose of this notice, that "foreign filing" means "filing an application directed to the same invention in another
country, or under a multilateral international agreement, that requires publication of applications 18 months after filing".




                  /gasgedom/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                             page 1 of 1
             Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 11 of 212
                                                                                                                                              PTO/SB/36 (07-09)
                                                                                                          Approved for use through 07/31/2012. OMB 0651-0031
                                                                                    U.S. Patent and Trademark Office; U. S. DEPARTMENT OF COMMERCE
      Under the Paperwork Reduction Act of 1995, no persons are required to espond to a collection of information unless it displays a valid OMB control number.



(RESCISSION OF PREVIOUS NONPUBLICATION                                           Application Number         13/971,606
                   REQUEST
                                                                                 Filing Date                 August 20, 2013
           (35 U.S.C. 122(b)(2)(B)(ii))
              AND, IF APPLICABLE,                                                                            Gaetan Pennecot
                                                                                 First Named Inventor
         NOTICE OF FOREIGN FILING
           (35 U.S.C. 122(b)(2)(B)(iii))                                         Title      Devices and Methods for a Rotating LIDAR Pla
 Send completed form to:
 Mail Stop PG Pub
                                                                                 Atty Docket Number          13-873
 Commissioner for Patents
 P.O. Box 1450                                                                                              3645
 Alexandria, VA 22313-1450                                                       Art Unit
Z(: (571) 273-8300
                                                                                 Examiner                    Samantha K. Abraham



A request that the above-identified application not be published under 35 U.S.C. 122(b) (nonpublication request)
was included with the above-identified application on filing pursuant to 35 U.S.C. 122(b)(2)(B)(i).
I hereby rescind the previous nonpublication request.

If a notice of foreign or international filing is or will be required by 35 U.S.C. 122(b)(2)(B)(iii) and 37 CFR 1.213(c),
I hereby provide such notice. This notice is being provided no later than forty-five (45) days after the date of such
foreign or international filing.

If a notice of subsequent foreign or international filing required by 35 U.S.C. 122(b)(2)(B)(iii) and 37 CFR 1.213(c)
was not filed within forty-five (45) days after the date of filing of the foreign or international application, the
application is ABANDONED, and a petition to revive under 37 CFR 1.137(b) is required. See 37 CFR 1.137(1).

   /Richard A. Machonkin/                                                                                           July 23, 2014

                                                  Signature                                                                              Date

   Richard A. Machonkin                                                                                             41,962

                                         Typed or printed name                                                             Registration Number, if
                                                                                                                                 applicable
   312-913-0001

                                           Telephone Number

     This request must be signed in compliance with 37 CFR 1.33(b).

    If information or assistance is needed in completing this form, please contact the Pre-Grant Publication
    Division at (703)605-4283 or by e-mail at PGPub@USPTO.gov.



                                                 CERTIFICATE OF MAILING OR TRANSMISSION
  I hereby certify that this correspondence is being deposited with the United States Postal Service with sufficient postage as first class mail
  in an envelope addressed to: Mail Stop PG Pub, Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450, or facsimile
  transmitted to the U.S. Patent and Trademark Office on the date shown below.

  Signature

Name (Print/Type)                                                                                   Date

This collection of information is required by 37 CFR 1.213(b). The information is required to obtain or reta'n a benefit by the public which is to file (and by the
USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 6 minutes to
complete, including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any
comments on the amount of time you require to complete this form and/or suggestions for reducing this burden, should be sent to the Chief Information Officer,
U.S. Patent and Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED
FORMS TO THIS ADDRESS. SEND TO: Mail Stop PG Pub, Commissioner for Patents, P.O. Box 1450, Alexandria, VA 22313-1450.

                               If you need assistance in completing the form, call 1-800-PTO-9199 and select option 2.
 Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 12 of 212




                                        Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection
with your submission of the attached form related to a patent application or patent. Accordingly,
pursuant to the requirements of the Act, please be advised that: (1) the general authority for the
collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary;
and (3) the principal purpose for which the information is used by the U.S. Patent and Trademark
Office is to process and/or examine your submission related to a patent application or patent. If you do
not furnish the requested information, the U.S. Patent and Trademark Office may not be able to
process and/or examine your submission, which may result in termination of proceedings or
abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1. The information on this form will be treated confidentially to the extent allowed under the
       Freedom of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.0 552a). Records from
       this system of records may be disclosed to the Department of Justice to determine whether
       disclosure of these records is required by the Freedom of Information Act.
    2. A record from this system of records may be disclosed, as a routine use, in the course of
       presenting evidence to a court, magistrate, or administrative tribunal, including disclosures to
       opposing counsel in the course of settlement negotiations.
    3. A record in this system of records may be disclosed, as a routine use, to a Member of
       Congress submitting a request involving an individual, to whom the record pertains, when the
       individual has requested assistance from the Member with respect to the subject matter of the
       record.
    4. A record in this system of records may be disclosed, as a routine use, to a contractor of the
       Agency having need for the information in order to perform a contract. Recipients of
       information shall be required to comply with the requirements of the Privacy Act of 1974, as
       amended, pursuant to 5 U.S.C. 552a(m).
    5. A record related to an International Application filed under the Patent Cooperation Treaty in
       this system of records may be disclosed, as a routine use, to the International Bureau of the
       World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
    6. A record in this system of records may be disclosed, as a routine use, to another federal
       agency for purposes of National Security review (35 U.S.C. 181) and for review pursuant to
       the Atomic Energy Act (42 U.S.C. 218(c)).
    7. A record from this system of records may be disclosed, as a routine use, to the Administrator,
       General Services, or his/her designee, during an inspection of records conducted by GSA as
       part of that agency's responsibility to recommend improvements in records management
       practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall
       be made in accordance with the GSA regulations governing inspection of records for this
       purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not
       be used to make determinations about individuals.
    8. A record from this system of records may be disclosed, as a routine use, to the public after
       either publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent
       pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
       CFR 1.14, as a routine use, to the public if the record was filed in an application which
       became abandoned or in which the proceedings were terminated and which application is
       referenced by either a published application, an application open to public inspection or an
       issued patent.
    9. A record from this system of records may be disclosed, as a routine use, to a Federal, State,
       or local law enforcement agency, if the USPTO becomes aware of a violation or potential
       violation of law or regulation.
            Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 13 of 212
                             Electronic Acknowledgement Receipt

                         EFS ID:                         19664412


                 Application Number:                     13971606


          International Application Number:


                Confirmation Number:                     4985




                                                         DEVICES AND METHODS FOR A ROTATING LIDAR PLATFORM WITH A SHARED
                   Title of Invention:
                                                         TRANSMIT/RECEIVE PATH




         First Named Inventor/Applicant Name:            Gaetan Pennecot


                  Customer Number:                       98929


                          Filer:                         Richard A Machonkin


                  Filer Authorized By:


               Attorney Docket Number:                   13-873


                     Receipt Date:                       23-JUL- 2014


                      Filing Date:                       20-AUG-2013


                      Time Stamp:                        17:34:35


                   Application Type:                     Utility under 35 USC 111(a)


Payment information:
Submitted with Payment                                   no


File Listing:
 Document                                                                                   File Size(Bytes)/                  Multi         Pages
                      Document Description                    File Name
  Number                                                                                    Message Digest                    Part /.zip   (if appl.)

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Warnings:

Information:
           Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 14 of 212
                                                     Total Files Size (in bytes)                   259673


This Acknowledgement Receipt evidences receipt on the noted date by the USPTO of the indicated documents,
characterized by the applicant, and including page counts, where applicable. It serves as evidence of receipt similar to a
Post Card, as described in MPEP 503.

New Applications Under 35 U.S.C. 111
If a new application is being filed and the application includes the necessary components for a filing date (see 37 CFR
1.53(b)-(d) and MPEP 506), a Filing Receipt (37 CFR 1.54) will be issued in due course and the date shown on this
Acknowledgement Receipt will establish the filing date of the application.

National Stage of an International Application under 35 U.S.C. 371
If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
U.S.C. 371 and other applicable requirements a Form PCT/DO/E0/903 indicating acceptance of the application as a
national stage submission under 35 U.S.C. 371 will be issued in addition to the Filing Receipt, in due course.

New International Application Filed with the USPTO as a Receiving Office
If a new international application is being filed and the international application includes the necessary components for
an international filing date (see PCT Article 11 and MPEP 1810), a Notification of the International Application Number
and of the International Filing Date (Form PCT/RO/105) will be issued in due course, subject to prescriptions concerning
national security, and the date shown on this Acknowledgement Receipt will establish the international filing date of
the application.
                       Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 15 of 212

                     UNITED STA I ES PA I ENT AND TRADEMARK OFFICE
                                                                                                    UNITED STATES DEPARTMENT OF COMMERCE
                                                                                                    United States Patent and Trademark Office
                                                                                                    Address: COMMISSIONER FOR PATENTS
                                                                                                           P.O. Box 1450
                                                                                                           Alexandria, Virginia 22313-1450
                                                                                                           www.uspto.gov



                                     NOTICE OF ALLOWANCE AND FEE(S) DUE

                                                                                                                         EXAMINER
       98929            7590          06/16/2014
   McDonnell Boehnen Hulbert & Berghoff                                                                       ABRAHAM, SAMANTHA K
   LLP/Google Inc.
   300 South Wacker Drive, Suite 3100                                                                    ART UNIT                   PAPER NUMBER

   Chicago, IL 60606                                                                                       3645

                                                                                                  DATE MAILED: 06/16/2014



   APPLICATION NO.             FILING DATE                     FIRST NAMED INVENTOR               ATTORNEY DOCKET NO.          CONFIRMATION NO.

       13/971,606               08/20/2013                        Gaetan Pennecot                         13-873                        4985
TITLE OF INVENTION: DEVICES AND METHODS FOR A ROTATING LIDAR PLATFORM WITH A SHARED TRANSMIT/RECEIVE PATH




    APPLN. TYPE           ENTITY STATUS        ISSUE FEE DUE   PUBLICATION FEE DUE PREY. PAID ISSUE FEE TOTAL FEE(S) DUE               DATE DUE

    nonprovisional       UNDISCOUNTED              $960                 $0                  $0                    $960                 09/16/2014

THE APPLICATION IDENTIFIED ABOVE HAS BEEN EXAMINED AND IS ALLOWED FOR ISSUANCE AS A PATENT.
PROSECUTION ON THE MERITS IS CLOSED. THIS NOTICE OF ALLOWANCE IS NOT A GRANT OF PATENT RIGHTS.
THIS APPLICATION IS SUBJECT TO WITHDRAWAL FROM ISSUE AT THE INITIATIVE OF THE OFFICE OR UPON
PETITION BY THE APPLICANT. SEE 37 CFR 1.313 AND MPEP 1308.
THE ISSUE FEE AND PUBLICATION FEE (IF REQUIRED) MUST BE PAID WITHIN THREE MONTHS FROM THE
MAILING DATE OF THIS NOTICE OR THIS APPLICATION SHALL BE REGARDED AS ABANDONED. THIS
STATUTORY PERIOD CANNOT BE EXTENDED. SEE 35 U.S.C. 151. THE ISSUE FEE DUE INDICATED ABOVE DOES
NOT REFLECT A CREDIT FOR ANY PREVIOUSLY PAID ISSUE FEE IN THIS APPLICATION. IF AN ISSUE FEE HAS
PREVIOUSLY BEEN PAID IN THIS APPLICATION (AS SHOWN ABOVE), THE RETURN OF PART B OF THIS FORM
WILL BE CONSIDERED A REQUEST TO REAPPLY THE PREVIOUSLY PAID ISSUE FEE TOWARD THE ISSUE FEE NOW
DUE.

HOW TO REPLY TO THIS NOTICE:
I. Review the ENTITY STATUS shown above. If the ENTITY STATUS is shown as SMALL or MICRO, verify whether entitlement to that
entity status still applies.
If the ENTITY STATUS is the same as shown above, pay the TOTAL FEE(S) DUE shown above.
If the ENTITY STATUS is changed from that shown above, on PART B - FEE(S) TRANSMITTAL, complete section number 5 titled
"Change in Entity Status (from status indicated above)".
For purposes of this notice, small entity fees are 1/2 the amount of undiscounted fees, and micro entity fees are 1/2 the amount of small entity
fees.



II. PART B - FEE(S) TRANSMITTAL, or its equivalent, must be completed and returned to the United States Patent and Trademark Office
(USPTO) with your ISSUE FEE and PUBLICATION FEE (if required). If you are charging the fee(s) to your deposit account, section "4b"
of Part B - Fee(s) Transmittal should be completed and an extra copy of the form should be submitted. If an equivalent of Part B is filed, a
request to reapply a previously paid issue fee must be clearly made, and delays in processing may occur due to the difficulty in recognizing
the paper as an equivalent of Part B.
III. All communications regarding this application must give the application number. Please direct all communications prior to issuance to
Mail Stop ISSUE FEE unless advised to the contrary.
IMPORTANT REMINDER: Utility patents issuing on applications filed on or after Dec. 12, 1980 may require payment of
maintenance fees. It is patentee's responsibility to ensure timely payment of maintenance fees when due.

                                                                   Page 1 of 3
PTOL-85 (Rev. 02/11)
                       Case 3:17-cv-00939-WHA Document
                                            PART B - FEE(S)584-51 Filed 06/12/17 Page 16 of 212
                                                            TRANSMITTAL
  Complete and send this form, together with applicable fee(s), to: Mail Mail Stop ISSUE FEE
                                                                         Commissioner for Patents
                                                                         P.O. Box 1450
                                                                         Alexandria, Virginia 22313-1450
                                                                 or Fax (571)-273-2885
INSTRUCTIONS: This form should be used for transmitting the ISSUE FEE and PUBLICATION FEE (if required). Blocks 1 through 5 should be completed where
appropriate. All further correspondence including the Patent, advance orders and notification of maintenance fees will be mailed to the current correspondence address as
indicated unless corrected below or directed otherwise in Block 1, by (a) specifying a new correspondence address; and/or (b) indicating a separate "FEE ADDRESS" for
maintenance fee notifications.
                                                                                             Note: A certificate of mailing can only be used for domestic mailings of the
                                                                                             Fee(s) Transmittal. This certificate cannot be used for any other accompanying
   CURRENT CORRESPONDENCE ADDRESS (Note: Use Block 1 for any change of address)              papers. Each additional paper, such as an assignment or formal drawing, must
                                                                                             have its own certificate of mailing or transmission.

                                                                                                                         Certificate of Mailing or Transmission
        98929              7590              06/16/2014                                              I hereby certify that this Fee(s) Transmittal is being deposited with the United
    McDonnell Boehnen Hulbert & Berghoff                                                             States Postal Service with sufficient postage for first class mail in an envelope
                                                                                                     addressed to the Mail Stop ISSUE FEE address above, or being facsimile
    LLP/Google Inc.                                                                                  transmitted to the USPTO (571) 273-2885, on the date indicated below.
    300 South Wacker Drive, Suite 3100
                                                                                                                                                                      (Depositor's name)
    Chicago, IL 60606
                                                                                                                                                                             (Signature)
                                                                                                                                                                                 (Date)




    APPLICATION NO.                 FILING DATE                             FIRST NAMED INVENTOR                             ATTORNEY DOCKET NO.            CONFIRMATION NO.

        13/971,606                   08/20/2013                                  Gaetan Pennecot                                       13-873                        4985
TITLE OF INVENTION: DEVICES AND METHODS FOR A ROTATING LIDAR PLATFORM WITH A SHARED TRANSMIT/RECEIVE PATH




     APPLN. TYPE             ENTITY STATUS             ISSUE FEE DUE        I PUBLICATION FEE DUE PREY. PAID ISSUE FEE TOTAL FEE(S) DUE                            DATE DUE

    nonprovisional         UNDISCOUNTED                      $960                        $0                          $0                        $960                09/16/2014

                   EXAMINER                               ART UNIT              CLASS-SUBCLASS

         ABRAHAM, SAMANTHA K                                 3645                   356-004010

1. Change of correspondence address or indication of "Fee Address" (37          2. For printing on the patent front page, list
CFR 1.363).                                                                                                                                1
                                                                                (1) The names of up to 3 registered patent attorneys
   ❑ Change of correspondence address (or Change of Correspondence              or agents OR, alternatively,
   Address form PTO/SB/122) attached.                                                                                                      2
                                                                                (2) The name of a single firm (having as a member a
   ❑ "Fee Address" indication (or "Fee Address" Indication form                 registered attorney or agent) and the names of up to
   PTO/SB/47; Rev 03-02 or more recent) attached. Use of a Customer             2 registered patent attorneys or agents. If no name is     3
   Number is required.                                                          listed, no name will be printed.


3. ASSIGNEE NAME AND RESIDENCE DATA TO BE PRINTED ON THE PATENT (print or type)
   PLEASE NOTE: Unless an assignee is identified below, no assignee data will appear on the patent. If an assignee is identified below, the document has been filed for
   recordation as set forth in 37 CFR 3.11. Completion of this form is NOT a substitute for filing an assignment.
   (A) NAME OF ASSIGNEE                                                      (B) RESIDENCE: (CITY and STATE OR COUNTRY)




Please check the appropriate assignee category or categories (will not be printed on the patent) :    ❑ Individual ❑ Corporation or other private group entity ❑ Government

4a. The following fee(s) are submitted:                                   4b. Payment of Fee(s): (Please first reapply any previously paid issue fee shown above)
   ❑ Issue Fee                                                               ❑ A check is enclosed.
   ❑ Publication Fee (No small entity discount permitted)                    ❑ Payment by credit card. Form PTO-2038 is attached.
   ❑ Advance Order - # of Copies                                             ❑ The Director is hereby authorized to charge the required fee(s), any deficiency, or credits any
                                                                               overpayment, to Deposit Account Number                      (enclose an extra copy of this form).
5. Change in Entity Status (from status indicated above)
   ❑ Applicant certifying micro entity status. See 37 CFR 1.29               NOTE: Absent a valid certification of Micro Entity Status (see forms PTO/SB/15A and 15B), issue
                                                                             fee payment in the micro entity amount will not be accepted at the risk of application abandonment.
   ❑ Applicant asserting small entity status. See 37 CFR 1.27                NOTE: If the application was previously under micro entity status, checking this box will be taken
                                                                             to be a notification of loss of entitlement to micro entity status.
   ❑ Applicant changing to regular undiscounted fee status.                  NOTE: Checking this box will be taken to be a notification of loss of entitlement to small or micro
                                                                             entity status, as applicable.
NOTE: This form must be signed in accordance with 37 CFR 1.31 and 1.33. See 37 CFR 1.4 for signature requirements and certifications.


   Authorized Signature                                                                                       Date

   Typed or printed name                                                                                      Registration No.


                                                                                 Page 2 of 3
PTOL-85 Part B (10-13) Approved for use through 10/31/2013.                     OMB 0651-0033           U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                    Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 17 of 212

                    UNITED STA IES PA PENT AND TRADEMARK OFFICE
                                                                                  UNITED STATES DEPARTMENT OF COMMERCE
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                                                                                         P.O. Box 1450
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   APPLICATION NO.            FILING DATE            FIRST NAMED INVENTOR       ATTORNEY DOCKET NO.       CONFIRMATION NO.

       13/971,606              08/20/2013               Gaetan Pennecot                 13-873                  4985

                                                                                                 EXAMINER
       98929           7590          06/16/2014
   McDonnell Boehnen Hulbert & Berghoff                                                    ABRAHAM, SAMANTHA K
   LLP/Google Inc.
   300 South Wacker Drive, Suite 3100                                                 ART UNIT              PAPER NUMBER
   Chicago, IL 60606                                                                     3645

                                                                                DATE MAILED: 06/16/2014




                              Determination of Patent Term Adjustment under 35 U.S.C. 154 (b)
                                         (Applications filed on or after May 29, 2000)
The Office has discontinued providing a Patent Term Adjustment (PTA) calculation with the Notice of Allowance.
Section 1(h)(2) of the AIA Technical Corrections Act amended 35 U.S.C. 154(b)(3)(B)(i) to eliminate the
requirement that the Office provide a patent term adjustment determination with the notice of allowance. See
Revisions to Patent Term Adjustment, 78 Fed. Reg. 19416, 19417 (Apr. 1, 2013). Therefore, the Office is no longer
providing an initial patent term adjustment determination with the notice of allowance. The Office will continue to
provide a patent term adjustment determination with the Issue Notification Letter that is mailed to applicant
approximately three weeks prior to the issue date of the patent, and will include the patent term adjustment on the
patent. Any request for reconsideration of the patent term adjustment determination (or reinstatement of patent term
adjustment) should follow the process outlined in 37 CFR 1.705.


Any questions regarding the Patent Term Extension or Adjustment determination should be directed to the Office of
Patent Legal Administration at (571)-272-7702. Questions relating to issue and publication fee payments should be
directed to the Customer Service Center of the Office of Patent Publication at 1-(888)-786-0101 or (571)-272-4200.




                                                         Page 3 of 3
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     Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 18 of 212

                  OMB Clearance and PRA Burden Statement for PTOL-85 Part B

The Paperwork Reduction Act (PRA) of 1995 requires Federal agencies to obtain Office of Management and
Budget approval before requesting most types of information from the public. When OMB approves an agency
request to collect information from the public, OMB (i) provides a valid OMB Control Number and expiration
date for the agency to display on the instrument that will be used to collect the information and (ii) requires the
agency to inform the public about the OMB Control Number's legal significance in accordance with 5 CFR
1320.5(b).

The information collected by PTOL-85 Part B is required by 37 CFR 1.311. The information is required to obtain
or retain a benefit by the public which is to file (and by the USPTO to process) an application. Confidentiality is
governed by 35 U.S.C. 122 and 37 CFR 1.14. This collection is estimated to take 12 minutes to complete,
including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary
depending upon the individual case. Any comments on the amount of time you require to complete this form
and/or suggestions for reducing this burden, should be sent to the Chief Information Officer, U.S. Patent and
Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, Virginia 22313-1450. DO NOT
SEND FEES OR COMPLETED FORMS TO THIS ADDRESS. SEND TO: Commissioner for Patents, P.O. Box
1450, Alexandria, Virginia 22313-1450. Under the Paperwork Reduction Act of 1995, no persons are required to
respond to a collection of information unless it displays a valid OMB control number.

                                           Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the
requirements of the Act, please be advised that: (1) the general authority for the collection of this information is
35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which
the information is used by the U.S. Patent and Trademark Office is to process and/or examine your submission
related to a patent application or patent. If you do not furnish the requested information, the U.S. Patent and
Trademark Office may not be able to process and/or examine your submission, which may result in termination of
proceedings or abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:
 1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
     Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.0 552a). Records from this system of records
     may be disclosed to the Department of Justice to determine whether disclosure of these records is required
     by the Freedom of Information Act.
 2. A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
     to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
     settlement negotiations.
 3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
     request involving an individual, to whom the record pertains, when the individual has requested assistance
     from the Member with respect to the subject matter of the record.
 4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
     need for the information in order to perform a contract. Recipients of information shall be required to
     comply with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
 5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
     records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
     Organization, pursuant to the Patent Cooperation Treaty.
 6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
     of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
     218(c)).
 7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General
     Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
     responsibility to recommend improvements in records management practices and programs, under authority
     of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations
     governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive.
     Such disclosure shall not be used to make determinations about individuals.
 8. A record from this system of records may be disclosed, as a routine use, to the public after either publication
     of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a
     record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the
     record was filed in an application which became abandoned or in which the proceedings were terminated
     and which application is referenced by either a published application, an application open to public
     inspection or an issued patent.
 9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
     enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.
                       Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 19 of 212

                                                                           Application No.                     Applicant(s)
                                                                           13/971,606                          PENNECOT ET AL.
                                                                           Examiner                            Art Unit     AIA (First Inventor to
                        Notice of Allowability                                                                              File) Status
                                                                           SAMANTHA K. ABRAHAM                 3645
                                                                                                                            Yes

             -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address--
All claims being allowable, PROSECUTION ON THE MERITS IS (OR REMAINS) CLOSED in this application. If not included
herewith (or previously mailed), a Notice of Allowance (PTOL-85) or other appropriate communication will be mailed in due course. THIS
NOTICE OF ALLOWABILITY IS NOT A GRANT OF PATENT RIGHTS. This application is subject to withdrawal from issue at the initiative
of the Office or upon petition by the applicant. See 37 CFR 1.313 and M PEP 1308.

1. [E] This communication is responsive to 05/09/2014.
         ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on

2. 0 An election was made by the applicant in response to a restriction requirement set forth during the interview on               • the restriction
      requirement and election have been incorporated into this action.

3. [E] The allowed claim(s) is/are 1,2,5-18,20 and 21. As a result of the allowed claim(s), you may be eligible to benefit from the Patent
      Prosecution Highway program at a participating intellectual property office for the corresponding application. For more information,
      please see http://www.uspio.govIpatentslinit events/mh/index.jsp or send an inquiry to PPHfeedbackusotaaav

4. 0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
        Certified copies:
           a) 0 All          b) 0 Some *c) 0 None of the:
                   1. 0 Certified copies of the priority documents have been received.
                   2. 0 Certified copies of the priority documents have been received in Application No.
                   3. 0 Copies of the certified copies of the priority documents have been received in this national stage application from the
                           International Bureau (PCT Rule 17.2(a)).
          * Certified copies not received:


  Applicant has THREE MONTHS FROM THE "MAILING DATE" of this communication to file a reply complying with the requirements
  noted below. Failure to timely comply will result in ABANDONMENT of this application.
  THIS THREE-MONTH PERIOD IS NOT EXTENDABLE.
5. 0 CORRECTED DRAWINGS ( as "replacement sheets") must be submitted.
        0 including changes required by the attached Examiner's Amendment / Comment or in the Office action of
              Paper No./Mail Date          .
     Identifying indicia such as the application number (see 37 CFR 1.84(c)) should be written on the drawings in the front (not the back) of
     each sheet. Replacement sheet(s) should be labeled as such in the header according to 37 CFR 1.121(d).
6. 0 DEPOSIT OF and/or INFORMATION about the deposit of BIOLOGICAL MATERIAL must be submitted. Note the
     attached Examiner's comment regarding REQUIREMENT FOR THE DEPOSIT OF BIOLOGICAL MATERIAL.


Attachment(s)
1. [ZI Notice of References Cited (PTO-892)                                          5. 0 Examiner's Amendment/Comment
2. 0 Information Disclosure Statements (PTO/SB/08),                                  6. E] Examiner's Statement of Reasons for Allowance
       Paper No./Mail Date
3. 0 Examiners Comment Regarding Requirement for Deposit                             7. 0 Other
       of Biological Material
4. 0 Interview Summary (PTO-413),
       Paper No./Mail Date       .




U.S. Patent and Trademark Office
PTOL-37 (Rev. 08-13)                                                  Notice of Allowability                    Part of Paper No./Mail Date 20140516
    Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 20 of 212


Application/Control Number: 13/971,606                                                         Page 2
Art Unit: 3645

       The present application, filed on or after March 16, 2013, is being examined under the

first inventor to file provisions of the AIA.

                                      DETAILED ACTION

       Claims 1, 2, 5-18, 20, 21 pending.

       Claims 3, 4, 19 cancelled.

       Claims 1, 5, 6, 10, 17 amended.

       Claim 21 added.

                                      Response to Arguments

       Applicant's arguments, filed 05/09/2014, have been fully considered and are persuasive.

The 35 U.S.C. §112(b) indefiniteness rejection of claims 1 and 17 has been withdrawn. The 35

U.S.C. § 103 rejection of claims 1, 2, 6-18 and 20 has been withdrawn.

                                     Allowable Subject Matter

       Claims 1, 2, 5-18, 20 and 21 allowed.

       The following is an examiner's statement of reasons for allowance:

       The closest prior art (Ohtomo) teaches a mirror that reflects range measuring light from a

light emitter. The closest prior art (Carlhoff) teaches a single optical beam with a single

transmission direction. Carlhoff teaches a particular angle between the normal of the reflecting

surface and the direction of the optical beam, teaching away from the instant claims. No

combination of the closest prior art teaches or suggests the limitations of claims 1 and 17, as best

explained by Fig. 2 of the instant specification, wherein a plurality of emitters transmit light

though an aperture of a reflective surface in multiple different directions, though a single lens
    Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 21 of 212


Application/Control Number: 13/971,606                                                      Page 3
Art Unit: 3645

toward an object. The reflected light transmitted through the same lens and further reflected off

the reflective aperture surface toward a plurality of detectors.

       Any comments considered necessary by applicant must be submitted no later than the

payment of the issue fee and, to avoid processing delays, should preferably accompany the issue

fee. Such submissions should be clearly labeled "Comments on Statement of Reasons for

Allowance."




                                         Telephone Inquiry

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to SAMANTHA K. ABRAHAM whose telephone number is

(571)270-1037. The examiner can normally be reached on M-F 8:30AM-5:00PM ET.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Isam Alsomiri can be reached on (571) 272-6970. The fax phone number for the

organization where this application or proceeding is assigned is 571-273-8300.

       Information regarding the status of an application may be obtained from the Patent

Application Information Retrieval (PAIR) system. Status information for published applications

may be obtained from either Private PAIR or Public PAIR. Status information for unpublished

applications is available through Private PAIR only. For more information about the PAIR

system, see http://pair-direct.uspto.gov. Should you have questions on access to the Private PAIR

system, contact the Electronic Business Center (EBC) at 866-217-9197 (toll-free). If you would
    Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 22 of 212


Application/Control Number: 13/971,606                                                Page 4
Art Unit: 3645

like assistance from a USPTO Customer Service Representative or access to the automated

information system, call 800-786-9199 (IN USA OR CANADA) or 571-272-1000.




/SAMANTHA K. ABRAHAM/
Examiner, Art Unit 3645


/ISAM ALSOMIRI/
Supervisory Patent Examiner, Art Unit 3645
                       Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 23 of 212
                                                                                      Application/Control No.             Applicant(s)/Patent Under
                                                                                                                          Reexamination
                                                                                      13/971,606                          PENNECOT ET AL.
                  Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                              Page 1 of 1
                                                                                      SAMANTHA K. ABRAHAM                 3645
                                                                           U.S. PATENT DOCUMENTS
  *                     Document Number                    Date
                  Country Code-Number-Kind Code          MM - YYYY                                    Name                                    Classification
  *
         A      US-7,259,838                            08 -2007          Carlhoff et al.                                                       356/5.04

         g      US-

         C      US-
         D      US-
         E      US-
         F      US-
         G      US-
         H      US-
         I      US-
         j      US-

         K      US-
         L      US-
         M      US-
                                                                       FOREIGN PATENT DOCUMENTS
  *                     Document Number                    Date
                  Country Code-Number-Kind Code          MM-YYYY                  Country                       Name                          Classification

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                                                                           NON-PATENT DOCUMENTS
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Dates in MM YYYY format are publication dates. Classifications may be US or foreign.

U.S. Patent and Trademark Office
PTO-892 (Rev. 01-2001)                                                  Notice of References Cited                        Part of Paper No. 20140516
EAST Search History
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                  EAST Search History

                  EAST Search History (Prior Art)

                      Ref     Hits Search Query                                   DBs         Default  Plurals Time
                      #                                                                       Operator         Stamp
                      L4      43   (g01n15/0205.cpc. or gO1n15/1459.cpc.          US-PGPUB; OR            ON        2014/05/16
                                   or g01n21/29.cpc. or g01n2015/1486.cpc.        USPAT;                            19:39
                                   or g01n21/53.cpc. or g01n21/538.cpc. or        USOCR;
                                   g01n2021/4709.cpc. or g01n21/21.cpc. or        FPRS;
                                   gO1p3/36.cpc. or gO1p5/26.cpc. or              EPO; JPO;
                                   g01p3/366.cpc. or g01s17/50.cpc. or            DERWENT;
                                   gO1s17/58.cpc.) and ((aperture with            IBM TDB
                                   reflect$4) and ((multiple or plurality or
                                   three or several) with detect$4 with
                                   transmit$7))
                      L6      36   (g01n15/0205.cpc. or g01n15/1459.cpc.          US-PGPUB; OR            ON        2014/05/16
                                   or g01n21/29.cpc. or g01n2015/1486.cpc.        USPAT;                            19:41
                                   or g01n21/53.cpc. or g01n21/538.cpc. or        USOCR;
                                   g01n2021/4709.cpc. or g01n21/21.cpc. or        FPRS;
                                   gO1p3/36.cpc. or gO1p5/26.cpc. or              EPO; JPO;
                                   g01p3/366.cpc. or g01s17/50.cpc. or            DERWENT;
                                   gO1s17/58.cpc.) and ((aperture with wall)      I BM_TDB
                                   and ((multiple or plurality or three or
                                   several) with ((detect$4 or sens$4 or
                                   receiv$4) with (transmit$7 or emit$4 or
                                   source$4))))
                      L7      26   (356/337-342.ccls. or 356/28.0-28.5.clas.)     US-PGPUB; OR            ON        2014/05/16
                                   and ((aperture with wall) and ((multiple       USPAT;                            19:41
                                   or plurality or three or several) with         USOCR;
                                   ((detect$4 or sens$4 or receiv$4) with         FPRS;
                                   (transmit$7 or emit$4 or source$4))))          EPO; JPO;
                                                                                  DERWENT;
                                                                                  IBM TDB
                      L8      36   (g01n15/0205.cpc. or gO1n15/1459.cpc.          US-PGPUB; OR            ON        2014/05/16
                                   or g01n21/29.cpc. or g01n2015/1486.cpc.        USPAT;                            19:42
                                   or g01n21/53.cpc. or g01n21/538.cpc. or        USOCR;
                                   g01n2021/4709.cpc. or g01n21/21.cpc. or        FPRS;
                                   gO1p3/36.cpc. or gO1p5/26.cpc. or              EPO; JPO;
                                   g01p3/366.cpc. or g01s17/50.cpc. or            DERWENT;
                                   gO1s17/58.cpc.) and ((aperture with wall)      I BM_TDB
                                   and ((multiple or plurality or three or
                                   several) with ((detect$4 or sens$4 or
                                   receiv$4) with (transmit$7 or emit$4 or
                                   source$4))))
                      L9      9    (356/337-342.ccls. or 356/28.0-28.5.clas.)     US-PGPUB; OR            ON        2014/05/16
                                   and ((aperture with reflect$4) and             USPAT;                            19:42
                                   ((multiple or plurality or three or several)   USOCR;
                                   with detect$4 with transmit$7))                FPRS;
                                                                                  EPO; JPO;
                                                                                  DERWENT;
                                                                                  I BMTDB
                      L10     26   (356/337-342.ccls. or 356/28.0-28.5.clas.)     US-PGPUB; OR            ON        2014/05/16
                                   and ((aperture with wall) and ((multiple       USPAT;                            19:43
                                   or plurality or three or several) with         USOCR;
                                   ((detect$4 or sens$4 or receiv$4) with         FPRS;
                                   (transmit$7 or emit$4 or source$4))))          EPO; JPO;



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                                                                                DERWENT;
                                                                                I BM_TDB
                      L11   0     (356/337-342.ccls. or 356/28.0-28.5.clas.)    US-PGPUB; OR              ON        2014/05/16
                                  and ((lidar) and (lens with mount$4 with      USPAT;                              19:52
                                  housing with rotat$4 with axis with           USOCR;
                                  interior with space with (transmi$5 near3     FPRS;
                                  block) with (receiv$4 near3 block) with       EPO; JPO;
                                  (transmi$5 near3 path) with (receiv$4         DERWENT;
                                  near3 path)) and (exit with aperture with     I BM_TDB
                                  wall with reflect$4) and ((receiv$4 near3
                                  block) with entrance with aperture) and
                                  (transmi$5 with path with extend$4 with
                                  exit with aperture with lens) and
                                  ((receiv$4 with path with extend$4 with
                                  lens with entrance with aperture with
                                  reflect$4) and (plurality with light with
                                  sources with (tranmi$5 near3 block) with
                                  emit$5 with plurality with light with
                                  beams with exit with aperture with
                                  plurality with different with directions))
                                  and (light with beams with wavelength
                                  with range) and (plurality with detectors
                                  with (receiv$4 near3 block) with detect$4
                                  with light with wavelength$4 with range)
                                  and (lens with receiv$4 with light with
                                  beams with (tranmi$5 near3 path) with
                                  collimat$4 with light with beams with
                                  environment) and (collect$4 with light
                                  with collimat$4 with beams with reflect$4
                                  with object$4 with environment) and
                                  (focus$4 with collect$4 with light with
                                  detector$4 with receiv$4 with path)).clm.
                      L12   0     (g01n15/0205.cpc. or gO1n15/1459.cpc.         US-PGPUB; OR              ON        2014/05/16
                                  or g01n21/29.cpc. or g01n2015/1486.cpc.       USPAT;                              19:53
                                  or g01n21/53.cpc. or g01n21/538.cpc. or       USOCR;
                                  g01n2021/4709.cpc. or g01n21/21.cpc. or       FPRS;
                                  gO1p3/36.cpc. or gO1p5/26.cpc. or             EPO; JPO;
                                  g01p3/366.cpc. or g01s17/50.cpc. or           DERWENT;
                                  g01s17/58.cpc.) and ((lidar) and (lens        I BM_TDB
                                  with mount$4 with housing with rotat$4
                                  with axis with interior with space with
                                  (transmi$5 near3 block) with (receiv$4
                                  near3 block) with (transmi$5 near3 path)
                                  with (receiv$4 near3 path)) and (exit with
                                  aperture with wall with reflect$4) and
                                  ((receiv$4 near3 block) with entrance
                                  with aperture) and (transmi$5 with path
                                  with extend$4 with exit with aperture
                                  with lens) and ((receiv$4 with path with
                                  extend$4 with lens with entrance with
                                  aperture with reflect$4) and (plurality
                                  with light with sources with (tranmi$5
                                  near3 block) with emit$5 with plurality
                                  with light with beams with exit with
                                  aperture with plurality with different with
                                  directions)) and (light with beams with
                                  wavelength with range) and (plurality
                                  with detectors with (receiv$4 near3 block)
                                  with detect$4 with light with
                                  wavelength$4 with range) and (lens with
                                  receiv$4 with light with beams with
                                  (tranmi$5 near3 path) with collimat$4
                                  with light with beams with environment)
                                  and (collect$4 with light with collimat$4


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                                  with beams with reflect$4 with object$4
                                  with environment) and (focus$4 with
                                  collect$4 with light with detector$4 with
                                  receiv$4 with path)).clm.
                      L13   0     (G01C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/05/16
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              19:54
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lidar) and (lens with mount$4 with      EPO; JPO;
                                  housing with rotat$4 with axis with           DERWENT;
                                  interior with space with (transmi$5 near3     I BM_TDB
                                  block) with (receiv$4 near3 block) with
                                  (transmi$5 near3 path) with (receiv$4
                                  near3 path)) and (exit with aperture with
                                  wall with reflect$4) and ((receiv$4 near3
                                  block) with entrance with aperture) and
                                  (transmi$5 with path with extend$4 with
                                  exit with aperture with lens) and
                                  ((receiv$4 with path with extend$4 with
                                  lens with entrance with aperture with
                                  reflect$4) and (plurality with light with
                                  sources with (tranmi$5 near3 block) with
                                  emit$5 with plurality with light with
                                  beams with exit with aperture with
                                  plurality with different with directions))
                                  and (light with beams with wavelength
                                  with range) and (plurality with detectors
                                  with (receiv$4 near3 block) with detect$4
                                  with light with wavelength$4 with range)
                                  and (lens with receiv$4 with light with
                                  beams with (tranmi$5 near3 path) with
                                  collimat$4 with light with beams with
                                  environment) and (collect$4 with light
                                  with collimat$4 with beams with reflect$4
                                  with object$4 with environment) and
                                  (focus$4 with collect$4 with light with
                                  detector$4 with receiv$4 with path)).clm.
                      L16   23    (356/337-342.ccls. or 356/28.0.ccls. or       US- PGPUB; OR             ON        2014/05/16
                                  356/28.5.ccls.) and ((aperture with           USPAT;                              19:55
                                  reflect$4) and ((multiple or plurality or     USOCR;
                                  three or several) with detect$4 with          FPRS;
                                  transmit$7))                                  EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S1    12    ("20110216304" I "3790277" I "4700301" US- PGPUB; OR                    ON        2014/02/05
                                    "4709195" I "5202742" I "5703351"    USPAT                                      14:24
                                  "7089114" I "7248342" I "7255275"
                                  "7417716" I "7544945" I "7969558").PN.
                            7     '2005050558".pn.                              US- PGPUB; OR             ON        2014/02/07
                                                                                USPAT;                              09:58
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                            6     '2004070438".pn.                              US- PGPUB; OR             ON        2014/02/07
                                                                                USPAT;                              10:05
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB



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EAST Search History
                       Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 27 of 212
                      S4    2     "7587109".pn.                                 US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              10:05
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S5    2    (GO1C3/08.CPC. OR GO1S17/89.CPC. OR            US- PGPUB; OR             ON        2014/02/07
                                 GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR       USPAT;                              10:25
                                 GO1C15/ 002. CPC. OR GO1C11/ 025. CPC.         USOCR;
                                 OR GO1C15/02.CPC. OR G01C21/30.CPC.)           FPRS;
                                 AND ((rotat$4 near3 (laser or lidar or         EPO; JPO;
                                 scan$4)) and (transmi$4 with receiv$4          DERWENT;
                                 with aperture$4) and (sources with             IBM TDB
                                 wavelength) and (detectors or sensors or
                                 receivers) and (lens same receiv$4 same
                                 collimat$4 same collect$4 same
                                 focus$4))
                      S6    0    356/4.01,3.01,4.07,5.01,5.09,9,625.ccls.       US-PGPUB; OR              ON        2014/02/07
                                 AND (vehicle and (rotat$4 near3 (laser or      USPAT;                              10:28
                                 lidar or scan$4)) and (transmi$4 with          USOCR;
                                 receiv$4 with aperture$4) and (sources         FPRS;
                                 with wavelength) and (detectors or             EPO; JPO;
                                 sensors or receivers) and (lens same           DERWENT;
                                 receiv$4 same collimat$4 same collect$4        I BM_TDB
                                 same focus$4))
                      S7    2    (vehicle and (rotat$4 near3 (laser or lidar    US-PGPUB; OR              ON        2014/02/07
                                 or scan$4)) and (transmi$4 with receiv$4       USPAT;                              10:29
                                 with aperture$4) and (sources with             USOCR;
                                 wavelength) and (detectors or sensors or       FPRS;
                                 receivers) and (lens same receiv$4 same        EPO; JPO;
                                 collimat$4 same collect$4 same                 DERWENT;
                                 focus$4))                                      IBM TDB
                      S8    0    ("20110216304" i "3790277" i "4700301" US-PGPUB; OR                      ON        2014/02/07
                                   "4709195" i "5202742" i "5703351" i     USPAT                                    10:31
                                 "7089114" i "7248342" i "7255275"
                                 "7417716" i "7544945" i "7969558").PN.
                                 and (vehicle and (rotat$4 near3 (laser or
                                 lidar or scan$4)) and (transmi$4 with
                                 receiv$4 with aperture$4) and (sources
                                 with wavelength) and (detectors or
                                 sensors or receivers) and (lens same
                                 receiv$4 same collimat$4 same collect$4
                                 same focus$4))
                      S9    0    ("20110216304" i "3790277" i "4700301" US-PGPUB; OR                      ON        2014/02/07
                                   "4709195" i "5202742" i "5703351" i    USPAT                                     10:31
                                 "7089114" i "7248342" i "7255275"
                                 "7417716" i "7544945" i "7969558").PN.
                                 and ((rotat$4 near3 (laser or lidar or
                                 scan$4)) and (transmi$4 with receiv$4
                                 with aperture$4) and (sources with
                                 wavelength) and (detectors or sensors or
                                 receivers) and (lens same receiv$4 same
                                 collimat$4 same collect$4 same
                                 focus$4))
                      S10   0    ("20110216304" i "3790277" i "4700301" US-PGPUB; OR                      ON        2014/02/07
                                   "4709195" i "5202742" i "5703351" i  USPAT                                       10:31
                                 "7089114" i "7248342" i "7255275"
                                 "7417716" i "7544945" i "7969558").PN.
                                 and ((rotat$4 near3 (laser or lidar or
                                 scan$4)) and (transmi$4 with receiv$4
                                 with aperture$4) and (sources with


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                                  wavelength) and (detectors or sensors or
                                  receivers) and (lens same collimat$4
                                  same collect$4 same focus$4))
                      S11 0       ("20110216304" "3790277" "4700301" US- PGPUB; OR                        ON        2014/02/07
                                     "4709195" "5202742" "5703351"         USPAT                                    10:32
                                   '7089114" "7248342" "7255275"
                                  "7417716" "7544945" "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 with receiv$4
                                  with aperture$4) and (sources with
                                  wavelength) and (detectors or sensors or
                                  receivers) and (lens same collimat$4
                                  same focus$4))
                      S12 0       ("20110216304" "3790277" "4700301" US- PGPUB; OR                        ON        2014/02/07
                                    "4709195" "5202742" "5703351"          USPAT                                    10:32
                                  "7089114" "7248342" "7255275"
                                  "7417716" "7544945" "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and (sources with
                                  wavelength) and (detectors or sensors or
                                  receivers) and (lens same collimat$4
                                  same focus$4))
                      S13         ("20110216304" "3790277" "4700301" US- PGPUB; OR                        ON        2014/02/07
                                    "4709195" "5202742" "5703351"           USPAT                                   10:32
                                  "7089114" "7248342" "7255275"
                                  "7417716" "7544945" "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and ((beams or lasers
                                  or light or sources) with wavelength) and
                                  (detectors or sensors or receivers) and
                                  (lens same collimat$4 same focus$4))
                      S14         ("20110216304" "3790277" "4700301" US- PGPUB; OR                        ON        2014/02/07
                                    "4709195" "5202742" "5703351"        USPAT                                      10:33
                                  "7089114" "7248342" "7255275"
                                  "7417716" "7544945" "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and (detectors or
                                  sensors or receivers) and (lens same
                                  collimat$4 same focus$4))
                      S15         ("20110216304" "3790277" "4700301" US- PGPUB; OR                        ON        2014/02/07
                                    "4709195" "5202742" "5703351"        USPAT                                      10:33
                                  "7089114" "7248342" "7255275"
                                  "7417716" "7544945" "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and (lens same
                                  collimat$4 same focus$4))
                      S16 0       ("20110216304" "3790277" "4700301" US- PGPUB; OR                        ON        2014/02/07
                                    "4709195" "5202742" "5703351"       USPAT                                       10:34
                                  "7089114" "7248342" "7255275"
                                  "7417716" "7544945" "7969558").PN.
                                  and (((laser or lidar or scan$4)) and
                                  (transmi$4 same receiv$4 same
                                  aperture$4) and (lens same collimat$4
                                  same focus$4))
                      S17 8       ("20110216304" "3790277" "4700301" US- PGPUB; OR                        ON        2014/02/07
                                    "4709195" "5202742" "5703351"    USPAT                                          10:48
                                  "7089114" "7248342" "7255275"
                                  "7417716" "7544945" "7969558").PN.


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                                  and ( rot at$4 and detect$ and transmi$7
                                  and lens)
                      S18   10    (GO1C3/ 08. CPC. OR GO1S17/89.CPC. OR         US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/42.CPC. OR        USPAT;                              11:07
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND (( rot at$4 near3 (laser or lidar or      EPO; JPO;
                                  scan$4)) and (transmi$5 or emit$7 or          DERWENT;
                                  emis$7) and (detect$4 or sens$4 or            I BM_TDB
                                  receiv$4) and (aperture with transmi$4)
                                  and (aperture with receiv$4) and (lens
                                  with (collimat$4 and focus$4 and
                                  collect$4)))
                      S19   1678 ((detect$4 and transmit$4) same                US- PGPUB; OR             ON        2014/02/07
                                 (aperture$4)) and (lens with (collimat$4       USPAT;                              12:15
                                 and focus$4 and collect$4))                    USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S20   23    (G01C3/ 08. CPC. OR GO1S17/89.CPC. OR         US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              12:15
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR G01C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((detect$4 and transmit$4) same           EPO; JPO;
                                  (aperture$4)) and (lens with (collimat$4      DERWENT;
                                  and focus$4 and collect$4))                   I BM_TDB
                      S21   0     (08/948228) .APP.                             US- PGPUB; OR             ON        2014/02/07
                                                                                USOCR                               12:32
                      S22   44    (G01C3/08. CPC. OR G01S17/89.CPC. OR          US- PGPUB; OR             ON        2014/02/07
                                  G01S7/ 4817. CPC. OR G01S17/ 42. CPC. OR      USPAT;                              12:33
                                  GO1C15/ 002. CPC. OR GO1C11/ 025. CPC.        USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 and focus$4       EPO; JPO;
                                  and collect$4 and transmi$4)))                DERWENT;
                                                                                I BM_TDB
                      S23   446   (GO1C3/08. CPC. OR G01S17/89.CPC. OR          US- PGPUB; OR             ON        2014/02/07
                                  G01S7/ 4817. CPC. OR G01S17/ 42. CPC. OR      USPAT;                              12:34
                                  GO1C15/ 002. CPC. OR GO1C11/ 025. CPC.        USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 and               EPO; JPO;
                                  focus$4)))                                    DERWENT;
                                                                                IBM TDB
                      S24   220   (G01C3/08. CPC. OR GO1S17/89.CPC. OR          US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              12:34
                                  GO1C15/ 002. CPC. OR GO1C11/ 025. CPC.        USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 with              EPO; JPO;
                                  focus$4)))                                    DERWENT;
                                                                                IBM TDB
                      S25   79    (G01C3/08. CPC. OR G01S17/89.CPC. OR          US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              12:34
                                  GO1C15/ 002. CPC. OR GO1C11/ 025. CPC.        USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens near3 (collimat$4 with             EPO; JPO;
                                  focus$4)))                                    DERWENT;
                                                                                IBM TDB
                      S26   0     (G01C3/08. CPC. OR G01S17/89.CPC. OR          US- PGPUB; OR             ON        2014/02/07
                                  G01S7/ 4817. CPC. OR G01S17/ 42. CPC. OR      USPAT;                              12:35
                                  GO1C15/ 002. CPC. OR G01C11/ 025. CPC.        USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;


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                                  AND ((lens near3 (transmitter and             EPO; JPO;
                                  detector) with (collimat$4 with               DERWENT;
                                  focus$4)))                                    IBM TDB
                      S27   0     (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              12:35
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((lens with (transmitter and              EPO; JPO;
                                  detector) with (collimat$4 with               DERWENT;
                                  focus$4)))                                    IBM TDB
                      S28   2     (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              12:35
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((lens with (transmit$4 and               EPO; JPO;
                                  detect$4) with (collimat$4 with               DERWENT;
                                  focus$4)))                                    IBM TDB
                      S29   51    (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              12:36
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 with              EPO; JPO;
                                  focus$4)) with (reflect$4))                   DERWENT;
                                                                                IBM TDB
                      S30   266   (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              18:08
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((mirror or reflect$4) near3              EPO; JPO;
                                  aperture)                                     DERWENT;
                                                                                IBM TDB
                      S31   0     (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              18:09
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND (((mirror or reflect$4) near3             EPO; JPO;
                                  aperture) with (transparent near3             DERWENT;
                                  material near3 wall))                         IBM TDB
                      S32   4     (((mirror or reflect$4) near3 aperture)       US-PGPUB; OR              ON        2014/02/07
                                  with (transparent near3 material near3        USPAT;                              18:10
                                  wall))                                        USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S33   0     (((mirror) near3 aperture) with               US-PGPUB; OR              ON        2014/02/07
                                  (transparent near3 material near3 wall))      USPAT;                              18:18
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S34   0       (((mirror) with (transmitter and housing)) US-PGPUB; OR               ON        2014/02/07
                                    with (transparent near3 material near3     USPAT;                               18:18
                                    wall))                                     USOCR;
                                                                               FPRS;
                                                                               EPO; JPO;
                                                                               DERWENT;
                                                                               IBM TDB
                                  ,.
                   rS----
                    35 0            (((mirror) with (transmitter and housing)) US-PGPUB; OR               ON        2014/02/07
                                    with (transparent near3 material))         USPAT;                               18:19


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                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S36   2     (((mirror) with (transmitter and housing)) US-PGPUB; OR                 ON        2014/02/07
                                  same (transparent near3 material))         USPAT;                                 18:19
                                                                             USOCR;
                                                                             FPRS;
                                                                             EPO; JPO;
                                                                             DERWENT;
                                                                             IBM TDB
                      S37   6     (housing with aperture with (laser or          US-PGPUB; OR             ON        2014/02/07
                                  diode or transmitter) with mirror with         USPAT;                             18:20
                                  transparent)                                   USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S38   177   (housing with (laser or diode or              US-PGPUB; OR              ON        2014/02/07
                                  transmitter) with mirror with                 USPAT;                              18:21
                                  transparent)                                  USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S39   4     ((housing near3 transparent near3 wall)       US-PGPUB; OR              ON        2014/02/07
                                  same (laser or diode or transmitter) with     USPAT;                              18:21
                                  mirror)                                       USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BMTDB
                      S40   1154 (laser or transmitter) near3 mirror near3      US-PGPUB; OR              ON        2014/02/07
                                 (transparent (window or wall))                 USPAT;                              18:25
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S41   27    ((laser or transmitter) near3 mirror near3 US-PGPUB; OR                 ON        2014/02/07
                                  (transparent (window or wall)) near3       USPAT;                                 18:25
                                  housing)                                   USOCR;
                                                                             FPRS;
                                                                             EPO; JPO;
                                                                             DERWENT;
                                                                             IBM TDB
                      S42   5     (mirror near3 between near3 (laser or          US-PGPUB; OR             ON        2014/02/07
                                  diode or light) near3 (transparent or          USPAT;                             18:32
                                  window) near3 housing)                         USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S43   249   (mirror near3 between near3 (laser or         US-PGPUB; OR              ON        2014/02/07
                                  diode or light) near3 (transparent or         USPAT;                              18:33
                                  window))                                      USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB



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                      S44   62    (mirror near3 between near3 (laser)           US-PGPUB; OR              ON        2014/02/07
                                  near3 (transparent or window))                USPAT;                              18:33
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S45   623   (mirror with laser with housing) with         US-PGPUB; OR              ON        2014/02/07
                                  (window)                                      USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S46   83    (LI DAR) and ((mirror with laser with         US-PGPUB; OR              ON        2014/02/07
                                  housing) with (window))                       USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S47   0     (LI DAR) and ((mirror near3 laser near3       US-PGPUB; OR              ON        2014/02/07
                                  housing) with (window))                       USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S48   20    ((mirror near3 laser near3 housing) with      US-PGPUB; OR              ON        2014/02/07
                                  (window))                                     USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S49   3     ((mirror near3 laser near3 housing) with       US-PGPUB; OR             ON        2014/02/07
                                  (transparent near3 housing near3 wall))        USPAT;                             18:57
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S50   3     ((mirror near3 laser) with (transparent       US-PGPUB; OR              ON        2014/02/07
                                  near3 housing near3 wall))                    USPAT;                              18:57
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S51   3     ((mirror near3 laser) same (transparent       US-PGPUB; OR              ON        2014/02/07
                                  near3 housing near3 wall))                    USPAT;                              18:58
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S52   3     ((mirror with housing with laser) same        US-PGPUB; OR              ON        2014/02/07
                                  (transparent near3 housing near3 wall))       USPAT;                              18:58
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;


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                                                                                DERWENT;
                                                                                I BM_TDB
                      S53   12    ((mirror with housing with laser) and         US-PGPUB; OR              ON        2014/02/07
                                  (transparent near3 housing near3 wall))       USPAT;                              18:58
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S54   14    (mirror near3 between near3 laser near3       US-PGPUB; OR              ON        2014/02/07
                                  housing)                                      USPAT                               19:02
                      S55   0     (rangefinder) and (mirror near3 between       US-PGPUB; OR              ON        2014/02/07
                                  near3 laser near3 housing)                    USPAT                               19:05
                      S56   14    (mirror near3 between near3 laser near3       US-PGPUB; OR              ON        2014/02/07
                                  housing)                                      USPAT                               19:05
                      S57   1     (mirror near3 (positioned or disposed)        US-PGPUB; OR              ON        2014/02/07
                                  near3 between near3 laser near3               USPAT                               19:05
                                  housing)
                      S58   14    (mirror near3 between near3 laser near3       US-PGPUB; OR              ON        2014/02/07
                                  housing) and (mirror near3 between            USPAT                               19:10
                                  detector near3 housing)
                      S59   2     (mirror near3 laser near3 housing) and        US-PGPUB; OR              ON        2014/02/07
                                  (mirror near3 detector near3 housing)         USPAT                               19:15
                      S60   2     (mirror near3 laser near3 housing) and        US-PGPUB; OR              ON        2014/02/07
                                  (mirror near3 detector near3 housing)         USPAT;                              19:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S61   0     (mirror near3 laser near3 housing) and        US-PGPUB; OR              ON        2014/02/07
                                  (mirror near3 photodiode near3 housing)       USPAT;                              19:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM_TDB
                      S62   13    (mirror near3 (laser or transmitter or        US-PGPUB; OR              ON        2014/02/07
                                  diode) near3 housing) and (mirror near3       USPAT;                              19:20
                                  (detector or sensor or photodiode or          USOCR;
                                  receiver) near3 housing)                      FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBMTDB
                      S63   43    (mirror near3 aperture near3 transmi$5)       US-PGPUB; OR              ON        2014/02/07
                                  and (mirror near3 aperture near3              USPAT;                              19:22
                                  receiv$4)                                     USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S64   20    (mirror near3 aperture near3 transmi$5)        US-PGPUB; OR             ON        2014/02/07
                                  and (mirror near3 aperture near3               USPAT;                             19:31
                                  detect$4)                                      USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                            25    (mirror near3 aperture near3 laser) and       US-PGPUB; OR              ON        2014/02/07


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                                  (mirror near3 aperture near3 detect$4)        USPAT;                              19:32
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S66   114   (aperture with transparent with mirror        US-PGPUB; OR              ON        2014/02/07
                                  with cover$4)                                 USPAT;                              19:39
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S67   0     (aperture with (transparent near3 wall         US-PGPUB; OR             ON        2014/02/07
                                  near3 housing) with mirror with cover$4)       USPAT;                             19:41
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S68   134   (aperture with (window) with mirror with      US-PGPUB; OR              ON        2014/02/07
                                  cover$4)                                      USPAT;                              19:41
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S69   229   (aperture with (window) with mirror with      US-PGPUB; OR              ON        2014/02/07
                                  (block$4 or cover$4))                         USPAT;                              19:41
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S70   178   (rang$4) and (aperture with (window)           US-PGPUB; OR             ON        2014/02/07
                                  with mirror with (block$4 or cover$4))         USPAT;                             19:42
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S71   1     (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              19:42
                                  GO1C15/002. CPC. OR GO1C11/025. CPC.          USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND (rang$4) and (aperture with               EPO; JPO;
                                  (window) with mirror with (block$4 or         DERWENT;
                                  cover$4))                                     IBM TDB
                      S72   18    (transmi$5 with receiv$4 with overlap)        US-PGPUB; OR              ON        2014/02/07
                                  with (LI DAR)                                 USPAT;                              20:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S73   4     ((transmi$5 near3 beam) with (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  near3 beam) with overlap) with (LI DAR)       USPAT;                              20:20
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;



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                  1               I                                            II BM TDB
                      S74   253    ((transmi$5 near3 beam) with (receiv$4       US-PGPUB; OR              ON        2014/02/07
                                   near3 beam) with overlap)                    USPAT;                              20:21
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S75   191   ((transmi$5 near3 beam) near3 (receiv$4 US-PGPUB; OR                    ON        2014/02/07
                                  near3 beam) with overlap)               USPAT;                                    20:21
                                                                          USOCR;
                                                                          FPRS;
                                                                          EPO; JPO;
                                                                          DERWENT;
                                                                          IBM TDB
                      S76   191   (((transmi$5 near3 beam) near3 (receiv$4 US-PGPUB; OR                   ON        2014/02/07
                                  near3 beam)) with overlap)               USPAT;                                   20:22
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S77   112   (((transmi$5 near3 beam) near3 (receiv$4 US-PGPUB; OR                   ON        2014/02/07
                                  near3 beam)) near3 overlap)              USPAT;                                   20:22
                                                                           USOCR;
                                                                           FPRS;
                                                                           EPO; JPO;
                                                                           DERWENT;
                                                                           IBM TDB
                      S78   24    (((transmi$5 adj beam) near3 (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  adj beam)) near3 overlap)                     USPAT;                              20:22
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S79   4     (((transmi$5 adj beam) near3 (receiv$4         US-PGPUB; OR             ON        2014/02/07
                                  adj beam)) near3 overlap) and (lidar or        USPAT;                             20:24
                                  ladar)                                         USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S80   9     (((transmi$5 adj beam) near3 (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  adj beam)) near3 overlap) and (radar)         USPAT;                              20:25
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S81   7     (((transmi$5 adj beam) near3 (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  adj beam)) near3 overlap) and                 USPAT;                              20:27
                                  (compact)                                     USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BMTDB
                      S82   24    (((transmi$5 adj beam) near3 (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  adj beam)) near3 overlap)                     USPAT;                              20:29
                                                                                USOCR;
                                                                                FPRS;


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                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S83   133   (aspheric with toroidal with lens)            US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S84   0     (aspheric with toroidal with lens) with       US-PGPUB; OR              ON        2014/02/07
                                  (curved near3 focal near3 surface)            USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S85   0     (aspheric with toroidal with lens) with       US-PGPUB; OR              ON        2014/02/07
                                  (curv$4 near3 focal near3 surface)            USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S86   0     (aspher$4 with toroid$4 with lens) with        US-PGPUB; OR             ON        2014/02/07
                                  (curv$4 near3 focal near3 surface)             USPAT;                             20:38
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S87   366   (aspher$4 with toroid$4 with lens)            US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S88   53    (aspheric near3 toroidal near3' lens)         US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S89   53    (aspheric near3 toroidal near3 lens)          US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM_TDB
                      S90   0     (GO1C3/08.CPC. OR GO1S17/ 89. CPC. OR         US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              20:39
                                  GO1C15/002. CPC. OR GO1C11/025. CPC.          USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND (aspheric near3 toroidal near3 lens)      EPO; JPO;
                                                                                DERWENT;
                                  ,                                             IBM TDB
                   rS-----
                     91 0          (aspheric near3 outside near3 housing)       US-PGPUB; OR              ON        2014/02/07
                                   with (toroidal near3 inside near3            USPAT;                              20:56


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EAST Search History
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                                  housing)                                      USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      S92   0     (aspheric near3 outside) with (toroidal       US-PGPUB; OR              ON        2014/02/07
                                  near3 inside)                                 USPAT;                              20:56
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S93   0     (aspher$4 near3 outside) with (toroid$4       US-PGPUB; OR              ON        2014/02/07
                                  near3 inside)                                 USPAT;                              20:57
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      S94   1     (aspher$4 near3 outside) same (toroid$4       US-PGPUB; OR              ON        2014/02/07
                                  near3 inside)                                 USPAT;                              20:57
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      S95   1     (aspher$4 near3 (out or outside)) same        US-PGPUB; OR              ON        2014/02/07
                                  (toroid$4 near3 (inside or in))               USPAT;                              21:00
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S96   1      '6778732".pn. and (aspheric with             US-PGPUB; OR              ON        2014/02/07
                                  toroidal)                                     USPAT;                              21:00
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      S97   0     (mirror near3 aperature near3 laser)          US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              21:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                        8   441   (mirror near3 aperture near3 laser)           US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              21:20
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S99   30    (mirror near3 between near3 aperture          US-PGPUB; OR              ON        2014/02/07
                                  near3 laser)                                  USPAT;                              21:20
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB



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EAST Search History
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                      S100 6      (mirror near3 aperture near3 laser) and       US-PGPUB; OR              ON        2014/02/07
                                  (lidar)                                       USPAT;                              21:22
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S101 9      emit$4 near3 toward near3 mirror near3        US-PGPUB; OR              ON        2014/02/07
                                  aperture                                      USPAT;                              21:23
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S102 516    (receiv$4 with (inert near3 gas) with         US-PGPUB; OR              ON        2014/02/07
                                  seal$4)                                       USPAT;                              21:29
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S103 0      (receiv$4 with (inert near3 gas) with         US-PGPUB; OR              ON        2014/02/07
                                  seal$4) and (lidar)                           USPAT;                              21:29
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S104 39     (receiv$4 with (light or beam) with (inert    US-PGPUB; OR              ON        2014/02/07
                                  near3 gas) with seal$4)                       USPAT;                              21:30
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S105 1       '7969558".pn. and (laser near3 diode)         US-PGPUB; OR             ON        2014/02/07
                                                                                 USPAT;                             21:41
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                IBM TDB
                      S106 5      pennecot-gaetan.inv. or droz-pierre-          US-PGPUB; OR              ON        2014/02/07
                                  yves.inv. or ulrich-drew.inv. or gruver-      USPAT;                              22:11
                                  daniel.inv. or morriss-zachary.inv. or        USOCR;
                                  levandowski-anthony.inv.                      FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      S107 1780 ((reflect$4 near3 wall) with aperture)          US-PGPUB; OR              ON        2014/04/29
                                                                                USPAT;                              10:28
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S108 7      (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/04/29
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              10:28
                                  GO1C15/002. CPC. OR GO1C11/025. CPC.          USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((reflect$4 near3 wall) with              EPO; JPO;


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EAST Search History
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                                   aperture)                                    DERWENT;
                                                                                I BM_TDB
                      S109 0      (GO1C3/08.CPC. OR G01S17/89.CPC. OR           US-PGPUB; OR              ON        2014/04/29
                                  G01S7/ 4817. CPC. OR G01S17/ 42. CPC. OR      USPAT;                              10:35
                                  G01C15/002. CPC. OR GO1C11/025. CPC.          USOCR;
                                  OR G01C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((reflect$4 near3 surface near3 wall)     EPO; JPO;
                                  with aperture)                                DERWENT;
                                                                                IBM TDB
                      S110 100    (GO1C3/ 08. CPC. OR GO1S17/ 89. CPC. OR       US- PGPUB; OR             ON        2014/04/29
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              10:35
                                  GO1C15/002. CPC. OR GO1C11/025. CPC.          USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((reflect$4 near3 surface) with           EPO; JPO;
                                  aperture)                                     DERWENT;
                                                                                IBM TDB
                      S111 29     (G01C3/ 08. CPC. OR G01S17/89.CPC. OR         US- PGPUB; OR             ON        2014/04/29
                                  G01S7/ 4817. CPC. OR G01S17/ 42. CPC. OR      USPAT;                              10:36
                                  G01C15/002. CPC. OR GO1C11/025. CPC.          USOCR;
                                  OR G01C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((reflect$4 near3 surface near3           EPO; JPO;
                                  aperture))                                    DERWENT;
                                                                                IBM TDB
                      5112 1       '7969558".pn. and (lens)                     US-PGPUB; OR              ON        2014/05/14
                                                                                USPAT;                              14:54
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB

                  EAST Search History (Interference)

                      Ref Hits Search Query                                          DBs     Default  Plurals Time
                      #                                                                      Operator         Stamp
                      L14 0      (GO1C3/08.CPC. OR GO1S17/89.CPC. OR                 US-    OR            ON        2014/05/16
                                 G0157/4817. CPC. OR GO1S17/42. CPC. OR              PGPUB;                         19:54
                                 GO1C15/002.CPC. OR GO1C11/025.CPC. OR               USPAT;
                                 G01C15/02.CPC. OR G01C21/30.CPC.) AND               UPAD
                                 ((lidar) and (lens with mount$4 with housing
                                 with rotat$4 with axis with interior with space
                                 with (transmi$5 near3 block) with (receiv$4
                                 near3 block) with (transmi$5 near3 path) with
                                 (receiv$4 near3 path)) and (exit with aperture
                                 with wall with reflect$4) and ((receiv$4 near3
                                 block) with entrance with aperture) and
                                 (transmi$5 with path with extend$4 with exit
                                 with aperture with lens) and ((receiv$4 with
                                 path with extend$4 with lens with entrance
                                 with aperture with reflect$4) and (plurality with
                                 light with sources with (tranmi$5 near3 block)
                                 with emit$5 with plurality with light with beams
                                 with exit with aperture with plurality with
                                 different with directions)) and (light with
                                 beams with wavelength with range) and
                                 (plurality with detectors with (receiv$4 near3
                                 block) with detect$4 with light with
                                 wavelength$4 with range) and (lens with
                                 receiv$4 with light with beams with (tranmi$5
                                 near3 path) with collimat$4 with light with
                                 beams with environment) and (collect$4 with
                                 light with collimat$4 with beams with reflect$4


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EAST Search History
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                               with object$4 with environment) and (focus$4
                               with collect$4 with light with detector$4 with
                               receiv$4 with path)).clm.
                      L15 0    (g01n15/0205.cpc. or g01n15/1459.cpc. or             US-    OR             ON        2014/05/16
                               g01n21/29.cpc. or g01n2015/1486.cpc. or              PGPUB;                          19:54
                               g01n21/53.cpc. or g01n21/538.cpc. or                 USPAT;
                               g01n2021/4709.cpc. or g01n21/21.cpc. or              UPAD
                               gO1p3/36.cpc. or gO1p5/26.cpc. or
                               g01p3/366.cpc. or g01s17/50.cpc. or
                               g01s17/58.cpc.) and ((lidar) and (lens with
                               mount$4 with housing with rotat$4 with axis
                               with interior with space with (transmi$5 near3
                               block) with (receiv$4 near3 block) with
                               (transmi$5 near3 path) with (receiv$4 near3
                               path)) and (exit with aperture with wall with
                               reflect$4) and ((receiv$4 near3 block) with
                               entrance with aperture) and (transmi$5 with
                               path with extend$4 with exit with aperture
                               with lens) and ((receiv$4 with path with
                               extend$4 with lens with entrance with aperture
                               with reflect$4) and (plurality with light with
                               sources with (tranmi$5 near3 block) with
                               emit$5 with plurality with light with beams with
                               exit with aperture with plurality with different
                               with directions)) and (light with beams with
                               wavelength with range) and (plurality with
                               detectors with (receiv$4 near3 block) with
                               detect$4 with light with wavelength$4 with
                               range) and (lens with receiv$4 with light with
                               beams with (tranmi$5 near3 path) with
                               collimat$4 with light with beams with
                               environment) and (collect$4 with light with
                               collimat$4 with beams with reflect$4 with
                               object$4 with environment) and (focus$4 with
                               collect$4 with light with detector$4 with
                               receiv$4 with path)).clm.
                      L17 0    (356/337-342.ccls. or 356/28.0.ccls. or              US-    OR             ON        2014/05/16
                               356/28.5.ccls.) and ((lidar) and (lens with          PGPUB;                          19:55
                               mount$4 with housing with rotat$4 with axis          USPAT;
                               with interior with space with (transmi$5 near3       UPAD
                               block) with (receiv$4 near3 block) with
                               (transmi$5 near3 path) with (receiv$4 near3
                               path)) and (exit with aperture with wall with
                               reflect$4) and ((receiv$4 near3 block) with
                               entrance with aperture) and (transmi$5 with
                               path with extend$4 with exit with aperture
                               with lens) and ((receiv$4 with path with
                               extend$4 with lens with entrance with aperture
                               with reflect$4) and (plurality with light with
                               sources with (tranmi$5 near3 block) with
                               emit$5 with plurality with light with beams with
                               exit with aperture with plurality with different
                               with directions)) and (light with beams with
                               wavelength with range) and (plurality with
                               detectors with (receiv$4 near3 block) with
                               detect$4 with light with wavelength$4 with
                               range) and (lens with receiv$4 with light with
                               beams with (tranmi$5 near3 path) with
                               collimat$4 with light with beams with
                               environment) and (collect$4 with light with
                               collimat$4 with beams with reflect$4 with
                               object$4 with environment) and (focus$4 with
                               collect$4 with light with detector$4 with
                               receiv$4 with path)).clm.


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EAST Search History
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                      L18 0    356/4.01,3.01,4.07,5.01,5.09,9,625.ccls. AND         US-    OR             ON        2014/05/16
                               ((lidar) and (lens with mount$4 with housing         PGPUB;                          19:56
                               with rotat$4 with axis with interior with space      USPAT;
                               with (transmi$5 near3 block) with (receiv$4          UPAD
                               near3 block) with (transmi$5 near3 path) with
                               (receiv$4 near3 path)) and (exit with aperture
                               with wall with reflect$4) and ((receiv$4 near3
                               block) with entrance with aperture) and
                               (transmi$5 with path with extend$4 with exit
                               with aperture with lens) and ((receiv$4 with
                               path with extend$4 with lens with entrance
                               with aperture with reflect$4) and (plurality with
                               light with sources with (tranmi$5 near3 block)
                               with emit$5 with plurality with light with beams
                               with exit with aperture with plurality with
                               different with directions)) and (light with
                               beams with wavelength with range) and
                               (plurality with detectors with (receiv$4 near3
                               block) with detect$4 with light with
                               wavelength$4 with range) and (lens with
                               receiv$4 with light with beams with (tranmi$5
                               near3 path) with collimat$4 with light with
                               beams with environment) and (collect$4 with
                               light with collimat$4 with beams with reflect$4
                               with object$4 with environment) and (focus$4
                               with collect$4 with light with detector$4 with
                               receiv$4 with path)).clm.
                      L19 0    (356/337-342.ccls. or 356/28.0.ccls. or              US-    OR             ON        2014/05/16
                               356/28.5.ccls.) and ((lidar) and (lens with          PGPUB;                          19:56
                               mount$4 with housing with rotat$4 with axis          USPAT;
                               with interior with space with (transmi$5 near3       UPAD
                               block) with (receiv$4 near3 block) with
                               (transmi$5 near3 path) with (receiv$4 near3
                               path)) and (exit with aperture with wall with
                               reflect$4) and ((receiv$4 near3 block) with
                               entrance with aperture) and (transmi$5 with
                               path with extend$4 with exit with aperture
                               with lens) and ((receiv$4 with path with
                               extend$4 with lens with entrance with aperture
                               with reflect$4) and (plurality with light with
                               sources with (tranmi$5 near3 block) with
                               emit$5 with plurality with light with beams with
                               exit with aperture with plurality with different
                               with directions)) and (light with beams with
                               wavelength with range) and (plurality with
                               detectors with (receiv$4 near3 block) with
                               detect$4 with light with wavelength$4 with
                               range) and (lens with receiv$4 with light with
                               beams with (tranmi$5 near3 path) with
                               collimat$4 with light with beams with
                               environment) and (collect$4 with light with
                               collimat$4 with beams with reflect$4 with
                               object$4 with environment) and (focus$4 with
                               collect$4 with light with detector$4 with
                               receiv$4 with path)).clm.

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                                                 Application/Control No.           Applicant(s)/Patent Under
                                                                                   Reexamination
          Index of Claims                        13971606                          PENNECOT ET AL.

                                                 Examiner                          Art Unit

       111 111 11 111 111 1111 11                SAMANTHA K ABRAHAM                3645



  I           Rejected                        Cancelled           N        Non-Elected          A          Appeal

  =           Allowed                        Restricted            I       Interference         0         Objected

 • Claims renumbered in the same order as presented by applicant                • CPA         • T.D.        • R.1.47

          CLAIM                                                        DATE
      Final        Original   02/07/2014 05/16/2014
                      1            V         =
                      2            V         =
                      3            V         -
                      4            V         -
                      5            0         =
                      6            V         =
                      7            V         =
                      8            V         =
                      9            V         =
                     10            V         =
                     11            V         =
                     12            V         =
                     13            V         =
                     14            V         =
                     15            V         =
                     16            V         =
                     17            V         =
                     18            V         =
                     19            V         -
                     20            V         =
                     21                      =




U.S. Patent and Trademark Office                                                                    Part of Paper No.: 20140516
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                                                 Application/Control No.        Applicant(s)/Patent Under Reexamination

 Issue Classification                            13971606                       PENNECOT ET AL.

                                                 Examiner                       Art Unit

      111 111 11 111 111 11 11 11                SAMANTHA K ABRAHAM             3645


 CPC

 Symbol                                                                                                 Type                     Version

 GO1S                   17                  02                                                    F                         2013-01-01
                                        •

                                        •




                                   II




 CPC Combination Sets

 Symbol                                                                     Type           Set          Ranking                  Version

               yiyiyi




 /SAMANTHA K ABRAHAM/
 Examiner.Art Unit 3645                                                                                   Total Claims Allowed:
                                                                           05/16/2014

                                                                                                                       18
 (Assistant Examiner)                                                        (Date)
 /ISAM ALSOMIRI/
 Supervisory Patent Examiner.Art Unit 3645                                 05/19/2014            O.G. Print Claim(s)         O.G. Print Figure

 (Primary Examiner)                                                          (Date)                      1                          2

U.S. Patent and Trademark Office                                                                                   Part of Paper No. 20140516
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                                             Application/Control No.                         Applicant(s)/Patent Under Reexamination

 Issue Classification                        13971606                                        PENNECOT ET AL.

                                             Examiner                                        Art Unit

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                US ORIGINAL CLASSIFICATION                                           INTERNATIONAL CLASSIFICATION

                CLASS                         SUBCLASS                             CLAIMED                                      NON-CLAIMED
 356                                 4.01                        G     0   1   C                 3/ 08 (2006.0)



                      CROSS REFERENCE(S)

  CLASS               SUBCLASS (ONE SUBCLASS PER BLOCK)
 356           3.01         5.01     5.09       4.07     9

 356           625          337      342        28       28.5




 /SAMANTHA K ABRAHAM/
 Examiner.Art Unit 3645                                                                                                    Total Claims Allowed:
                                                                                      05/16/2014

                                                                                                                                        18
 (Assistant Examiner)                                                                   (Date)
 /ISAM ALSOMIRI/
 Supervisory Patent Examiner.Art Unit 3645                                            05/19/2014                  O.G. Print Claim(s)        O.G. Print Figure

 (Primary Examiner)                                                                     (Date)                            1                         2

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                                                      Application/Control No.                                 Applicant(s)/Patent Under Reexamination

 Issue Classification                                 13971606                                                PENNECOT ET AL.

                                                      Examiner                                                Art Unit

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 •          Claims renumbered in the same order as presented by applicant                      M         CPA           •      T.D.            M       R.1.47

   Final     Original    Final     Original   Final      Original   Final   Original   Final       Original    Final       Original   Final       Original      Final       Original

     1          1         15         17
     2          2         16         18

                3                    19

                4         17         20

     3          5         18         21

     4          6

     5          7

     6          8

     7          9

     8         10

     9         11

    10         12

    11         13

    12         14

    13         15

    14         16




 /SAMANTHA K ABRAHAM/
 Examiner.Art Unit 3645                                                                               05/16/2014                         Total Claims Allowed:

                                                                                                                                                       18
 (Assistant Examiner)                                                                                    (Date)
 /ISAM ALSOMIRI/
 Supervisory Patent Examiner.Art Unit 3645                                                            05/19/2014                O.G. Print Claim(s)          O.G. Print Figure

 (Primary Examiner)                                                                                      (Date)                         1                               2

U.S. Patent and Trademark Office                                                                                                                     Part of Paper No. 20140516
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                                             Application/Control No.           Applicant(s)/Patent Under
                                                                               Reexamination
           Search Notes                      13971606                          PENNECOT ET AL.

                                             Examiner                          Art Unit

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                                                     CPC- SEARCHED

                             Symbol                                                 Date               Examiner
 GO1C 3/08, 15/002, 11/025, 11/025, 21/30; GO  17/89, 7/4817,                    02/07/2014              SKA
 17/42
 GO1N 15/0205, 15/1459, 21/29, 2015/1486, 21/53, 21/538,                         05/16/2014                SKA
 2021/4709, 21/21; GO1 P 3/36, 5/26, 3/366; GO 17/50, 17/158


                                      CPC COMBINATION SETS - SEARCHED

                                          Symbol                                      Date             Examiner




                                           US CLASSIFICATION SEARCHED

       Class                                    Subclass                              Date            Examiner
 356                    4.01, 3.01, 4.07, 5.01, 5.09, 9, 625                     02/07/2014        SKA
 356                    337-342, 28.0, 28.5                                      05/16/2014        SKA



                                                      SEARCH NOTES

                                     Search Notes                                     Date             Examiner
 East search                                                                      02/07/2014       SKA
 NPL search                                                                       02/07/2014       SKA
 East inventor search                                                             02/07/2014       SKA
 CPC search                                                                       02/07/2014       SKA
 CPC search                                                                       05/16/2014       SKA
 Consulted with SPE lsam Alsomiri on search strategy and allowability             05/16/2014       SKA



                                                INTERFERENCE SEARCH

  US Class/                           US Subclass / CPC Group                         Date            Examiner
 CPC Symbol
 GO1N                     15/0205, 15/1459, 21/29, 2015/1486, 21/53, 21/538,     05/16/2014        SKA
                          2021/4709, 21/21
 G01P                     3/36, 5/26, 3/366                                      05/16/2014        SKA




U.S. Patent and Trademark Office                                                               Part of Paper No.. 20140516
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                                                INTERFERENCE SEARCH

   US Class/                           US Subclass / CPC Group                          Date              Examiner
  CPC Symbol
 GO1S                     17/50, 17/1158                                              05/16/2014       SKA
 356                      337-342, 28.0, 28.5, 3.01, 4.01, 4.07, 5.01, 5.09, 9, 625   05/16/2014       SKA




U.S. Patent and Trademark Office                                                                   Part of Paper No.. 20140516
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           IN THE UNITED STATES PATENT AND TRADEMARK OFFICE
                                (Attorney Docket No. 13-873)

In re the Application of:

       Gaetan Pennecot et al.
                                                     Group Art Unit: 3645
Serial No.: 13/971,606
                                                     Examiner: Samantha K. Abraham
Filed: August 20, 2013
                                                     Confirmation No. 4985
For: Devices And Methods For A Rotating
      LIDAR Platform With A Shared
      Transmit/Receive Path


           RESPONSE TO OFFICE ACTION MAILED FEBRUARY 13, 2014

       In response to the non-final Office Action mailed February 13, 2014, please enter the

following amendments and consider the following remarks.



Amendments to the Claims begin on page 2 of this paper.

Remarks begin on page 7 of this paper.

Payment of Fees: Applicant submits that no fees are required for this Response. However,

should any fee(s) be required under 37 C.F.R. §§ 1.16-1.21, please charge such fee(s) or credit

any overpayment of such fee(s) to Deposit Account No. 13-2490.




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Amendments to the Claims


       1. (Currently Amended) A light detection and ranging (LIDAR) device, comprising:

       a lens mounted to a housing, wherein the housing is configured to rotate about an axis;

wherein the housing and has an interior space that includes a transmit block, a receive block, a

transmit path, and a receive path, and a shared space, wherein the transmit block has an exit

aperture in a wall that comprises a reflective surface, [[and]] wherein the receive block has an

entrance aperture, wherein the transmit path extends from the exit aperture to the lens, and

wherein the receive path extends from the lens to the entrance aperture via the reflective surface;

       a plurality of light sources in the transmit block, wherein the plurality of light sources are

configured to emit a plurality of light beams that enter the shared space through the exit aperture

in a plurality of different directions and traverse the shared space via a transmit path, the light

beams comprising light having wavelengths in a wavelength range;

       a plurality of detectors in the receive block, wherein the plurality of detectors are

configured to detect light having wavelengths in the wavelength range; and

       a lens mounted to the housing, wherein the lens is configured to receive the light beams

via the transmit path, collimate the light beams for transmission into an environment of the

LIDAR device, collect light comprising light from one or more of the collimated light beams

reflected by one or more objects in the environment of the LIDAR device, and focus the

collected light onto the detectors via [[a]] the receive path that extends through the shared space

and the entrance aperture of the receive block.



       2. (Original) The LIDAR device of claim 1, wherein each detector in the plurality of

detectors is associated with a corresponding light source in the plurality of light sources, and


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wherein the lens is configured to focus onto each detector a respective portion of the collected

light that comprises light from the detector's corresponding light source.



       3. (Cancelled)



       4. (Cancelled)



       5. (Currently Amended) The LIDAR device of claim [[4]] 1, wherein the wall comprises

a transparent material, the reflective surface covers a portion of the transparent material, and the

exit aperture corresponds to a portion of the transparent material that is not covered by the

reflective surface.



       6. (Currently Amended) The LIDAR device of claim 1, wherein the transmit path at

least partially overlaps the receive path in the shared space.



        7. (Original) The LIDAR device of claim 1, wherein the lens defines a curved focal

surface in the transmit block and a curved focal surface in the receive block.



       8. (Original) The LIDAR device of claim 7, wherein the light sources in the plurality of

light sources are arranged in a pattern substantially corresponding to the curved focal surface in

the transmit block, and wherein the detectors in the plurality of detectors are arranged in a

pattern substantially corresponding to the curved focal surface in the receive block.




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       9. (Original) The LIDAR device of claim 1, wherein the lens has an aspheric surface

and a toroidal surface.



       10. (Currently Amended) The LIDAR device of claim 9, wherein the toroidal surface is

in the shared interior space within the housing and the aspheric surface is outside of the housing.



       11. (Original) The LIDAR device of claim 1, wherein the axis is substantially vertical.



       12. (Original) The LIDAR device of claim 1, further comprising a mirror in the transmit

block, wherein the mirror is configured to reflect the light beams toward the exit aperture.



       13. (Original) The LIDAR device of claim 1, wherein the receive block comprises a

sealed environment containing an inert gas.



       14. (Original) The LIDAR device of claim 1, wherein the entrance aperture comprises a

material that passes light having wavelengths in the wavelength range and attenuates light having

other wavelengths.



       15. (Original) The LIDAR device of claim 1, wherein each light source in the plurality

of light sources comprises a respective laser diode.



       16. (Original) The LIDAR device of claim 1, wherein each detector in the plurality of

detectors comprises a respective avalanche photodiode.



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       17. (Currently Amended) A method comprising:

       rotating a housing of a light detection and ranging (LIDAR) device about an axis,

wherein the housing mounts a lens and has an interior space that includes a transmit block, a

receive block, a transmit path, and a receive path, and a shared space, wherein the transmit block

has an exit aperture in a wall that comprises a reflective surface, [[and]] wherein the receive

block has an entrance aperture, wherein the transmit path extends from the exit aperture to the

lens, and wherein the receive path extends from the lens to the entrance aperture via the

reflective surface;

       emitting, by a plurality of light sources in the transmit block, a plurality of light beams

through the exit aperture in a plurality of different directions that enter the shared space via a

transmit path, the light beams comprising light having wavelengths in a wavelength range;

       receiving, by the lens, the light beams at a lens mounted to the housing along via the

transmit path;

       collimating, by the lens, the light beams for transmission into an environment of the

LIDAR device;

       collecting, by the lens, light from one or more of the collimated light beams reflected by

one or more objects in the environment of the LIDAR device;

       focusing, by the lens, the collected light onto a plurality of detectors in the receive block

via [[a]] the receive path that extends through the shared space and the entrance aperture of the

receive block; and

       detecting, by the plurality of detectors in the receive block, light from the focused light

having wavelengths in the wavelength range.




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       18. (Original) The method of claim 17, wherein each detector in the plurality of

detectors is associated with a corresponding light source in the plurality of light sources, the

method further comprising:

       focusing onto each detector, by the lens, a respective portion of the collected light that

comprises light from the detector's corresponding light source.



       19. (Cancelled)



       20. (Original) The method of claim 17, further comprising:

       reflecting, by a mirror in the transmit block, the emitted light beams toward the exit

aperture.



       21. (New) The method of claim 17, wherein the wall comprises a transparent material,

the reflective surface covers a portion of the transparent material, and the exit aperture

corresponds to a portion of the transparent material that is not covered by the reflective surface.




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                                          REMARKS

1.     Introduction

       In the Office Action mailed February 13, 2014, the Examiner rejected claims 1-4, 11, and

14-19 under 35 U.S.C. § 103 as being allegedly unpatentable over Hall, U.S. Patent No.

7,969,558 ("Hall") in view of Ohtomo et al., U.S. Patent No. 6,046,800 ("Ohtomo") and

Wangler et al., U.S. Pub. No. 2002/0140924 ("Wangler"), rejected claim 6 under 35 U.S.C. §

103 as being allegedly unpatentable over Hall in view of Ohtomo and Wangler and further in

view of Smith et al., U.S. Patent No. 7,311,000 ("Smith"), rejected claims 7-10 under 35 U.S.C.

§ 103 as being allegedly unpatentable over Hall in view of Ohtomo and Wangler and further in

view of Fermann, U.S. Patent No. 6,778,732 ("Fermann"), rejected claims 12 and 20 under 35

U.S.C. § 103 as being allegedly unpatentable over Hall in view of Ohtomo and Wangler and

further in view of Ozawa, U.S. Pub. No. 2010/0220141 ("Ozawa"), and rejected claim 13 under

35 U.S.C. § 103 as being allegedly unpatentable over Hall in view of Ohtomo and Wangler and

further in view of Hirano, U.S. Patent No. 7,361,948 ("Hirano").

       In addition, the Examiner rejected claims 1 and 17 under 35 U.S.C. § 112(b) as being

allegedly indefinite.

       The Examiner indicated that claim 5 contains allowable subject matter, but the Examiner

objected to this claim as being dependent upon a rejected base claim.

       In this Response, Applicant (i) amends claims 1, 5, 6, 10, and 17, (ii) cancels claims 3, 4,

and 19 without prejudice, and (iii) adds new claim 21.

       For the reasons set forth below, Applicant requests reconsideration and allowance of the

application, as amended herein.




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2.     Interview Summary

       Applicant thanks the Examiner for conducting a telephone interview to discuss the Office

Action on April 29, 2014. The participants in the interview were Examiner Samantha K.

Abraham and Applicant's representative, Richard A. Machonkin. During the interview,

Applicant's representative argued that amendments to claims 1 and 17 as set forth herein (but

without reference to "a plurality of different directions") would overcome the current rejections

under § 112 and the current rejections under § 103 (based on Hall, Ohtomo, and Wangler), for

the reasons set forth herein. The Examiner agreed. However, the Examiner also cited an

additional reference during the interview as being potentially relevant: Carlhoff et al., U.S.

Patent No. 7,259,838 ("Carlhoff'). Thus, no agreement was reached on allowability of the

application.



3.     Response to the Claim Rejections Under § 112

       The Examiner alleged that the term "shared space" in claims 1 and 17 render these claims

indefinite under 35 U.S.C. § 112(b). Without conceding to this rejection, but in order to expedite

prosecution, Applicant has amended claims 1 and 17 to remove the references to "shared space."

Accordingly, Applicant submits that the Examiner's rejection of claims 1 and 17 under § 112(b)

is now moot.



4.     Response to the Claim Resections under 103 based on Hall, Ohtomo, and Wangler

       Of the claims currently pending, claims 1 and 17 are independent. The Examiner rejected

claims 1 and 17 under § 103 as being allegedly unpatentable over Hall in view of Ohtomo and

Wangler. Without conceding to this rejection, but in order to expedite prosecution, Applicant



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has amended claims 1 and 17 to recite "an interior space that includes a transmit block, a receive

block, a transmit path, and a receive path, wherein the transmit block has an exit aperture in a

wall that comprises a reflective surface, wherein the receive block has an entrance aperture,

wherein the transmit path extends from the exit aperture to the lens, and wherein the receive path

extends from the lens to the entrance aperture via the reflective surface." This amendment is

supported by Applicant's specification at various places, for example, at paragraphs [0072] and

[0073]. Applicant submits that amended claims 1 and 17 are clearly allowable over Hall in view

of Ohtomo and Wangler, as set forth below.

       In rejecting claim 4 (now cancelled), the Examiner asserted that "Hall lacks, but Ohtomo

teaches a reflective surface proximate to the exit aperture [fig. 14, object 330], wherein the

receive path includes reflection by the reflective surface [fig. 14, object 330]." See Office

Action, p. 7. Figure 14 of Ohtomo is reproduced below:


                                             F IG,14




                                                300


In Ohtomo's description of Fig. 14, Ohtomo describes object 330 (which corresponds to the

claimed "reflective surface" in the Examiner's rationale) as mirror 330 and describes object 310

(which corresponds to the claimed "exit aperture" in the Examiner's rationale) as light emitting

part 310. See col. 3, lines 44-57. More particularly, Ohtomo explains the physical arrangement

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of mirror 330 and light emitting part 310 by referring to "a mirror 330 for reflecting the range

measuring light from the light emitting part 310 toward the prism 2100." See col. 3, lines 51-53.

       In contrast, amended claims 1 and 17 recite "an exit aperture in a wall that comprises a

reflective surface." Applicant submits that Ohtomo's arrangement in which mirror 330 is

arranged to reflect light from light emitting part 310 (the alleged "exit aperture") neither

discloses nor suggests "an exit aperture in a wall that comprises a reflective surface," as recited

in amended claim. Applicant further submits that Hall and Wangler do not make up for this

deficiency in Ohtomo.



5.     Response to the Examiner's citation of Carlhoff

       As noted above, the Examiner cited Carlhoff during the interview as being potentially

relevant. Even though the claims have not been rejected based on Carlhoff, Applicant has

further amended claims 1 and 17 in order to expedite prosecution. In particular, Applicant has

further amended claim 1 to recite "wherein the plurality of light sources are configured to emit a

plurality of light beams through the exit aperture in a plurality of different directions" and has

further amended claim 17 to recite "emitting, by a plurality of light sources in the transmit block,

a plurality of light beams through the exit aperture in a plurality of different directions." These

amendments are supported by at least paragraphs [0082] — [0084] of Applicant's specification

and Figure 4 in the drawings.

       Carlhoff neither discloses nor suggests emitting "a plurality of light beams through the

exit aperture in a plurality of different directions," as recited in amended claims 1 and 17. Rather

than a "plurality of light beams" with a "plurality of different directions," Carlhoff teaches a

single optical beam 118 with a single transmission direction:



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               The reflecting surface 104 of the reflecting component 102 is positioned at
       an angle with respect to the common optical channel 108 and to the optical beam
       both in the transmission and the reception directions. The normal of the reflecting
       surface 104 with respect to the direction of the optical beam 118 has an angle a,
       the value of which differs from zero. A possible value for the angle is, for
       example, around 45 degrees, but is not limited to this.
               The aperture 106 extends from the reflecting surface 104 through the
       optical beam separation element 100 for passing the optical beam 118 of the
       transmission direction through the optical beam separation element 100 to the
       common optical channel 108.

See col. 3, lines 38-30. Indeed, by referring to a particular angle, a, between the normal of the

reflecting surface 104 and the direction of the optical beam 118, Carlhoff teaches away from a

"plurality of light beams" with a "plurality of different directions."

       Accordingly, Applicant submits that claims 1 and 17, as amended, are allowable over

Hall, Ohtomo, Wangler, and Carlhoff for at least the foregoing reasons. Applicant further

submits that claims 2, 5-16, 18, 20, and 21 are allowable for at least the reason that they depend

from allowable independent claims.



6.     Conclusion

       Applicant submits that the present application is in condition for allowance, and notice to

that effect is hereby requested. Should the Examiner feel that further dialog would advance the

subject application to issuance, the Examiner is invited to telephone the undersigned at any time

at (312) 913-0001.

                                                      Respectfully submitted,


Date: May 9, 2014                              By: /Richard A. Machonkin/
                                                     Richard A. Machonkin
                                                     Reg. No. 41,962




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            Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 59 of 212
                             Electronic Acknowledgement Receipt

                       EFS ID:                  18992931


                 Application Number:            13971606


          International Application Number:


                Confirmation Number:            4985




                                                Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/
                  Title of Invention:
                                                Receive Path




         First Named Inventor/Applicant Name:   Gaetan Pennecot


                  Customer Number:              98929


                         Filer:                 Richard A Machonkin


                 Filer Authorized By:


              Attorney Docket Number:           13-873


                    Receipt Date:               09-MAY-2014


                     Filing Date:               20-AUG-2013


                     Time Stamp:                16:30:47


                  Application Type:             Utility under 35 USC 111(a)


Payment information:
Submitted with Payment                          no


File Listing:
 Document                                                                          File Size(Bytes)/                  Multi         Pages
                     Document Description            File Name
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                                                                                            132284
     1                                          13-873_Response.pdf                                                     yes           11
                                                                              5f5fceadeed8b51ae76a05e8a0062ae7308b
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            Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 60 of 212
                                            Multipart Description/PDF files in .zip description

                                    Document Description                                 Start                End


                      Amendment/Req. Reconsideration-After Non-Final Reject                1                    1



                                             Claims                                        2                    6



                       Applicant Arguments/Remarks Made in an Amendment                    7                   11


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If a timely submission to enter the national stage of an international application is compliant with the conditions of 35
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the application.
                          Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 61 of 212
                                                                                                                                                                                     PTO/SB/06 (09-11)
                                                                                                                                                  Approved for use through 1/31/2014. OMB 0651-0032
                                                                                                                            U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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     PATENT APPLICATION FEE DETERMINATION RECORD                                                                Application or Docket Number               Filing Date

                                       Substitute for Form PTO-875                                                      13/971,606                      08/20/2013              ❑     To be Mailed




                                                                                                                               ENTITY:          @ LARGE ❑             SMALL ❑ MICRO

                                                                             APPLICATION AS FILED - PART I
                                                       (Column 1)                          (Column 2)
                                                                                                                                                                                                      I
                         FOR                        NUMBER FILED                        NUMBER EXTRA                                   RATE ($)                             FEE ($)

    .BASIC FEE                                             N/A                                 N/A                                        N/A
     (37 CFR 1.16(a), (b), or (c))

    .SEARCH FEE                                            N/A                                 N/A                                        N/A
     (37 CFR 1.16(k), (i), or (m))

    .EXAMINATION FEE
                                                           N/A                                 N/A                                        N/A
     (37 CFR 1.16(o), (p), or (q))
   TOTAL CLAIMS
   (37 CFR 1.16(i))                                            minus 20 =                                                        X$

   INDEPENDENT CLAIMS
   (37 CFR 1.16(h))                                              minus 3 =      *                                                X$

                                                If the specification and drawings exceed 100 sheets
                                                of paper, the application size fee due is $310 ($155
    •APPLICATION SIZE FEE
                                                for small entity) for each additional 50 sheets or
     (37 CFR 1.16(s))
                                                fraction thereof. See 35 U.S.C. 41(a)(1)(G) and 37
                                                CFR 1.16(s).
   ❑           MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))

   * If the difference in column 1 is less than zero, enter "0" in column 2.                                                            TOTAL




                                                                       APPLICATION AS AMENDED - PART II

                                       (Column 1)                         (Column 2)             (Column 3)

                                   CLAIMS                            HIGHEST
                                   REMAINING                         NUMBER
               05/09/2014                                                                     PRESENT EXTRA                            RATE ($)                     ADDITIONAL FEE ($)
 AMENDMENT




                                   AFTER                             PREVIOUSLY
                                   AMENDMENT                         PAID FOR
               Total (37 CFR
               1.16(i))            *   18                Minus       ""   20              =0                                     x $80 =                                       0
               Independent
               (37 CFR 1.16(h))    *   2                 Minus       ***3                 =0                                     x $420 =                                      0
                ❑   Application Size Fee (37 CFR 1.16(s))


                ❑   FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                                                 TOTAL ADD'L FEE                               0

                                       (Column 1)                         (Column 2)             (Column 3)

                                     CLAIMS                           HIGHEST
                                    REMAINING                         NUMBER
                                                                                              PRESENT EXTRA                            RATE ($)                     ADDITIONAL FEE ($)
                                      AFTER                          PREVIOUSLY
                                   AMENDMENT                          PAID FOR
   AMENDMENT




               Total (37 CFR       *                     Minus       **                   =
               1.16(i))                                                                                                          X$
               Independent
               (37 CFR 1.16(h))                          Minus                                                                   X$

                ❑   Application Size Fee (37 CFR 1.16(s))


                ❑   FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                                                 TOTAL ADD'L FEE

   * If the entry in column 1 is less than the entry in column 2, write "0" in column 3.
                                                                                                                                 LIE
   "" If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
                                                                                                                                 /DEBORAH POLLARD/
   """ If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
   The "Highest Number Previously Paid For" (Total or Independent) is the highest number found in the appropriate box in column 1.
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.     CONFIRMATION NO.

       13/971,606               08/20/2013               Gaetan Pennecot           13-873                     4985


       98929            7590             05/06/2014
                                                                                               EXAMINER
       McDonnell Boehnen Hulbert & Berghoff
       LLP/Google Inc.                                                                 ABRAHAM, SAMANTHA K
       300 South Wacker Drive, Suite 3100
                                                                                  ART UNIT                PAPER NUMBER
       Chicago, IL 60606
                                                                                     3645



                                                                                  MAIL DATE           DELIVERY MODE

                                                                                  05/06/2014                 PAPER



Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                  Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 63 of 212
                                                                                      Application No.                          Applicant(s)

                                                                                      13/971,606                               PENNECOT ET AL.
         Applicant-Initiated Interview Summary
                                                                                      Examiner                                 Art Unit

                                                                                      SAMANTHA K. ABRAHAM                      3645


   All participants (applicant, applicant's representative, PTO personnel):

 (1) SAMANTHA K. ABRAHAM.                                                                (3)_.

 (2) Richard A. Machonkin (Applicants' Representative).                                  (4)

      Date of Interview: 29 April 2014.

        Type:           Z Telephonic ❑ Video Conference
                        ❑ Personal [copy given to: ❑ applicant                     ❑ applicant's representative]

   Exhibit shown or demonstration conducted:                      ❑ Yes            Z No.
      If Yes, brief description:    .


  Issues Discussed                 ❑101 Z112 ❑102 Z103 ®Others
  (For each of the checked box(es) above, please describe below the issue and detailed description of the discussion)


 Claim(s) discussed: 1, 5 (and consequently 17 and 21).

   Identification of prior art discussed: Hall, Ohtomo, and Wangler.

 Substance of Interview
 (For each issue discussed, provide a detailed description and indicate if agreement was reached. Some topics may include: identification or clarification of a
 reference or a portion thereof, claim interpretation, proposed amendments, arguments of any applied references etc...)


 Examiner and Mr. Machonkin discussed the § 112b (indefiniteness) rejection of claims 1 and 17 as well as proposed
 amendments and the application of previously applied prior art. .




 Applicant recordation instructions: The formal written reply to the last Office action must include the substance of the interview. (See MPEP
 section 713.04). If a reply to the last Office action has already been filed, applicant is given a non-extendable period of the longer of one month or
 thirty days from this interview date, or the mailing date of this interview summary form, whichever is later, to file a statement of the substance of the
 interview

 Examiner recordation instructions: Examiners must summarize the substance of any interview of record. A complete and proper recordation of
 the substance of an interview should include the items listed in MPEP 713.04 for complete and proper recordation including the identification of the
 general thrust of each argument or issue discussed, a general indication of any other pertinent matters discussed regarding patentability and the
 general results or outcome of the interview, to include an indication as to whether or not agreement was reached on the issues raised.


  ❑ Attachment
 /SAMANTHA K. ABRAHAM/                                                               /ISAM ALSOMIRI/
 Examiner, Art Unit 3645                                                             Supervisory Patent Examiner, Art Unit 3645



U.S. Patent and Trademark Office
PTOL-413 (Rev. 8/11/2010)                                                Interview Summary                                                   Paper No. 20140429
                 Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 64 of 212
                                                      Summary of Record of Interview Requirements
Manual of Patent Examining Procedure (MPEP), Section 713.04, Substance of Interview Must be Made of Record
A complete written statement as to the substance of any face-to-face, video conference, or telephone interview with regard to an application must be made of record in the
application whether or not an agreement with the examiner was reached at the interview.

                                                      Title 37 Code of Federal Regulations (CFR) § 1.133 Interviews
                                                                               Paragraph (b)

In every instance where reconsideration is requested in view of an interview with an examiner, a complete written statement of the reasons presented at the interview as
warranting favorable action must be filed by the applicant. An interview does not remove the necessity for reply to Office action as specified in §§ 1.111, 1.135. (35 U.S.C. 132)


                                                              37 CFR §1.2 Business to be transacted in writing.
All business with the Patent or Trademark Office should be transacted in writing. The personal attendance of applicants or their attorneys or agents at the Patent and
Trademark Office is unnecessary. The action of the Patent and Trademark Office will be based exclusively on the written record in the Office. No attention will be paid to
any alleged oral promise, stipulation, or understanding in relation to which there is disagreement or doubt.


         The action of the Patent and Trademark Office cannot be based exclusively on the written record in the Office if that record is itself
incomplete through the failure to record the substance of interviews.
         It is the responsibility of the applicant or the attorney or agent to make the substance of an interview of record in the application file, unless
the examiner indicates he or she will do so. It is the examiner's responsibility to see that such a record is made and to correct material inaccuracies
which bear directly on the question of patentability.

          Examiners must complete an Interview Summary Form for each interview held where a matter of substance has been discussed during the
interview by checking the appropriate boxes and filling in the blanks. Discussions regarding only procedural matters, directed solely to restriction
requirements for which interview recordation is otherwise provided for in Section 812.01 of the Manual of Patent Examining Procedure, or pointing
out typographical errors or unreadable script in Office actions or the like, are excluded from the interview recordation procedures below. Where the
substance of an interview is completely recorded in an Examiners Amendment, no separate Interview Summary Record is required.

           The Interview Summary Form shall be given an appropriate Paper No., placed in the right hand portion of the file, and listed on the
"Contents" section of the file wrapper. In a personal interview, a duplicate of the Form is given to the applicant (or attorney or agent) at the
conclusion of the interview. In the case of a telephone or video-conference interview, the copy is mailed to the applicant's correspondence address
either with or prior to the next official communication. If additional correspondence from the examiner is not likely before an allowance or if other
circumstances dictate, the Form should be mailed promptly after the interview rather than with the next official communication.

            The Form provides for recordation of the following information:
            —Application Number (Series Code and Serial Number)
            —Name of applicant
            —Name of examiner
            —Date of interview
            —Type of interview (telephonic, video-conference, or personal)
            —Name of participant(s) (applicant, attorney or agent, examiner, other PTO personnel, etc.)
            —An indication whether or not an exhibit was shown or a demonstration conducted
            —An identification of the specific prior art discussed
            — An indication whether an agreement was reached and if so, a description of the general nature of the agreement (may be by
               attachment of a copy of amendments or claims agreed as being allowable). Note: Agreement as to allowability is tentative and does
               not restrict further action by the examiner to the contrary.
            —The signature of the examiner who conducted the interview (if Form is not an attachment to a signed Office action)

            It is desirable that the examiner orally remind the applicant of his or her obligation to record the substance of the interview of each case. It
should be noted, however, that the Interview Summary Form will not normally be considered a complete and proper recordation of the interview
unless it includes, or is supplemented by the applicant or the examiner to include, all of the applicable items required below concerning the
substance of the interview.
            A complete and proper recordation of the substance of any interview should include at least the following applicable items:
           1) A brief description of the nature of any exhibit shown or any demonstration conducted,
           2) an identification of the claims discussed,
           3) an identification of the specific prior art discussed,
           4) an identification of the principal proposed amendments of a substantive nature discussed, unless these are already described on the
                Interview Summary Form completed by the Examiner,
           5) a brief identification of the general thrust of the principal arguments presented to the examiner,
                      (The identification of arguments need not be lengthy or elaborate. A verbatim or highly detailed description of the arguments is not
                      required. The identification of the arguments is sufficient if the general nature or thrust of the principal arguments made to the
                      examiner can be understood in the context of the application file. Of course, the applicant may desire to emphasize and fully
                      describe those arguments which he or she feels were or might be persuasive to the examiner.)
           6) a general indication of any other pertinent matters discussed, and
            7) if appropriate, the general results or outcome of the interview unless already described in the Interview Summary Form completed by
                the examiner.
            Examiners are expected to carefully review the applicant's record of the substance of an interview. If the record is not complete and
accurate, the examiner will give the applicant an extendable one month time period to correct the record.

                                                                    Examiner to Check for Accuracy


         If the claims are allowable for other reasons of record, the examiner should send a letter setting forth the examiner's version of the
statement attributed to him or her. If the record is complete and accurate, the examiner should place the indication, "Interview Record OK" on the
paper recording the substance of the interview along with the date and the examiner's initials.
               Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 65 of 212
                    UNITED STA I ES PA PENT AND TRADEMARK OFFICE
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   APPLICATION NO.             FILING DATE            FIRST NAMED INVENTOR   ATTORNEY DOCKET NO.     CONFIRMATION NO.

       13/971,606               08/20/2013               Gaetan Pennecot           13-873                     4985


       98929            7590             02/13/2014
                                                                                               EXAMINER
       McDonnell Boehnen Hulbert & Berghoff
       LLP/Google Inc.                                                                 ABRAHAM, SAMANTHA K
       300 South Wacker Drive, Suite 3100
                                                                                  ART UNIT                PAPER NUMBER
       Chicago, IL 60606
                                                                                     3645



                                                                                  MAIL DATE           DELIVERY MODE

                                                                                  02/13/2014                 PAPER



Please find below and/or attached an Office communication concerning this application or proceeding.

The time period for reply, if any, is set in the attached communication.




PTOL-90A (Rev. 04/07)
                      Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 66 of 212
                                                                                   Application No.                               Applicant(s)
                                                                                   13/971,606                                    PENNECOT ET AL.
                     Office Action Summary                                         Examiner                                      Art Unit           AIA (First Inventor to File)
                                                                                                                                                    Status
                                                                                   SAMANTHA K. ABRAHAM                           3645
                                                                                                                                                    Yes
                -- The MAILING DATE of this communication appears on the cover sheet with the correspondence address --
 Period for Reply
    A SHORTENED STATUTORY PERIOD FOR REPLY IS SET TO EXPIRE 3 MONTHS FROM THE MAILING DATE OF
 THIS COMMUNICATION.
       - Extensions of time may be available under the provisions of 37 CFR 1.136(a). In no event, however, may a reply be timely filed
           after SIX (6) MONTHS from the mailing date of this communication.
       - If NO period for reply is specified above, the maximum statutory period will apply and will expire SIX (6) MONTHS from the mailing date of this communication.
       - Failure to reply within the set or extended period for reply will, by statute, cause the application to become ABANDONED (35 U.S.C. § 133).
           Any reply received by the Office later than three months after the mailing date of this communication, even if timely filed, may reduce any
           earned patent term adjustment. See 37 CFR 1.704(b).

 Status
    1)Z Responsive to communication(s) filed on 08/20/2013.
        ❑ A declaration(s)/affidavit(s) under 37 CFR 1.130(b) was/were filed on
     2a)1=1 This action is FINAL.                2b)Z This action is non-final.
      3)0 An election was made by the applicant in response to a restriction requirement set forth during the interview on
                  ; the restriction requirement and election have been incorporated into this action.
      4)0 Since this application is in condition for allowance except for formal matters, prosecution as to the merits is
            closed in accordance with the practice under Ex parte Quayle, 1935 C.D. 11, 453 O.G. 213.
 Disposition of Claims*
    5)Z Claim(s) 1-20 is/are pending in the application.
          5a) Of the above claim(s)         is/are withdrawn from consideration.
    6)0 Claim(s)          is/are allowed.
    7)Z Claim(s) 1-4 and 6-20 is/are rejected.
    8)Z Claim(s) 5 is/are objected to.
    9)0 Claim(s)          are subject to restriction and/or election requirement.
 * If any claims have been determined allowable you may be eligible to benefit from the Patent Prosecution Highway program at a
 participating intellectual property office for the corresponding application. For more information, please see
  httpliwwwusptagovipatents/nit eventsipphlindex.jsp or send an inquiry to PRF-Ifeedback@usptaaov.

 Application Papers
   10)0 The specification is objected to by the Examiner.
   11)Z The drawing(s) filed on 08/20/2013 is/are: a)Z accepted or b)1=1 objected to by the Examiner.
                 Applicant may not request that any objection to the drawing(s) be held in abeyance. See 37 CFR 1.85(a).
                 Replacement drawing sheet(s) including the correction is required if the drawing(s) is objected to. See 37 CFR 1.121(d).

 Priority under 35 U.S.C. § 119
   12)0 Acknowledgment is made of a claim for foreign priority under 35 U.S.C. § 119(a)-(d) or (f).
    Certified copies:
                   b)E1Some** c)EINone of the:
           1.0 Certified copies of the priority documents have been received.
           2.0 Certified copies of the priority documents have been received in Application No.         .
           3.0 Copies of the certified copies of the priority documents have been received in this National Stage
                 application from the International Bureau (PCT Rule 17.2(a)).
 ** See the attached detailed Office action for a list of the certified copies not received.




 Attach ment(s)
 1) Z Notice of References Cited (PTO-892)                                                        3) ❑ Interview Summary (PTO-413)
                                                                                                         Paper No(s)/Mail Date.
 2) Z Information Disclosure Statement(s) (PTO/SB/08a and/or PTO/SB/08b)
                                                                                                  4) ❑ Other:
        Paper No(s)/Mail Date 08/21/2013.
U.S. Patent and Trademark Office
PTOL-326 (Rev. 11-13)                                             Office Action Summary                                           Part of Paper No./Mail Date 20140205
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Art Unit: 3645

       The present application, filed on or after March 16, 2013, is being examined under the

first inventor to file provisions of the AIA.

                                            DETAILED ACTION

                                     Claim Rejections - 35 USC § 112

       The following is a quotation of 35 U.S.C. 112(b):
       (b) CONCLUSION. The specification shall conclude with one or more claims particularly pointing
       out and distinctly claiming the subject matter which the inventor or a joint inventor regards as the
       invention.


       The following is a quotation of 35 U.S.C. 112 (pre-AIA), second paragraph:
       The specification shall conclude with one or more claims particularly pointing out and distinctly
       claiming the subject matter which the applicant regards as his invention.


       Claims 1 and 17 are rejected under 35 U.S.C. 112(b) or 35 U.S.C. 112 (pre-AIA), second

paragraph, as being indefinite for failing to particularly point out and distinctly claim the subject

matter which the inventor or a joint inventor, or for pre-AIA the applicant regards as the

invention.

       Claims 1 and 17 recite the limitation "shared space", which is rendered indefinite, as the

Claims do not provide a clear understanding of what is meant by the limitation. Claim 6 offers

that the transmit and receive paths at least partially overlap in the shared space. Looking to the

Specification for clarity, 10059 indicates that, "in some examples, the transmit path at least

partially overlaps with the receive path in the shared space". Further, 910060 of the Specification

provides that "the shared space can include a reflective surface" for the purpose of directing a

light beam. However, while possible characteristics of the shared space are offered in both the

Claims and the Specification, it remains unclear as to what the shared space actually is, in a

physical capacity. Therefore, for the purposes of claim interpretation, the shared space will be

interpreted to mean a region provided between the transmitter(s)/receiver(s) and the lens or the
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edge of the housing in which these components are placed where the optical paths of both the

transmitted and received light pass.

                                       Claim Rejections - 35 USC § 103

        The following is a quotation of 35 U.S.C. 103 which forms the basis for all obviousness

rejections set forth in this Office action:

        A patent for a claimed invention may not be obtained, notwithstanding that the claimed invention is not
        identically disclosed as set forth in section 102 of this title, if the differences between the claimed
        invention and the prior art are such that the claimed invention as a whole would have been obvious
        before the effective filing date of the claimed invention to a person having ordinary skill in the art to
        which the claimed invention pertains. Patentability shall not be negated by the manner in which the
        invention was made.


        The factual inquiries set forth in Graham v. John Deere Co., 383 U.S. 1, 148 USPQ 459

(1966), that are applied for establishing a background for determining obviousness under 35

U.S.C. 103 are summarized as follows:

        1. Determining the scope and contents of the prior art.

        2. Ascertaining the differences between the prior art and the claims at issue.

        3. Resolving the level of ordinary skill in the pertinent art.

        4. Considering objective evidence present in the application indicating obviousness or

nonobviousness.

        Claims 1-4, 11, and 14-19 are rejected under 35 U.S.C. 103 as being unpatentable

over Hall (US 7,969,558) in view of Ohtomo (US 6,046,800) and further in view of Wangler

(US 2002/0140924).

        Claims 1 and 17: Hall teaches a light detection and ranging (LIDAR) device [abstract;

col 3, In 65-67], comprising:
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       a housing [abstract; col 6, ln 56-63; fig. 13 and 14 (objects 152 and 158 collectively, or

158 specifically)] configured to rotate about an axis [abstract; col 6, ln 56-63], wherein the

housing has an interior space [fig. 13 and 14 (objects 152, 150 (specifically 154 and 156)] that

includes a transmit block [col 7, ln 10-12], a receive block [col 7, ln 3-5 (the detectors

collectively forming a receive unit)]; a plurality of light sources in the transmit block [col 7, ln

10-12], wherein the plurality of light sources are configured to emit a plurality of light beams

[col 7, ln 10-12], the light beams comprising light having wavelengths in a wavelength range

[col 5, ln 5-6: Though, to one of ordinary skill in the art, it would be reasonable to consider that

laser diodes of different (or slightly different) wavelengths could be employed implicitly in Hall,

so as to vary the characteristics of the laser light beams. In re Preda, 401 F.2d 825, 826,

159 USPQ 342, 344 (CCPA 1968)];

       a plurality of detectors in the receive block [col 7, ln 3-5], wherein the plurality of

detectors are configured to detect light having wavelengths in the wavelength range [col 5, ln 5-

6: The photo diodes would receive light of the same wavelength emitted from the laser diodes.

Though, to one of ordinary skill in the art, it would be reasonable to consider that laser diodes of

different (or slightly different) wavelengths could be employed implicitly in Hall, so as to vary

the characteristics of the laser light beams. In re Preda, 401 F.2d 825, 826, 159 USPQ 342, 344

(CCPA 1968)]; and

       Hall lacks, but Ohtomo teaches a shared space [fig. 14, the region between 310 and 320,

which includes 330] and light that enters the shared space through the exit aperture and traverse

the shared space via a transmit path [fig. 14, the region between 310 and 320, which includes

330], a lens mounted to the housing [fig. 14, object 340); col 3, ln 47-57], wherein the lens is
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configured to receive the light beams via the transmit path [fig. 14, object 340, receiving light

from 310); col 3, ln 47-57], collimate the light beams for transmission into an environment of the

LIDAR device [fig. 14, object 340 toward object 2100); col 3, ln 47-57], collect light comprising

light from one or more of the collimated light beams reflected by one or more objects in the

environment of the LIDAR device [fig. 14, object 340 from object 2100); col 3, ln 47-57], and

focus the collected light onto the detectors via a receive path [fig. 14, object 340 toward object

320); col 3, ln 47-57] that extends through the shared space [fig. 14, the region between 310 and

320, which includes 330] and the entrance aperture of the receive block [as taught by Wangler].

       Hall lacks, but Wangler teaches wherein the transmit block has an exit aperture [fig. 1,

object 524; 9[0007, 0052], and wherein the receive block has an entrance aperture [fig. 1, object

526;9[0007, 0052].

       It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the shared space, and multi-functional lens of Ohtomo and

to further include the transmit and receive apertures of Wangler because the shared space

indicates a region in which an optical component directs both the transmitted light to a target

from the transmitter and the received light from the target to the receiver [Ohtomo: col 3, ln 47-

57; fig. 14]. The multi-functional lens allows for light emitted from the transmitter to be

collimated in order to cause the reflected light from a target to be focused on the light receiving

part [Ohtomo: col 3, ln 47-57; fig. 14]. Further, the [opening of] transmit and receive apertures

control the collimation and focus of the optical system on the image plane.
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          Claims 2 and 18: Hall teaches each detector in the plurality of detectors is associated

with a corresponding light source in the plurality of light sources [col 3, ln 15-17; col 4, ln 59-

63], and wherein the lens is configured to focus onto each detector a respective portion of the

collected light that comprises light from the detector's corresponding light source [col 1, ln 11-

18] .

          Ohtomo further teaches lens is configured to focus onto each detector a respective portion

of the collected light that comprises light from the detector's corresponding light source [fig. 14;

col 3, ln 47-57].

          It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the lens configured to focus light from a detector to a

corresponding light source in order to reflect range measurement light transmitted from a laser

source in order to cause the reflected light from a target to be focused on the corresponding

receiving part to achieve a particular range measurement [Ohtomo: col 3, ln 47-57].



          Claim 3: Hall lacks, but Wangler teaches the exit aperture is in a wall that separates the

transmitter [transmit block] from a region beyond the transmitter [shared space as taught by

Ohtomo] [fig. 2, object 524].

          It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the exit aperture in a wall of a transmitter, the aperture

separating the transmitter from a region beyond the transmitter because the opening of transmit

aperture helps to control the collimation of the optical system on the image plane.
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Art Unit: 3645

       Claim 4: Hall lacks, but Ohtomo teaches a reflective surface proximate to the exit

aperture [fig. 14, object 330], wherein the receive path includes reflection by the reflective

surface [fig. 14, object 330].

       It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the mirror (reflecting surface) of Ohtomo in order to reflect

the range measuring light from the transmitter toward the target and causing the reflected light

from the target to be face the receiver [Ohtomo: col 3, ln 47-57].



       Claim 11: Hall teaches the axis is substantially vertical [fig. 9 and 13; col 6, ln 50-63].



       Claim 14: Hall teaches a [lens surface treated with a] material that passes light having

wavelengths in the wavelength range and attenuates light having other wavelengths [col 5, ln 5-

8: To one of ordinary skill in the art, it would be reasonable to consider that a UV treated surface

indicates a material coating. In re Preda, 401 F.2d 825, 826, 159 USPQ 342, 344 (CCPA 1968)].

       Hall lacks, but Wangler teaches the entrance aperture [910007, 0052].

       It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the entrance aperture of Wangler with a material to pass

certain wavelengths and to attenuate others in order to ensure that the appropriate range

measurement light is received at a detector [Hall: col 3, ln 15-17; col 4, ln 59-63].



       Claim 15: Hall teaches each light source in the plurality of light sources comprises a

respective laser diode [col 4, ln 59-63].
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       Claim 16: Hall teaches each detector in the plurality of detectors comprises a respective

avalanche photodiode [col 5, ln 5-7].



       Claim 19: Hall lacks, but Ohtomo teaches reflecting, by a reflective surface in the shared

space, the focused light along the receive path toward the [entrance aperture (as taught by

Wangler) of the receive block (as taught by Hall)] [fig. 14, object 330; col 3, ln 47-57], wherein

the reflective surface is proximate to the transmitter [exit aperture (as taught by Wangler)] [fig.

14 (objects 310 and 330)], and wherein the receive path includes the reflecting by the reflective

surface [fig. 14, object 330; col 3, ln 47-57].

       It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the mirror (reflecting surface) of Ohtomo in order to reflect

the range measuring light from the transmitter toward the target and causing the reflected light

from the target to be face the receiver [Ohtomo: col 3, ln 47-57].



       Claim 6 is rejected under 35 U.S.C. 103 as being unpatentable over Hall (US

7,969,558) in view of Ohtomo (US 6,046,800) and further in view of Wangler (US

2002/0140924) and further in view of Smith (US 7,311,000).

       Claim 6, Hall lacks, but Smith teaches the transmit path at least partially overlaps the

receive path in the [shared space (as taught by Ohtomo)] [col 5, ln 35-37].
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          It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the overlapping transmit and receive beams so as to define

a certain probe volume in space [Smith: col 5, ln 35-37].



          Claims 7-10 are rejected under 35 U.S.C. 103 as being unpatentable over Hall (US

7,969,558) in view of Ohtomo (US 6,046,800) and further in view of Wangler (US

2002/0140924) and further in view of Fermann (US 6,778,732).

          Claim 7: Hall lacks, but Fermann teaches the lens defines a curved focal surface [in the

transmit block as taught by Hall] and a curved focal surface [in the receive block as taught by

Hall] [col 7, ln 28-34: It is known in the art that aspheric, toroidal lenses result in a curved focal

surface].

          It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the curved focal surface resulting from the aspheric,

toroidal lens of Fermann to minimize spherical aberrations and astigmatism [Fermann: col 7, ln

28-34].

          Claim 8: Hall teaches the light sources in the plurality of light sources are arranged in a

pattern substantially corresponding to the curved focal surface in the transmit block [fig 19,

(object 180)], and wherein the detectors in the plurality of detectors are arranged in a pattern

substantially corresponding to the curved focal surface in the receive block [Hall does not

explicitly teach that the plurality of detectors are arranged in the same way as are the plurality of

emitters, however, it would be obvious to one of ordinary skill in the art to form the detectors in
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such a way in order to achieve a symmetrical optical system. In re Preda, 401 F.2d 825, 826,

159 USPQ 342, 344 (CCPA 1968)].

          Claim 9: Hall lacks, but Fermann teaches the lens has an aspheric surface and a toroidal

surface [col 7, ln 28-34].

          It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the curved focal surface resulting from the aspheric,

toroidal lens of Fermann to minimize spherical aberrations and astigmatism [Fermann: col 7, ln

28-34].

          Claim 10, Hall lacks, but Fermann teaches the toroidal surface [col 7, ln 28-34] [is in the

shared space within the housing] and the aspheric surface [col 7, ln 28-34] [is outside of the

housing].

          It would be obvious to one of ordinary skill in the art to orient an aspheric, toroidal lens,

such that light emitted toward the lens and entering through the toroidal side, results in more

efficient refraction and directs light over a greater area. Further, light reflected from an object

toward the lens and entering through the aspheric side, results in the elimination of aberrations of

the light reflected from the object. Thus, while the orientation of the aspheric, toroidal lens is not

explicitly taught by Hall or Fermann, but the incorporation and orientation of such a lens would

be obvious given the nature of the art.

          Thus, it would be obvious to one of ordinary skill in the art at the time of invention to

modify the LIDAR system of Hall to include the curved focal surface resulting from the

aspheric, toroidal lens of Fermann to minimize spherical aberrations and astigmatism [Fermann:

col 7, ln 28-34].
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          Claims 12 and 20 are rejected under 35 U.S.C. 103 as being unpatentable over Hall

(US 7,969,558) in view of Ohtomo (US 6,046,800) and further in view of Wangler (US

2002/0140924) and further in view of Ozawa (US 2010/0220141).

          Claims 12 and 20: Hall lacks, but Ozawa teaches a minor [in the transmit block as

taught by Hall] [9[0024], wherein the mirror is configured to reflect the light beams toward the

exit aperture [9[0024].

          It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the mirror of Ozawa in order to reflect light from the light

source toward the aperture [Ozawa: 9[0024].

          Claim 13 is rejected under 35 U.S.C. 103 as being unpatentable over Hall (US

7,969,558) in view of Ohtomo (US 6,046,800) and further in view of Wangler (US

2002/0140924) and further in view of Hirano (US 7,361,948).

          Claim 13: Hall lacks, but Hirano teaches the receive block comprises a sealed

environment containing an inert gas [col 5, ln 53-67; col 15, ln 37-48].

          It would be obvious to one of ordinary skill in the art at the time of invention to modify

the LIDAR system of Hall to include the inert gas within a sealed environment that also includes

a light receiver, is such that the inert gas acts as a filter device [Hirano: col 5, ln 53-67; col 15, ln

37-48].
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                                      Allowable Subject Matter

        Claim 5 is objected to as being dependent upon a rejected base claim, but would be

allowable if rewritten in independent form including all of the limitations of the base claim and

any intervening claims.

        Claim 5 teaches "a wall teaches a transparent material, the reflective surface covers a

portion of the transparent material, and the exit aperture corresponds to a portion of the

transparent material that is not covered by the reflective surface". Reference Ohtomo teaches a

mirror positioned near (and between) the transmitting and receiving units, at which the light

transmitted from the transmitter is directed toward a target object, and at which the light reflected

from the target object is directed toward the receiving unit. Reference Wangler teaches apertures

corresponding to a light emitting unit and to a light receiving unit. Reference Grainge (US

4,516,158) teaches a housing with an aperture through which a minor receives radiation; the

aperture preferable covered by a transparent window. However, none of the previously cited

references in the rejection of Claims 1, 3, or 4 (on all of which Claim 5 depends), nor Grainge

teach or imply that the exit aperture corresponds to a portion of a window (transparent material)

that is not covered by the mirror (reflective surface). Therefore, the no less than four references

that teach the majority of the limitations of Claim 5 render the remaining limitation obvious.

Further, as a result of an appropriate search, there is no prior art that sufficiently (either explicitly

or implicitly) teaches a relationship between an aperture, a mirror and a window as indicated by

the closest cited prior art.
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Art Unit: 3645

                                       Telephone Inquiry

       Any inquiry concerning this communication or earlier communications from the

examiner should be directed to SAMANTHA K. ABRAHAM whose telephone number is

(571)270-1037. The examiner can normally be reached on M-F 8:30AM-5:00PM ET.

       If attempts to reach the examiner by telephone are unsuccessful, the examiner's

supervisor, Isam Alsomiri can be reached on (571) 272-6970. The fax phone number for the

organization where this application or proceeding is assigned is 571-273-8300.

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/SAMANTHA K. ABRAHAM/
Examiner, Art Unit 3645

/ISAM ALSOMIRI/
Supervisory Patent Examiner, Art Unit 3645
                       Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 79 of 212
                                                                                      Application/Control No.             Applicant(s)/Patent Under
                                                                                                                          Reexamination
                                                                                      13/971,606                          PENNECOT ET AL.
                  Notice of References Cited
                                                                                      Examiner                            Art Unit
                                                                                                                                             Page 1 of 1
                                                                                      SAMANTHA K. ABRAHAM                 3645
                                                                           U.S. PATENT DOCUMENTS
  *                     Document Number                    Date
                  Country Code-Number-Kind Code          MM-YYYY                                      Name                                   Classification
  *
         A      US-6,046,800                            04-2000           Ohtomo et al.                                                       356/141.1
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         C
  *             US-6,778,732                            08-2004           Fermann, Martin E.                                                    385/31
         D
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         E
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         H      US-
         I      US-
         j      US-

         K      US-
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U.S. Patent and Trademark Office
PTO-892 (Rev. 01-2001)                                                  Notice of References Cited                       Part of Paper No. 20140205
                     Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 80 of 212
 gq9cogate: 08/20/2013                                                                                                               13971606 -                 GA1  5660a545)
                                                                                                                              Approved for use through 07/31/2012. OMB 0651-0031
Doc description:   Information Disclosure Statement (IDS) Filed                                          U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
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            4           5202742                                  1993-04-13           Frank et al.




            5           7089114                       B1         2006-08-08           Huang




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                 Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 81 of 212
Receipt date: 08/20/2013                          Application Number                                 13971606 - GAU: 3645
                                                  Filing Date                       2013-08-20
INFORMATION DISCLOSURE                            First Named Inventor        Gaetan Pennecot
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            10     7417716               B2      2008-08-26      Nagasaka et al.




            11     7544945               B2      2009-06-09      Tan et al.


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Receipt date: 08/20/2013                                   Application Number                                         13971606 - GAU: 3645
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INFORMATION DISCLOSURE                                     First Named Inventor          Gaetan Pennecot
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Receipt date: 08/20/2013                           Application Number                              13971606 - GAU: 3645
                                                   Filing Date                   2013-08-20
INFORMATION DISCLOSURE                             First Named Inventor    Gaetan Pennecot
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                  EAST Search History

                  EAST Search History (Prior Art)

                      Ref    Hits Search Query                                   DBs         Default      Plurals Time
                      #                                                                      Operator             Stamp
                      L1     7 mm "2005050558".pn.                               US-PGPUB; OR             ON        2014/02/07
                                                                                 USPAT;                             09:58
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                 I BM_TDB
                      L2     6      "2004070438".pn.                             US-PGPUB; OR             ON        2014/02/07
                                                                                 USPAT;                             10:05
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                 IBM TDB
                      L3     2      "7587109".pn.                                US-PGPUB; OR             ON        2014/02/07
                                                                                 USPAT;                             10:05
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                 IBM TDB
                      L4     2   mm (GO1C3/ 08. CPC. OR G01S17/89.CPC. OR        US- PGPUB; OR            ON        2014/02/07
                                    G01S7/ 4817. CPC. OR G01S17/ 42. CPC. OR     USPAT;                             10:25
                                    G01C15/002.CPC. OR GO1C11/025.CPC.           USOCR;
                                    OR G01C15/02.CPC. OR G01C21/30.CPC.)         FPRS;
                                    AND ((rotat$4 near3 (laser or lidar or       EPO; JPO;
                                    scan$4)) and (transmi$4 with receiv$4        DERWENT;
                                    with aperture$4) and (sources with           IBM TDB
                                    wavelength) and (detectors or sensors or
                                    receivers) and (lens same receiv$4 same
                                    collimat$4 same collect$4 same
                                    focus$4))
                      L5     0     356/4.01,3.01,4.07,5.01,5.09,9,625.ccls.      US-PGPUB; OR             ON        2014/02/07
                                   AND (vehicle and (rotat$4 near3 (laser or     USPAT;                             10:28
                                   lidar or scan$4)) and (transmi$4 with         USOCR;
                                   receiv$4 with aperture$4) and (sources        FPRS;
                                   with wavelength) and (detectors or            EPO; JPO;
                                   sensors or receivers) and (lens same          DERWENT;
                                   receiv$4 same collimat$4 same collect$4       I BM_TDB
                                   same focus$4))
                      L6     2     (vehicle and (rotat$4 near3 (laser or lidar   US-PGPUB; OR             ON        2014/02/07
                                   or scan$4)) and (transmi$4 with receiv$4      USPAT;                             10:29
                                   with aperture$4) and (sources with            USOCR;
                                   wavelength) and (detectors or sensors or      FPRS;
                                   receivers) and (lens same receiv$4 same       EPO; JPO;
                                   collimat$4 same collect$4 same                DERWENT;
                                   focus$4))                                     IBM TDB
                      L7     0      ("20110216304" i "3790277" i "4700301" US-PGPUB; OR                   ON        2014/02/07
                                      "4709195" i "5202742" i "5703351" i  USPAT                                    10:31
                                    "7089114" i "7248342" i "7255275"
                                    "7417716" i "7544945" i "7969558").PN.


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                           Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 86 of 212
                                  and (vehicle and (rotat$4 near3 (laser or
                                  lidar or scan$4)) and (transmi$4 with
                                  receiv$4 with aperture$4) and (sources
                                  with wavelength) and (detectors or
                                  sensors or receivers) and (lens same
                                  receiv$4 same collimat$4 same collect$4
                                  same focus$4))
                      L8     0    ("20110216304" 1 "3790277" 1 "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" 1 "5202742" 1 "5703351" 1         USPAT                               10:31
                                  "7089114" 1 "7248342" 1 "7255275"
                                  "7417716" 1 "7544945" 1 "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 with receiv$4
                                  with aperture$4) and (sources with
                                  wavelength) and (detectors or sensors or
                                  receivers) and (lens same receiv$4 same
                                  collimat$4 same collect$4 same
                                  focus$4))
                      L9     0    ("20110216304" 1 "3790277" 1 "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" 1 "5202742" 1 "5703351" 1         USPAT                               10:31
                                  "7089114" 1 "7248342" 1 "7255275"
                                  "7417716" 1 "7544945" 1 "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 with receiv$4
                                  with aperture$4) and (sources with
                                  wavelength) and (detectors or sensors or
                                  receivers) and (lens same collimat$4
                                  same collect$4 same focus$4))
                      L10    0    ("20110216304" 1 "3790277" 1 "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" 1 "5202742" 1 "5703351" 1         USPAT                               10:32
                                  "7089114" 1 "7248342" 1 "7255275"
                                  "7417716" 1 "7544945" 1 "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 with receiv$4
                                  with aperture$4) and (sources with
                                  wavelength) and (detectors or sensors or
                                  receivers) and (lens same collimat$4
                                  same focus$4))
                      L11    0    ("20110216304" 1 "3790277" 1 "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" 1 "5202742" 1 "5703351" 1         USPAT                               10:32
                                  "7089114" 1 "7248342" 1 "7255275"
                                  "7417716" 1 "7544945" 1 "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and (sources with
                                  wavelength) and (detectors or sensors or
                                  receivers) and (lens same collimat$4
                                  same focus$4))
                      L12    0    ("20110216304" 1 "3790277" 1 "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" 1 "5202742" 1 "5703351" 1         USPAT                               10:32
                                  "7089114" 1 "7248342" 1 "7255275"
                                  "7417716" 1 "7544945" 1 "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and ((beams or lasers
                                  or light or sources) with wavelength) and
                                  (detectors or sensors or receivers) and
                                  (lens same collimat$4 same focus$4))
                      L13    0    ("20110216304" 1 "3790277" 1 "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" 1 "5202742" 1 "5703351" 1         USPAT                               10:33
                                  "7089114" 1 "7248342" 1 "7255275"
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                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and (detectors or
                                  sensors or receivers) and (lens same
                                  collimat$4 same focus$4))
                      L14   0     ("20110216304" I "3790277" I "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" I "5202742" I "5703351" I         USPAT                               10:33
                                  "7089114" I "7248342" I "7255275"
                                  "7417716" I "7544945" I "7969558").PN.
                                  and ((rotat$4 near3 (laser or lidar or
                                  scan$4)) and (transmi$4 same receiv$4
                                  same aperture$4) and (lens same
                                  collimat$4 same focus$4))
                      L15   0     ("20110216304" I "3790277" I "4700301" 1JS-PGPUB; OR                    ON        2014/02/07
                                    "4709195" I "5202742" I "5703351" I  USPAT                                      10:34
                                  "7089114" I "7248342" I "7255275"
                                  "7417716" I "7544945" I "7969558").PN.
                                  and (((laser or lidar or scan$4)) and
                                  (transmi$4 same receiv$4 same
                                  aperture$4) and (lens same collimat$4
                                  same focus$4))
                      L16   8     ("20110216304" I "3790277" I "4700301"        US-PGPUB; OR              ON        2014/02/07
                                    "4709195" I "5202742" I "5703351" I         USPAT                               10:48
                                  "7089114" I "7248342" I "7255275"
                                  "7417716" I "7544945" I "7969558").PN.
                                  and (rotat$4 and detect$ and transmi$7
                                  and lens)
                      L17   10    (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US-PGPUB; OR              ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              11:07
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((rotat$4 near3 (laser or lidar or        EPO; JPO;
                                  scan$4)) and (transmi$5 or emit$7 or          DERWENT;
                                  emis$7) and (detect$4 or sens$4 or            IBM TDB
                                  receiv$4) and (aperture with transmi$4)
                                  and (aperture with receiv$4) and (lens
                                  with (collimat$4 and focus$4 and
                                  collect$4)))
                      L18   1678 ((detect$4 and transmit$4) same                US-PGPUB; OR              ON        2014/02/07
                                 (aperture$4)) and (lens with (collimat$4       USPAT;                              12:15
                                 and focus$4 and collect$4))                    USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L19   23    (GO1C3/ 08. CPC. OR GO1S17/89.CPC. OR         US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR      USPAT;                              12:15
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((detect$4 and transmit$4) same           EPO; JPO;
                                  (aperture$4)) and (lens with (collimat$4      DERWENT;
                                  and focus$4 and collect$4))                   IBM TDB
                      L20   0     (08/948228). APP.                             US-PGPUB; OR              ON        2014/02/07
                                                                                USOCR                               12:32
                      L21   44    (GO1C3/ 08. CPC. OR G01S17/89.CPC. OR         US- PGPUB; OR             ON        2014/02/07
                                  G01S7/ 4817. CPC. OR G01S17/ 42. CPC. OR      USPAT;                              12:33
                                  G01C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR G01C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 and focus$4       EPO; JPO;
                                  and collect$4 and transmi$4)))                DERWENT;
                                                                                I BM_TDB



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                      L22   446   (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              12:34
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR G01C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 and               EPO; JPO;
                                  focus$4)))                                    DERWENT;
                                                                                I BM TDB
                      L23   220   (GO1C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              12:34
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 with              EPO; JPO;
                                  focus$4)))                                    DERWENT;
                                                                                I BM TDB
                      L24
                      D4    79    (G01C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              12:34
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens near3 (collimat$4 with             EPO; JPO;
                                  focus$4)))                                    DERWENT;
                                                                                I BM_TDB
                      D5    0     (G01C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              12:35
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens near3 (transmitter and             EPO; JPO;
                                  detector) with (collimat$4 with               DERWENT;
                                  focus$4)))                                    I BM TDB
                      D6    0     (GO1C3/08.CPC. OR G01S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              12:35
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens with (transmitter and              EPO; JPO;
                                  detector) with (collimat$4 with               DERWENT;
                                  focus$4)))                                    IBM_ TDB
                      L27
                      D7    2     (G01C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              12:35
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND ((lens with (transmit$4 and               EPO; JPO;
                                  detect$4) with (collimat$4 with               DERWENT;
                                  focus$4)))                                    IBM_ TDB
                      D8    51    (G01C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              12:36
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((lens with (collimat$4 with              EPO; JPO;
                                  focus$4)) with (ref lect$4))                  DERWENT;
                                                                                I BM_TDB
                      D9    266   (G01C3/08.CPC. OR GO1S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              18:08
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND ((mirror or ref lect$4) near3             EPO; JPO;
                                  aperture)                                     DERWENT;
                                                                                I BM TDB
                      DO    0     (G01C3/08.CPC. OR G01S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817.CPC. OR GO1S17/42.CPC. OR          USPAT;                              18:09
                                  GO1C15/002.CPC. OR G01C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR G01C21/30.CPC.)          FPRS;
                                  AND (((mirror or ref lect$4) near3            EPO; JPO;



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                                  aperture) with (transparent near3             DERWENT;
                                  material near3 wall))                         IBM TDB
                      L31   4     (((mirror or reflect$4) near3 aperture)       US-PGPUB; OR              ON        2014/02/07
                                  with (transparent near3 material near3        USPAT;                              18:10
                                  wall))                                        USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L32   0     (((mirror) near3 aperture) with               US-PGPUB; OR              ON        2014/02/07
                                  (transparent near3 material near3 wall))      USPAT;                              18:18
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L33   0     (((mirror) with (transmitter and housing))    US-PGPUB; OR              ON        2014/02/07
                                  with (transparent near3 material near3        USPAT;                              18:18
                                  wall))                                        USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L34   0     (((mirror) with (transmitter and housing))    US-PGPUB; OR              ON        2014/02/07
                                  with (transparent near3 material))            USPAT;                              18:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L35   2     (((mirror) with (transmitter and housing))    US-PGPUB; OR              ON        2014/02/07
                                  same (transparent near3 material))            USPAT;                              18:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L36   6     (housing with aperture with (laser or         US-PGPUB; OR              ON        2014/02/07
                                  diode or transmitter) with mirror with        USPAT;                              18:20
                                  transparent)                                  USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L37   177   (housing with (laser or diode or              US-PGPUB; OR              ON        2014/02/07
                                  transmitter) with mirror with transparent)    USPAT;                              18:21
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L38   4     ((housing near3 transparent near3 wall)       US-PGPUB; OR              ON        2014/02/07
                                  same (laser or diode or transmitter) with     USPAT;                              18:21
                                  mirror)                                       USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L39   1154 (laser or transmitter) near3 mirror near3      US-PGPUB; OR              ON        2014/02/07
                                 (transparent (window or wall))                 USPAT;                              18:25
                                                                                USOCR;


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                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L40   27    ((laser or transmitter) near3 mirror near3    US-PGPUB; OR              ON        2014/02/07
                                  (transparent (window or wall)) near3          USPAT;                              18:25
                                  housing)                                      USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L41   5     (mirror near3 between near3 (laser or         US-PGPUB; OR              ON        2014/02/07
                                  diode or light) near3 (transparent or         USPAT;                              18:32
                                  window) near3 housing)                        USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L42   249   (mirror near3 between near3 (laser or         US-PGPUB; OR              ON        2014/02/07
                                  diode or light) near3 (transparent or         USPAT;                              18:33
                                  window))                                      USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L43   62    (mirror near3 between near3 (laser) near3 US-PGPUB; OR                  ON        2014/02/07
                                  (transparent or window))                  USPAT;                                  18:33
                                                                            USOCR;
                                                                            FPRS;
                                                                            EPO; JPO;
                                                                            DERWENT;
                                                                            IBM TDB
                      L44   623   (mirror with laser with housing) with         US-PGPUB; OR              ON        2014/02/07
                                  (window)                                      USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L45   83    (LI DAR) and ((mirror with laser with         US-PGPUB; OR              ON        2014/02/07
                                  housing) with (window))                       USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L46   0     (LI DAR) and ((mirror near3 laser near3       US-PGPUB; OR              ON        2014/02/07
                                  housing) with (window))                       USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L47   20 mm ((mirror near3 laser near3 housing) with      US-PGPUB; OR              ON        2014/02/07
                                  (window))                                     USPAT;                              18:51
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                  1L48      3     ((mirror near3 laser near3 housing) with      US-PGPUB; OR              ON        2014/02/07


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                                    (transparent near3 housing near3 wall))     USPAT;                              18:57
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L49   3       ((mirror near3 laser) with (transparent     US-PGPUB; OR              ON        2014/02/07
                                    near3 housing near3 wall))                  USPAT;                              18:57
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L50   3       ((mirror near3 laser) same (transparent     US-PGPUB; OR              ON        2014/02/07
                                    near3 housing near3 wall))                  USPAT;                              18:58
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L51   3    mm ((mirror with housing with laser) same      US-PGPUB; OR              ON        2014/02/07
                                    (transparent near3 housing near3 wall))     USPAT;                              18:58
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L52   12      ((mirror with housing with laser) and       US-PGPUB; OR              ON        2014/02/07
                                    (transparent near3 housing near3 wall))     USPAT;                              18:58
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L53   14      (mirror near3 between near3 laser near3     US-PGPUB; OR              ON        2014/02/07
                                    housing)                                    USPAT                               19:02
                      L54   0       (rangefinder) and (mirror near3 between     US-PGPUB; OR              ON        2014/02/07
                                    near3 laser near3 housing)                  USPAT                               19:05
                      L55   14      (mirror near3 between near3 laser near3     US-PGPUB; OR              ON        2014/02/07
                                    housing)                                    USPAT                               19:05
                      L56   1       (mirror near3 (positioned or disposed)      US-PGPUB; OR              ON        2014/02/07
                                    near3 between near3 laser near3             USPAT                               19:05
                                    housing)
                      L57   14      (mirror near3 between near3 laser near3     US-PGPUB; OR              ON        2014/02/07
                                    housing) and (mirror near3 between          USPAT                               19:10
                                    detector near3 housing)
                      L58   2       (mirror near3 laser near3 housing) and      US-PGPUB; OR              ON        2014/02/07
                                    (mirror near3 detector near3 housing)       USPAT                               19:15
                      L59   2       (mirror near3 laser near3 housing) and      US-PGPUB; OR              ON        2014/02/07
                                    (mirror near3 detector near3 housing)       USPAT;                              19:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L60   0       (mirror near3 laser near3 housing) and      US-PGPUB; OR              ON        2014/02/07
                                    (mirror near3 photodiode near3 housing)     USPAT;                              19:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;


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                                                                                DERWENT;
                                                                                IBM TDB
                      L61   13    (mirror near3 (laser or transmitter or        US-PGPUB; OR              ON        2014/02/07
                                  diode) near3 housing) and (mirror near3       USPAT;                              19:20
                                  (detector or sensor or photodiode or          USOCR;
                                  receiver) near3 housing)                      FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L62   43    (mirror near3 aperture near3 transmi$5)       US-PGPUB; OR              ON        2014/02/07
                                  and (mirror near3 aperture near3              USPAT;                              19:22
                                  receiv$4)                                     USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L63   20    (mirror near3 aperture near3 transmi$5)       US-PGPUB; OR              ON        2014/02/07
                                  and (mirror near3 aperture near3              USPAT;                              19:31
                                  detect$4)                                     USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L64   25    (mirror near3 aperture near3 laser) and       US-PGPUB; OR              ON        2014/02/07
                                  (mirror near3 aperture near3 detect$4)        USPAT;                              19:32
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L65   114   (aperture with transparent with mirror        US-PGPUB; OR              ON        2014/02/07
                                  with cover$4)                                 USPAT;                              19:39
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L66   0     (aperture with (transparent near3 wall        US-PGPUB; OR              ON        2014/02/07
                                  near3 housing) with mirror with cover$4)      USPAT;                              19:41
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L67   134   (aperture with (window) with mirror with      US-PGPUB; OR              ON        2014/02/07
                                  cover$4)                                      USPAT;                              19:41
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L68   229   (aperture with (window) with mirror with      US-PGPUB; OR              ON        2014/02/07
                                  (block$4 or cover$4))                         USPAT;                              19:41
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM_TDB
                      L69   178   (rang$4) and (aperture with (window)          US-PGPUB; OR              ON        2014/02/07
                                  with mirror with (block$4 or cover$4))        USPAT;                              19:42
                                                                                USOCR;


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                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      L70   1     (GO1C3/08.CPC. OR G01S17/89.CPC. OR           US- PGPUB; OR             ON        2014/02/07
                                  GO1S7/4817. CPC. OR GO1S17/ 42. CPC. OR       USPAT;                              19:42
                                  GO1C15/002.CPC. OR GO1C11/025.CPC.            USOCR;
                                  OR GO1C15/02.CPC. OR GO1C21/30.CPC.)          FPRS;
                                  AND (rang$4) and (aperture with               EPO; JPO;
                                  (window) with mirror with (block$4 or         DERWENT;
                                  cover$4))                                     I BM TDB
                      L71   18    (transmi$5 with receiv$4 with overlap)        US-PGPUB; OR              ON        2014/02/07
                                  with (LI DAR)                                 USPAT;                              20:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L72   4     ((transmi$5 near3 beam) with (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  near3 beam) with overlap) with (LI DAR)       USPAT;                              20:20
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L73   253   ((transmi$5 near3 beam) with (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  near3 beam) with overlap)                     USPAT;                              20:21
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L74   191   ((transmi$5 near3 beam) near3 (receiv$4       US-PGPUB; OR              ON        2014/02/07
                                  near3 beam) with overlap)                     USPAT;                              20:21
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L75   191   (((transmi$5 near3 beam) near3 (receiv$4 US-PGPUB; OR                   ON        2014/02/07
                                  near3 beam)) with overlap)               USPAT;                                   20:22
                                                                           USOCR;
                                                                           FPRS;
                                                                           EPO; JPO;
                                                                           DERWENT;
                                                                           IBM TDB
                      L76   112   (((transmi$5 near3 beam) near3 (receiv$4 US-PGPUB; OR                   ON        2014/02/07
                                  near3 beam)) near3 overlap)              USPAT;                                   20:22
                                                                           USOCR;
                                                                           FPRS;
                                                                           EPO; JPO;
                                                                           DERWENT;
                                                                           I BM TDB
                      L77   24 mm (((transmi$5 adj beam) near3 (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  adj beam)) near3 overlap)                     USPAT;                              20:22
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                  1L78      4     (((transmi$5 adj beam) near3 (receiv$4        US-PGPUB; OR              ON        2014/02/07


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EAST Search History
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                                   adj beam)) near3 overlap) and (lidar or      USPAT;                              20:24
                                   ladar)                                       USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L79   9      (((transmi$5 adj beam) near3 (receiv$4       US-PGPUB; OR              ON        2014/02/07
                                   adj beam)) near3 overlap) and (radar)        USPAT;                              20:25
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      L80   7      (((transmi$5 adj beam) near3 (receiv$4  US-PGPUB; OR                   ON        2014/02/07
                                   adj beam)) near3 overlap) and (compact) USPAT;                                   20:27
                                                                           USOCR;
                                                                           FPRS;
                                                                           EPO; JPO;
                                                                           DERWENT;
                                                                           I BM TDB
                      L81   24 mm (((transmi$5 adj beam) near3 (receiv$4        US-PGPUB; OR              ON        2014/02/07
                                  adj beam)) near3 overlap)                     USPAT;                              20:29
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L82   133    (aspheric with toroidal with lens)           US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      L83   0      (aspheric with toroidal with lens) with      US-PGPUB; OR              ON        2014/02/07
                                   (curved near3 focal near3 surface)           USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L84   0   mm (aspheric with toroidal with lens) with      US-PGPUB; OR              ON        2014/02/07
                                   (curv$4 near3 focal near3 surface)           USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L85   0      (aspher$4 with toroid$4 with lens) with      US-PGPUB; OR              ON        2014/02/07
                                   (curv$4 near3 focal near3 surface)           USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L86   366    (aspher$4 with toroid$4 with lens)           US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;



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EAST Search History
                        Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 95 of 212
                  1                [                                           II BM_TDB
                      L87   53      (aspheric near3 toroidal near3' lens)       US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L88   53      (aspheric near3 toroidal near3 lens)        US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              20:38
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L89   0       (GO1C3/08.CPC. OR GO1S17/89.CPC. OR         US-PGPUB; OR              ON        2014/02/07
                                    GO1S7/ 4817. CPC. OR GO1S17/ 42. CPC. OR    USPAT;                              20:39
                                    GO1C15/002.CPC. OR GO1C11/025.CPC.          USOCR;
                                    OR GO1C15/02.CPC. OR G01C21/30.CPC.)        FPRS;
                                    AND (aspheric near3 toroidal near3 lens)    EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L90   0    mm (aspheric near3 outside near3 housing)      US-PGPUB; OR              ON        2014/02/07
                                    with (toroidal near3 inside near3           USPAT;                              20:56
                                    housing)                                    USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L91   0       (aspheric near3 outside) with (toroidal     US-PGPUB; OR              ON        2014/02/07
                                    near3 inside)                               USPAT;                              20:56
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L92   0       (aspher$4 near3 outside) with (toroid$4     US-PGPUB; OR              ON        2014/02/07
                                    near3 inside)                               USPAT;                              20:57
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L93   1       (aspher$4 near3 outside) same (toroid$4     US-PGPUB; OR              ON        2014/02/07
                                    near3 inside)                               USPAT;                              20:57
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L94   1       (aspher$4 near3 (out or outside)) same       US-PGPUB; OR             ON        2014/02/07
                                    (toroid$4 near3 (inside or in))              USPAT;                             21:00
                                                                                 USOCR;
                                                                                 FPRS;
                                                                                 EPO; JPO;
                                                                                 DERWENT;
                                                                                I BM_TDB
                      L95   1       "6778732".pn. and (aspheric with            US-PGPUB; OR              ON        2014/02/07
                                    toroidal)                                   USPAT;                              21:00
                                                                                USOCR;
                                                                                FPRS;


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EAST Search History
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                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      L96   0     (mirror near3 aperature near3 laser)          US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              21:19
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      L97   441   (mirror near3 aperture near3 laser)           US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              21:20
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM TDB
                      L98   30    (mirror near3 between near3 aperture          US-PGPUB; OR              ON        2014/02/07
                                  near3 laser)                                  USPAT;                              21:20
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L99   6     (mirror near3 aperture near3 laser) and       US-PGPUB; OR              ON        2014/02/07
                                  (lidar)                                       USPAT;                              21:22
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L100 9      emit$4 near3 toward near3 mirror near3        US-PGPUB; OR              ON        2014/02/07
                                  aperture                                      USPAT;                              21:23
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L101 516    (receiv$4 with (inert near3 gas) with         US-PGPUB; OR              ON        2014/02/07
                                  seal$4)                                       USPAT;                              21:29
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L102 0      (receiv$4 with (inert near3 gas) with         US-PGPUB; OR              ON        2014/02/07
                                  seal$4) and (lidar)                           USPAT;                              21:29
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                I BM_TDB
                      L103 39     (receiv$4 with (light or beam) with (inert    US-PGPUB; OR              ON        2014/02/07
                                  near3 gas) with seal$4)                       USPAT;                              21:30
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L104 1      "7969558".pn. and (laser near3 diode)         US-PGPUB; OR              ON        2014/02/07
                                                                                USPAT;                              21:41


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EAST Search History
                           Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 97 of 212
                                                                                USOCR;
                                                                                FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      L105 5      pennecot-gaetan.inv. or droz-pierre-          US-PGPUB; OR              ON        2014/02/07
                                  yves.inv. or ulrich-drew.inv. or gruver-      USPAT;                              22:11
                                  daniel.inv. or morriss-zachary.inv. or        USOCR;
                                  levandowski-anthony.inv.                      FPRS;
                                                                                EPO; JPO;
                                                                                DERWENT;
                                                                                IBM TDB
                      S1     12   ("20110216304" I "3790277" I "4700301" US-PGPUB; OR                     ON        2014/02/05
                                    "4709195" I "5202742" I "5703351" I  USPAT                                      14:24
                                  "7089114" I "7248342" I "7255275"
                                  "7417716" I "7544945" I "7969558").PN.

                  EAST Search History (Interference)

                  <This search history is empty>

                  2/ 7/2014 10:17:22 PM
                  C:\ Users\ sabraham\ Documents\ EAST\ Workspaces\ 13971606.wsp




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              Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 98 of 212

                                            Application/Control No.           Applicant(s)/Patent Under
                                                                              Reexamination
          Index of Claims                   13971606                          PENNECOT ET AL.

                                            Examiner                          Art Unit

       111 111 11 111 111 1111 11           SAMANTHA K ABRAHAM                3645



  I           Rejected                     Cancelled           N      Non-Elected          A          Appeal

  =           Allowed                      Restricted          I      Interference         0         Objected

 • Claims renumbered in the same order as presented by applicant           • CPA         • T.D.        • R.1.47

          CLAIM                                                    DATE
      Final        Original   02/07/2014
                      1            v
                      2            v
                      3            v
                      4            v
                      5            0
                      6            v
                      7            v
                      8            v
                      9            v
                     10            v
                     11            v
                     12            v
                     13            v
                     14            v
                     15            v
                     16            v
                     17            v
                     18            v
                     19            v
                     20            v




U.S. Patent and Trademark Office                                                               Part of Paper No.: 20140205
               Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 99 of 212

                                             Application/Control No.   Applicant(s)/Patent Under
                                                                       Reexamination
           Search Notes                      13971606                  PENNECOT ET AL.

                                             Examiner                  Art Unit

      111 111 11 111         11 1111 11      SAMANTHA K ABRAHAM        3645




                                                     CPC- SEARCHED

                          Symbol                                            Date               Examiner
 GO1C3/08, GO1S17/89, GO1S7/4817, GO1S17/42, GO1C15/002,                 02/07/2014              SKA
 G01C11/025, GO1C15/02, GO1C21/30


                                      CPC COMBINATION SETS - SEARCHED

                                          Symbol                              Date             Examiner




                                           US CLASSIFICATION SEARCHED

       Class                                    Subclass                      Date            Examiner
 356                    4.01, 3.01, 4.07, 5.01, 5.09, 9, 625             02/07/2014        SKA



                                                      SEARCH NOTES

                                     Search Notes                             Date             Examiner
 East search                                                              02/07/2014       SKA
 NPL search                                                               02/07/2014       SKA
 East inventor search                                                     02/07/2014       SKA
 CPC search                                                               02/07/2014       SKA



                                                INTERFERENCE SEARCH

   US Class/                          US Subclass / CPC Group                 Date            Examiner
  CPC Symbol




U.S. Patent and Trademark Office                                                       Part of Paper No.: 20140205
            Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 100 of 212
                                                                                Page 1 of 1




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                                                                                            www.uspto.gov


     BIB DATA SHEET
                                                                                            CONFIRMATION NO. 4985

  SERIAL NUMBER                    FILING or 371(c)              CLASS       GROUP ART UNIT             ATTORNEY DOCKET
                                        DATE                                                                  NO.
         13/971,606                   08/20/2013                  356                3645                    13-873
                                             RULE
    APPLICANTS
      Google Inc., Mountain View, CA, Assignee (with 37 CFR 1.172 Interest);
    INVENTORS
       Gaetan Pennecot, San Francisco, CA;
       Pierre-Yves Droz, Los Altos, CA;
       Drew Eugene Ulrich, San Francisco, CA;
       Daniel Gruver, San Francisco, CA;
       Zachary Morriss, San Francisco, CA;
       Anthony Levandowski, Berkeley, CA;
** CONTINUING DATA *************************
** FOREIGN APPLICATIONS *************************
** IF REQUIRED, FOREIGN FILING LICENSE GRANTED **
       09/09/2013
Foreign Priority claimed         U Yes      V No                  STATE OR    SHEETS            TOTAL          INDEPENDENT
35 USC 119(a-d) conditions met U Yes        V No    1:1 Y?c=ce    COUNTRY    DRAWINGS          CLAIMS             CLAIMS
Verified and         /SAMANTHA K                    SKA
                     ABRAHAM/                                       CA          11                 20                    2
Acknowledged          Examiners Signature            Initials

    ADDRESS
          McDonnell Boehnen Hulbert & Berghoff
          LLP/Google Inc.
          300 South Wacker Drive, Suite 3100
          Chicago, IL 60606
          UNITED STATES
    TITLE
          Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path

                                                                                0 All Fees
                                                                                0 1.16 Fees (Filing)
             FEES: Authority has been given in Paper
  FILING FEE                                                                    0 1.17 Fees (Processing Ext. of time)
  RECEIVED No.                to charge/credit DEPOSIT ACCOUNT
     1900    No.              for following:                                    0 1.18 Fees (Issue)
                                                                                0 Other
                                                                                0 Credit




BIB (Rev. 05/07).
           Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 101 of 212
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      McDONNEL BOEHNEN                                                         -11A uLED
        HULBERT & BERGHOFF LLP/GOOGLE INC.
      300 SOUTH WACKER DRIVE, SUITE 3100                                             SEP 1 6 2013
      CHICAGO IL 60606
                                                                               OFFICE OF PETITIONS

                                                                                  Doc Code: TRACK1.GRANT
      Decision Granting Request for
        Prioritized Examination                           Application No.: 13/971,606
         (Track I or After RCE)

 1.       THE REQUEST FILED                     8/20/13                 IS GRANTED.

      The above-identified application has met the requirements for prioritized examination
         A.         for an original nonprovisional application (Track I).
         B.     ❑ for an application undergoing continued examination (RCE).

 2.      The above-identified application will undergo prioritized examination. The application will be
      accorded special status throughout its entire course of prosecution until one of the following occurs:

          A.       filing a petition for extension of time to extend the time period for filing a reply;
          B.       filing an amendment to amend the application to contain more than four independent
                   claims, more than thirty total claims, or a multiple dependent claim;
          C.       filing a request for continued examination.
          D.       filing a notice of appeal;
          E.       filing a request for suspension of action;
          F.       mailing of a notice of allowance;
          G.       mailing of a final Office action;
          H.       completion of examination as defined in 37 CFR 41.102; or
          I.       abandonment of the application.

      Telephone inquiries with regard to this decision should be directed to Cheryl Gibson-Baylor at
      (571)272-3213, Office of Petitions. In his/her absence, calls may be directed to Brian W. Brown,
      (571)272-5338.

        Cheryl Gibson-Baylor
       /Cheryl Gibson-Baylor/                                        Petitions Paralegal Specialist
       [Signature)                                                   (Title)


U.S. Patent and Trademark Office
PTO-2298 (Rev. 02-2012)
        Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 102 of 212



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                                                                                    Alexandria, VirgLnia 22313-1450
                                                                                    www.uspto.gov

  APPLICATION I 371(c)
                  FILING or   I G        I
    NUMBER             DATE      UNIT
                                   IT        FIL FEE RECD I          ATTY.DOCKET.NO                    ITOT CLAIMS I IND CLAIMS
  13/971,606     08/20/2013      2877           1900                     13-873              20       2
                                                                                      CONFIRMATION NO. 4985
98929                                                                         FILING RECEIPT
McDonnell Boehnen Hulbert & Berghoff
LLP/Google Inc.                                                              1111111111111111111111111CIIIIItIllIg11101101110
300 South Wacker Drive, Suite 3100                                                                        0
Chicago, IL 60606
                                                                                                 Date Mailed: 09/10/2013




Receipt is acknowledged of this non-provisional patent application. The application will be taken up for examination
in due course. Applicant will be notified as to the results of the examination. Any correspondence concerning the
application must include the following identification information: the U.S. APPLICATION NUMBER, FILING DATE,
NAME OF APPLICANT, and TITLE OF INVENTION. Fees transmitted by check or draft are subject to collection.
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any corrections to this Filing Receipt with your reply to the Notice. When the USPTO processes the reply
to the Notice, the USPTO will generate another Filing Receipt incorporating the requested corrections
I nventor(s)
                   Gaetan Pennecot, San Francisco, CA;
                   Pierre-Yves Droz, Los Altos, CA;
                   Drew Eugene Ulrich, San Francisco, CA;
                   Daniel Gruver, San Francisco, CA;
                   Zachary Morriss, San Francisco, CA;
                   Anthony Levandowski, Berkeley, CA;
Applicant(s)
                Google Inc., Mountain View, CA
Assignment For Published Patent Application
                Google Inc., Mountain View, CA
Power of Attorney: The patent practitioners associated with Customer Number 98929
Domestic Applications for which benefit is claimed - None.
A proper domestic benefit claim must be provided in an Application Data Sheet in order to constitute a claim for
domestic benefit. See 37 CFR 1.76 and 1.78.
Foreign Applications for which priority is claimed (You may be eligible to benefit from the Patent Prosecution
Highway program at the USPTO. Please see http://www.uspto.gov for more information.) - None.
Foreign application information must be provided in an Application Data Sheet in order to constitute a claim to
foreign priority. See 37 CFR 1.55 and 1.76.



If Required, Foreign Filing License Granted: 09/09/2013
The country code and number of your priority application, to be used for filing abroad under the Paris Convention,
is US 13/971,606
                                                       page 1 of 3
        Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 103 of 212




Projected Publication Date: Request for Non-Publication Acknowledged

Non-Publication Request: Yes

Early Publication Request: No
Title
             Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path
Preliminary Class
             356
Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition Applications: No

                PROTECTING YOUR INVENTION OUTSIDE THE UNITED STATES

Since the rights granted by a U.S. patent extend only throughout the territory of the United States and have no
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         Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 104 of 212




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This license is to be retained by the licensee and may be used at any time on or after the effective date thereof unless
it is revoked. This license is automatically transferred to any related applications(s) filed under 37 CFR 1.53(d). This
license is not retroactive.

The grant of a license does not in any way lessen the responsibility of a licensee for the security of the subject matter
as imposed by any Government contract or the provisions of existing laws relating to espionage and the national
security or the export of technical data. Licensees should apprise themselves of current regulations especially with
respect to certain countries, of other agencies, particularly the Office of Defense Trade Controls, Department of
State (with respect to Arms, Munitions and Implements of War (22 CFR 121-128)); the Bureau of Industry and
Security, Department of Commerce (15 CFR parts 730-774); the Office of Foreign AssetsControl, Department of
Treasury (31 CFR Parts 500+) and the Department of Energy.

NOT GRANTED

No license under 35 U.S.C. 184 has been granted at this time, if the phrase "IF REQUIRED, FOREIGN FILING
LICENSE GRANTED" DOES NOT appear on this form. Applicant may still petition for a license under 37 CFR 5.12,
if a license is desired before the expiration of 6 months from the filing date of the application. If 6 months has lapsed
from the filing date of this application and the licensee has not received any indication of a secrecy order under 35
U.S.C. 181, the licensee may foreign file the application pursuant to 37 CFR 5.15(b).



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business investment, innovation, and commercialization of new technologies. The U.S. offers tremendous resources
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                                                       page 3 of 3
                  Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 105 of 212

                          PATENT APPLICATION FEE DETERMINATION RECORD                                                                    Application or Docket Number
                                                       Substitute for Form PTO-875                                                       13/971,606


                           APPLICATION AS FILED - PART I                                                                                                 OTHER THAN
                                             (Column 1)                     (Column 2)                        SMALL ENTITY                OR             SMALL ENTITY
                  FOR                   NUMBER FILED                  NUMBER EXTRA                      RATE($)               FEE($)                 RATE($)            FEE($)
BASIC FEE
(37 CFR 1.16(a), (b), or (c))
                                                 N/A                            N/A                        N/A                                         N/A               280
SEARCH FEE
(37 CFR 1.16(k), (i), or (m))
                                                 N/A                            N/A                        N/A                                         N/A               600
EXAMINATION FEE
(37 CFR 1.16(o), (p), or (q))
                                                 N/A                            N/A                        N/A                                         N/A               720
TOTAL CLAIMS                                                                                                                              OR
(37 CFR 1.16(0)
                                            20         minus 20=                                                                                 x      80       =      0.00
INDEPENDENT CLAIMS
(37 CFR 1.16(h))
                                            2          minus 3 =                                                                                 x     420       =      0.00

                                      If the specification and drawings exceed 100
APPLICATION SIZE                      sheets of paper, the application size fee due is
FEE                                   $310 ($155 for small entity) for each additional                                                                                  0.00
(37 CFR 1.16(s))                      50 sheets or fraction thereof. See 35 U.S.C.
                                      41(a)(1)(G) and 37 CFR 1.16(s).

MULTIPLE DEPENDENT CLAIM PRESENT (37 CFR 1.16(j))                                                                                                                       0.00

* If the difference in column 1 is less than zero, enter "0" in column 2.                                 TOTAL                                       TOTAL             1600


                      APPLICATION AS AMENDED - PART II

                                                                                                                                                         OTHER THAN
                                    (Column 1)                     (Column 2)      (Column 3)                 SMALL ENTITY                OR             SMALL ENTITY
                                    CLAIMS                       HIGHEST
                                   REMAINING                      NUMBER           PRESENT                                  ADDITIONAL                               ADDITIONAL
                                                                                                          RATE($)                                     RATE($)
AMENDMENT A




                                     AFTER                      PREVIOUSLY          EXTRA                                     FEE($)                                   FEE($)
                                  AMENDMENT                      PAID FOR
                    Total                             Minus                       =
               (37 CFR 1.16(i))                                                                                                           OR     x
                                                                                  .
                Independent                           Minus
               (37 CFR 1.16(h))                                                                                                           OR     x

              Application Size Fee (37 CFR 1.16(s))


              FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))                                                             OR

                                                                                                        TOTAL                                         TOTAL
                                                                                                                                          OR
                                                                                                       ADD'L FEE                                     ADD'L FEE

                                    (Column 1)                     (Column 2)      (Column 3)
                                    CLAIMS                       HIGHEST
                                   REMAINING                      NUMBER           PRESENT                                  ADDITIONAL                               ADDITIONAL
                                                                                                          RATE($)                                     RATE($)
AMENDMENT B




                                     AFTER                      PREVIOUSLY          EXTRA                                     FEE($)                                   FEE($)
                                  AMENDMENT                      PAID FOR
                    Total                             Minus                       =
                                                                                                                                          OR     x
               (37 CFR 1.16(i))
                Independent                           Minus                       =
                                                                                                                                          OR     x
               (37 CFR 1.16(h))

              Application Size Fee (37 CFR 1.16(s))

                                                                                                                                          OR
              FIRST PRESENTATION OF MULTIPLE DEPENDENT CLAIM (37 CFR 1.16(j))

                                                                                                  TOTAL                                               TOTAL
                                                                                                                                          OR
                                                                                                ADD'L FEE                                            ADD'L FEE
           * If the entry in column 1 is less than the entry in column 2, write "0" in column 3.
          "" If the "Highest Number Previously Paid For" IN THIS SPACE is less than 20, enter "20".
         """ If the "Highest Number Previously Paid For" IN THIS SPACE is less than 3, enter "3".
              The "Highest Number Previously Paid For (Total or Independent) is the highest found in the appropriate box in column 1.
        Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 106 of 212



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                                                                                  UNITED STATES DEPARTMENT OF COMMERCE
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                                                                                  Address: COMMISSIONER FOR PATENTS
                                                                                         PO. Box 1450
                                                                                         Alexandria, Virginia 22313-1450
                                                                                         www.uspto.gov

    APPLICATION NUMBER           FILING OR 371(C) DATE             FIRST NAMED APPLICANT               ATTY. DOCKET NO./TITLE

        13/971,606                   08/20/2013                        Gaetan Pennecot          13-873
                                                                                         CONFIRMATION NO. 4985
98929                                                                            POA ACCEPTANCE LETTER
McDonnell Boehnen Hulbert & Berghoff
LLP/Google Inc.                                                                  1111111111111111111111111CIIII
                                                                                                              0
                                                                                                               ItIlig!liM11111
300 South Wacker Drive, Suite 3100
Chicago, IL 60606
                                                                                                      Date Mailed: 09/10/2013




                         NOTICE OF ACCEPTANCE OF POWER OF ATTORNEY
This is in response to the Power of Attorney filed 08/20/2013.
The Power of Attorney in this application is accepted. Correspondence in this application will be mailed to the
above address as provided by 37 CFR 1.33.




                /laguirre/


Office of Data Management, Application Assistance Unit (571) 272-4000, or (571) 272-4200, or 1-888-786-0101




                                                         page 1 of 1
             Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 107 of 212

Doc Code: TRACKI.REQ
Document Description: TrackOne Request
                                                                                                              PTO/AIA/424 (03-13)




                   CERTIFICATION AND REQUEST FOR PRIORITIZED EXAMINATION
                                UNDER 37 CFR 1.102(e) (Page 1 of 1)

First Named                                                 Nonprovisional Application Number (if
Inventor:             Gaetan Pennecot                       known):
Title of
Invention:            Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path

APPLICANT HEREBY CERTIFIES THE FOLLOWING AND REQUESTS PRIORITIZED EXAMINATION FOR
THE ABOVE-IDENTIFIED APPLICATION.

     1. The processing fee set forth in 37 CFR 1.17(i)(1), the prioritized examination fee set forth in
        37 CFR 1.17(c), and if not already paid, the publication fee set forth in 37 CFR 1.18(d) have
        been filed with the request. The basic filing fee, search fee, examination fee, and any required
        excess claims and application size fees are filed with the request or have been already been
        paid.

     2. The application contains or is amended to contain no more than four independent claims and no
        more than thirty total claims, and no multiple dependent claims.

     3. The applicable box is checked below:

        I.        0 Original Application (Track One) - Prioritized Examination under § 1.102(e)(1)

     i. (a) The application is an original nonprovisional utility application filed under 35 U.S.C. 111(a).
            This certification and request is being filed with the utility application via EFS-Web.
                                             ---0 R---
        (b) The application is an original nonprovisional plant application filed under 35 U.S.C. 111(a).
            This certification and request is being filed with the plant application in paper.

     ii. The executed inventor's oath or declaration is filed with the application. (37 CFR 1.63 and 1.64)

       II.        MI Request for Continued Examination - Prioritized Examination under § 1.102(e)(2)

     i. A request for continued examination has been filed with, or prior to, this form.
     ii. If the application is a utility application, this certification and request is being filed via EFS-Web.
     iii. The application is an original nonprovisional utility application filed under 35 U.S.C. 111(a), or is
          a national stage entry under 35 U.S.C. 371.
     iv. This certification and request is being filed prior to the mailing of a first Office action responsive
          to the request for continued examination.
     v. No prior request for continued examination has been granted prioritized examination status
          under 37 CFR 1.102(e)(2).



Signature    /Rich ard A. Machonkin/                                                     Date 2013-08-20

Name
(Print/Typed)
                Richard A. Machonkin                                                     Practitioner
                                                                                         Registration Number
                                                                                                             41,962


Note: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4(d) for signature requirements and certifications.
Submit multiple forms if more than one signature is required.


      *Total of          forms are submitted.
         Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 108 of 212

                                                Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your
submission of the attached form related to a patent application or patent. Accordingly, pursuant to the requirements of
the Act, please be advised that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2)
furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is used by the
U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or
patent. If you do not furnish the requested information, the U.S. Patent and Trademark Office may not be able to
process and/or examine your submission, which may result in termination of proceedings or abandonment of the
application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1. The information on this form will be treated confidentially to the extent allowed under the Freedom of
       Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.0 552a). Records from this system of records may
       be disclosed to the Department of Justice to determine whether disclosure of these records is required by the
       Freedom of Information Act.
    2. A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence
       to a court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of
       settlement negotiations.
    3. A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
       request involving an individual, to whom the record pertains, when the individual has requested assistance from
       the Member with respect to the subject matter of the record.
    4. A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having
       need for the information in order to perform a contract. Recipients of information shall be required to comply
       with the requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).
    5. A record related to an International Application filed under the Patent Cooperation Treaty in this system of
       records may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property
       Organization, pursuant to the Patent Cooperation Treaty.
    6. A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes
       of National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C.
       218(c)).
    7. A record from this system of records may be disclosed, as a routine use, to the Administrator, General
       Services, or his/her designee, during an inspection of records conducted by GSA as part of that agency's
       responsibility to recommend improvements in records management practices and programs, under authority of
       44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the GSA regulations governing
       inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
       disclosure shall not be used to make determinations about individuals.
    8. A record from this system of records may be disclosed, as a routine use, to the public after either publication of
       the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a
       record may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record
       was filed in an application which became abandoned or in which the proceedings were terminated and which
       application is referenced by either a published application, an application open to public inspection or an issued
       patent.
    9. A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
       enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




Page 2
                 Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 109 of 212
Doc code: IDS                                                                                                                                                 PTO/SB/08a (01-10)
                                                                                                                           Approved for use through 072012. OMB 0651-0031
Doc description: Information Disclosure Statement (IDS) Filed                                         U.S. Patent and Trademark Office; U.S. DEPARTMENT OF COMMERCE
                      Under the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it contains a valid OMB control number.



                                                               Application Number

                                                               Filing Date                                2013-08-20
INFORMATION DISCLOSURE                                         First Named Inventor              Gaetan Pennecot
STATEMENT BY APPLICANT                                         Art Unit
( Not for submission under 37 CFR 1.99)
                                                               Examiner Name

                                                               Attorney Docket Number                     13-873




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Initial" No                                        Code1                           of cited Document
                                                                                                                 Figures Appear



            1       3790277                                  1974-02-05            Hogan




            2       4700301                                  1987-10-13            Dyke




            3       4709195                                  1987-11-24            Hellekson et al.




            4       5202742                                  1993-04-13            Frank et al.




            5       7089114                        B1        2006-08-08            Huang




            6       7248342                        B1        2007-07-24            Degnan




            7       7255275                        B2        2007-08-14            Gurevich et al.




            8       7969558                        B2        2011-06-28            Hall




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                 Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 110 of 212
                                                  Application Number
                                                  Filing Date                       2013-08-20
INFORMATION DISCLOSURE                            First Named Inventor        Gaetan Pennecot
STATEMENT BY APPLICANT                            Art Unit
( Not for submission under 37 CFR 1.99)
                                                  Examiner Name
                                                  Attorney Docket Number            13-873




            9      5703351                       1997-12-30      Meyers




            10     7417716               B2      2008-08-26      Nagasaka et al.




            11     7544945               B2      2009-06-09      Tan et al.


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            1        20110216304         Al      2011-09-08      Hall


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Initials" No
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                   Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 111 of 212
                                                           Application Number
                                                           Filing Date                          2013-08-20
INFORMATION DISCLOSURE                                     First Named Inventor          Gaetan Pennecot
STATEMENT BY APPLICANT                                     Art Unit
( Not for submission under 37 CFR 1.99)
                                                           Examiner Name
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Examiner Signature                                                                                 Date Considered

"EXAMINER: Initial if reference considered, whether or not citation is in conformance with MPEP 609 Draw line through a
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1 See Kind Codes of USPTO Patent Documents at www.USPTO.GOV or MPEP 901.04. 2 Enter office that issued the document, by the two-letter code (WIPO
Standard ST.3). 3 For Japanese patent documents, the indication of the year of the reign of the Emperor must precede the serial number of the patent document.
4 Kind of document by the appropriate symbols as indicated on the document under WIPO Standard ST.16 if possible. 5 Applicant is to place a check mark here if
English language translation is attached.




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                 Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 112 of 212
                                                   Application Number
                                                   Filing Date                   2013-08-20
INFORMATION DISCLOSURE                             First Named Inventor    Gaetan Pennecot
STATEMENT BY APPLICANT                             Art Unit
( Not for submission under 37 CFR 1.99)
                                                   Examiner Name
                                                   Attorney Docket Number        13-873



                                                   CERTIFICATION STATEMENT

Please see 37 CFR 1.97 and 1.98 to make the appropriate selection(s):


      That each item of information contained in the information disclosure statement was first cited in any communication
❑     from a foreign patent office in a counterpart foreign application not more than three months prior to the filing of the
      information disclosure statement. See 37 CFR 1.97(e)(1).


 OR

      That no item of information contained in the information disclosure statement was cited in a communication from a
      foreign patent office in a counterpart foreign application, and, to the knowledge of the person signing the certification
      after making reasonable inquiry, no item of information contained in the information disclosure statement was known to
❑     any individual designated in 37 CFR 1.56(c) more than three months prior to the filing of the information disclosure
      statement. See 37 CFR 1.97(e)(2).




❑     See attached certification statement.
❑     The fee set forth in 37 CFR 1.17 (p) has been submitted herewith.
x     A certification statement is not submitted herewith.
                                                             SIGNATURE
 A signature of the applicant or representative is required in accordance with CFR 1.33, 10.18. Please see CFR 1.4(d) for the
form of the signature.

Signature               /Richard A. Machonkin/                      Date (YYYY-MM-DD)          2013-08-20
Name/Print              Richard A. Machonkin                        Registration Number        41962



This collection of information is required by 37 CFR 1.97 and 1.98. The information is required to obtain or retain a benefit by the
public which is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR
1.14. This collection is estimated to take 1 hour to complete, including gathering, preparing and submitting the completed
application form to the USPTO. Time will vary depending upon the individual case. Any comments on the amount of time you
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                 Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 113 of 212

                                                    Privacy Act Statement




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attached form related to a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised
that: (1) the general authority for the collection of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited
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process and/or examine your submission related to a patent application or patent. If you do not furnish the requested
information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
result in termination of proceedings or abandonment of the application or expiration of the patent.

 The information provided by you in this form will be subject to the following routine uses:

     1.       The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act
          (5 U.S.C. 552) and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the
          Department of Justice to determine whether the Freedom of Information Act requires disclosure of these record s.

     2.      A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a
          court, magistrate, or administrative tribunal, including disclosures to opposing counsel in the course of settlement
          negotiations.

     3.       A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a
          request involving an individual, to whom the record pertains, when the individual has requested assistance from the
          Member with respect to the subject matter of the record.

     4.       A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for
          the information in order to perform a contract. Recipients of information shall be required to comply with the
          requirements of the Privacy Act of 1974, as amended, pursuant to 5 U.S.C. 552a(m).

     5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records
          may be disclosed, as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant
          to the Patent Cooperation Treaty.

     6.       A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of
          National Security review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

     7.       A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or
          his/her designee, during an inspection of records conducted by GSA as part of that agency's responsibility to
          recommend improvements in records management practices and programs, under authority of 44 U.S.C. 2904 and
          2906. Such disclosure shall be made in accordance with the GSA regulations governing inspection of records for this
          purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not be used to make
          determinations about individuals.



     8.       A record from this system of records may be disclosed, as a routine use, to the public after either publication of
          the application pursuant to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record
          may be disclosed, subject to the limitations of 37 CFR 1.14, as a routine use, to the public if the record was filed in
          an application which became abandoned or in which the proceedings were terminated and which application is
          referenced by either a published application, an application open to public inspections or an issued patent.



     9.       A record from this system of records may be disclosed, as a routine use, to a Federal, State, or local law
          enforcement agency, if the USPTO becomes aware of a violation or potential violation of law or regulation.




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                      Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 114 of 212

                  (19)                Europil sches
                                      Patenta mit
                                      European
                                      Patent Office
                                                                                                                10H101 101HI 11111111111 IHI 1111 IOU
                                      Office e uro peen
                                      des brevets
                                                                                                         (11)         EP 2 410 358 Al
                  (12)                                    EUROPEAN PATENT APPLICATION

                  (43) Date of publication:                                           (51) Int Cl.:
                       25.01.2012 Bulletin 2012/04                                            G02B 6/08(2".")              GO2B 6/42 (2005.01)
                                                                                              GO2B 27/00 (2005.01)

                  (21) Application number: 10170040.9

                  (22) Date of filing: 19.07.2010


                  (84) Designated Contracting States:                                 (72) Inventor: Guldimann, Benedikt
                        AL AT BE BG CH CY CZ DE DK EE ES Fl FR GB                           2321 LC Leiden (NL)
                        GR HR HU IE IS IT LI LT LU LV MC MK MT NL NO
                       PL PT RO SE SI SK SM TR                                        (74) Representative: MERH-IP
                       Designated Extension States:                                        Matias Erny Reich! Hoffmann
                       BA ME RS                                                            Paul-Heyse-Strasse 29
                                                                                           80336 Munchen (DE)
                  (71) Applicant: EUROPEAN SPACE AGENCY
                       75738 Paris Cedex 15 (FR)                                       Remarks:
                                                                                           Amended claims in accordance with Rule 137(2)
                                                                                           EPC.


                  (54)     Imaging optics and optical device for mapping a curved image field

                  (57)      The present invention relates to optical devices
                  for imaging and spectroscopic applications where optical
                                                                                               Fig. 1
                  field curvature is a predominant characteristic. In partic-
                  ular, the invention relates to imaging optics and an optical                                                 110
                                                                                                                                                 20
                  device for mapping a curved image field. The optical de-
                  vice for mapping a curved image field comprises a focal
                  plane array 20 having a plurality of light processing ele-
                  ments 21 and a focal plane adapter 110 mounted in front
                  of the focal plane array 20 configured to transmit the
                  curved image field to the light processing elements 21 of
                  the focal plane array 20. The focal plane adapter 110
                  comprises a plurality of waveguides 111 wherein first
                  ends of the waveguides 111 facing the incident curved
                  image field are arranged on a curved surface 12, the
                  curved surface 12 being adapted to a profile of an optical
                  field curvature of the curved image field so that the plu-
                  rality of waveguides 111 divide the curved image field
                  along a curved focal plane of the image field into a plu-
                  rality of image segments. The second ends of the
                  waveguides 111 are allocated to the light processing el-
                  ements 21 to map the plurality of image segments onto
                  the allocated light processing elements 21.

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     Description

     [0001] The present invention relates to optical components for imaging and spectroscopic applications where optical
     field curvature is a predominant characteristic. In particular, the invention relates to imaging optics and an optical device
5    for mapping a curved image field.
     [0002] A particular, but non-exhaustive, application of the invention lies in space missions where optical field curvature
     is a predominant characteristic. Optical instruments such as telescopes, spectral imaging devices or dispersive spec-
     trometers as often used for space missions have a non planar image field and thus, curved focal plane. Thus, an object
     is imaged or projected on a curved surface in the image space rather than on a plane due to the optical field curvature.
10   This means that on certain areas in the image plane the local focal length differs from the nominal focal length, the
     nominal focal length usually being the paraxial focal length. If a curved image field is mapped directly onto a planar focal
     plane array, the effect of the optical field curvature causes a degradation of the image resolution and image quality of
     an imaging system or a degradation of the spectral resolution of a dispersive spectrometer.
     [0003] A proposed solution in the prior art is to correct for the effect of such a local defocus using compensating optical
15   elements, e.g. a combination of lenses, to "flatten" the curved image field before it is being mapped onto a planar focal
     plane array (FPA). In general, such optical field correctors consist of corrective lens assemblies that can typically effect
     a correction of the image plane only in a limited region over the field of view. Moreover, the need for additional field
     correctors complicates the optical system design and results in higher cost. For example, US 2005/0052751 discloses
     a microlens array on a curved surface to change the beam curvature to adjust a flat FPA to a curved incoming field. This
20   proposed solution suffers from high weight and volume and is difficult and costly to design and manufacture since the
     focal length of the microlenses is varying over the array. The proposed microlens array also reduces the throughput
     since a significant part of the light incident on the curved array is not transmitted via the micro-lenses to the FPA.
     [0004] Instead of using corrective lenses in combination with a planar FPA, another approach proposed in the prior
     art is to fabricate curved FPAs, e.g., by mounting the detectors individually on a curved substrate (mosaicing), as proposed
25   in EP 1122791 B1, which results in a large focal plane array since an individually produced detector including its package
     is much larger than a detector pixel in a detector array. Another approach is to fabricate detector arrays on a curved
     surface or to fabricate detector arrays onto a very thin and flexible surface, cf. e.g. Rim et al. (The optical advantages
     of curved focal plane arrays), Vol. 16, No. 7, Optics Express 4965, 31 March 2008 and Swain et al. (Curved CCD's and
     Their Applications with Astronomical Telescopes and Stereo Panoramic Cameras), Proc. Of SPIE-IS&T Electronic Im-
30   aging, SPIE Vol. 5301, 2004. However, there are no practical, low-cost techniques to realize such curved FPAs. Fur-
     thermore, such mo-saiced focal planes are mainly applicable to very large telescopes and are either very expensive
     and/or have lower performancesthan solutions based on mass produced conventional detectortechnologywhich requires
     a planar design of the FPA.
     [0005] In view of the above problems of the prior art, it is therefore an object of the invention to provide a more compact,
35   simpler and lower-cost optical device to map a curved image field and to reduce the effects of the optical aberrations
     resulting from the optical field curvature.
     [0006] This object is accomplished by the subject-matter according to the optical device of claim 1. The dependent
     claims refer to preferred embodiments of the invention.
     [0007] An optical device for mapping a curved image field, thus an optical device for use in imaging optics for a non
40   planar image field is proposed. In particular, an optical device that guides a curved image field and reduces the effects
     of optical field curvature of the curved image field is proposed.
     [0008] According to an aspect of the invention, the optical device comprises a focal plane array (FPA) having a plurality
     of light processing elements and a focal plane adapter mounted in front of the FPA and configured to transmit the curved
     image field to the light processing elements of the FPA.
45   [0009] An FPA is an image sensing or image processing device consisting of an optical array function volume, i.e.,
     an array, typically rectangular, of light processing elements. An FPA is typically placed at or near a focal plane of the
     imaging optics. The term "FPA" can refer to a variety of imaging device types that are sensitive in the visible and/ or
     non-visible spectrum. FPAs can be used for imaging purposes (e.g. taking pictures or video imagery), but can also be
     used for non-imaging purposes such as spectrometry, LIDAR, and wave-front sensing. The terms "image", "image field"
50   or "FPA" is to be understood in the context of this invention as to also include such "non-imaging" purposes and FPAs,
     e.g. curved image fields detected with spectrometers.
     [0010] According to an aspect of the invention, the FPA may contain a photo-detector array or a microlens array or a
     liquid crystal array, filters or bolometer array or other means with an optical array function volume. According to another
     aspect of the invention, the FPA may comprise a CCD or CMOS detector array. According to an aspect of the invention,
55   the FPA may be a planar focal plane array so that a mass-produced focal plane array can be used.
     [0011] According to a further aspect of the invention, the focal plane adapter comprises a plurality of waveguides,
     wherein first ends of the waveguides facing the incident curved image field are arranged on a curved surface, the curved
     surface being adapted to a contour or profile of an optical field curvature of the curved image field so that the plurality




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     of waveguides divide the curved image field along a curved focal plane of the image field into a plurality of image
     segments. In other words, the first ends of the waveguides, i.e., the front side of the hollow waveguide array at the side
     of the incident light, may be curved so that the focal plane adapter is configured to work as a focal plane sampling
     element that ''pixilates" the curved optical field along the curved focal plane before it reaches the focal plane array to
5    improve the image quality. Thus, the focal plane adapter may have a curved front surface. By way of example, this
     curvature may correspond to the curvature that would have otherwise been used for the curvature of a curved FPA, e.g.
     curved CCDs as known from the prior art. This front surface may be concave. The focal plane adapter with a curved
     front side serves as a focal plane pixilation element capable of guiding the incident light to a predetermined element or
     a plurality of predetermined elements of the planar focal plane array, thereby reducing the effects of field curvature. The
10   image segments can also be understood as the image "pixels" of the image field that are guided to or mapped onto the
     array elements of the FPA. Each waveguide has a first end at the side of the incident light, and a second end adjacent
     to the FPA.
     [0012] According to a further aspect of the invention, the second ends of the waveguides are allocated to the light
     processing elements of the FPA to map the plurality of image segments onto the allocated light processing elements.
15   In other words, the focal plane adapter array is aligned with respect to the FPA by aligning the grid structure of the focal
     plane adapter to the grid or array structure of the FPA so that one waveguide/grid element of the focal plane adapter
     may transmit light to one or several predetermined array elements of the FPA. Thus, each waveguide may guide the
     incident light to a predetermined area of the FPA. The focal plane adapter compensates differing curvatures of the image
     field and of the FPA by establishing a relationship with an image segment of the curved image plane and the one or
20   several corresponding array element(s) of the FPA to which this image segment is mapped by means of the focal plane
     adapter, thereby reducing the effect of field curvature on the local defocus or image resolution.
     [0013] According to a further aspect of the invention, the curved front surface may be an elliptical paraboloid, or
     preferably the curved front surface may be a circular paraboloid to adapt the shape of the focal plane adapter front
     surface to the contour of the optical field curvature of the incident image field.
25   [0014] According to a further aspect of the invention, the fill factor of the focal plane adapter may be substantially the
     same as the fill factor of the focal plane array.
     [0015] According to a further aspect of the invention, the image segments of the curved image plane may be mapped
     onto the allocated light processing elements using specular reflection or total internal reflection, only. The focal plane
     adapter may be an optical waveguide array working on the principle of total internal reflection that doesn't require any
30   optical power, and hence doesn't need optical functionalities of lenses for instance to map a curved image field with a
     different curvature or by focusing onto a planar FPA or to an FPA. Thus, the focal plane adapter may guide the incident
     light by means of reflection only, e.g. using waveguides. The focal plane adapter is thus capable of correcting for the
     effect of the local defocus of the non-planar imaging field without additional functionality than guiding light through
     waveguides with constant cross section. The focal plane adapter avoids the need of optical functions with optical power
35   (lenses for instance) in front of the FPA.
     [0016] According to a further aspect of the invention, the focal plane adapter may be a hollow waveguide array which
     is a compact, simple, light-weight and low-cost optical component to reduce the effects of the optical aberrations resulting
     from the optical field curvature of a non-planar image field. As an example, the plurality of waveguides may have a depth
     in the range of hundreds of micrometers and comprising walls with a light reflective coating and a thickness of a few
40   micrometers.
     [0017] A hollow wave guide array in the context of this invention may also include a waveguide grid, i.e., a grid of
     reflectors with a curved front surface that pixilates the incident light so that the light entering a grid element of the reflector
     grid is transmitted to one or several corresponding "pixels" or light processing elements of the focal plane array. In other
     words, the focal plane adapter or the hollow waveguide array may take the form of a curved waveguide sheet or a wafer
45   (e.g. a silicon wafer) with a grid structure that matches, matches partially or not at all, a grid structure of the adjacent
     grid structure of the FPA. According to a further aspect of the invention, the waveguide array may take the form of a
     curved plate and may be thought of as conduits that transmit electromagnetic energy from a first end of the waveguide
     to a second end of the waveguide.
     [0018] According to a further aspect of the invention, the waveguide array may be a bundle of substantially parallel
50   electromagnetic waveguides which are held together into a single assembly. Each waveguide may be fused, bonded
     or otherwise held rigidly to adjacent waveguides.
     [0019] According to a further aspect of the invention the focal plane adapter may be a waveguide array wherein the
     waveguides are not hollow and wherein the distance between adjacent waveguides may be at least two wavelengths
     and wherein a front and/ or back side of the waveguides may comprise an anti-reflective coating and the side walls of
55   the waveguides may comprise a reflective coating.
     [0020] According to another aspect of the invention, the focal plane adapter with a curved front surface wherein the
     optical waveguides may be embedded in a transparent material (or in air or a vacuum) with index of refraction lower
     than index of refraction of the waveguide, wherein the length of the optical waveguides may vary from the inner to the




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     outer portions due to the curved front surface. The waveguides may be formed in straight lines or may be curved. The
     curvature of the waveguides may vary depending on the curvature of the curved front surface or on design needs of the
     focal plane adapter.
     [0021] According to a further aspect of the invention, the hollowwaveguides may have a square cross-section. However,
5    the hollow waveguides may also have a non-square cross-section, such as for example, rectangular or hexagonal cross-
     sections and may also have varying geometries and dimensions throughout the array. Preferably, the waveguides have
     the same cross-section as the focal plane array elements.
     [0022] Preferably, the second end of the hollow waveguide array, i.e., the end portions of the waveguides that are
     adjacent to the focal plane array, is planar. A planar shape of the second end is particular advantageous if a planar FPA
10   is used. Other shapes of the second end are also possible.
     [0023] According to a further aspect of the invention, the image processing elements of the focal plane array and the
     plurality of waveguides of the hollow waveguide array may be arranged in a two-dimensional array. According to a further
     aspect of the invention, these elements may also be arranged in a one-dimensional array. A one-dimensional array may
     be preferably used if the optical system/instrument including the invention is a spectrometer based on a dispersive
15   element such as a grating for instance.
     [0024] According to a further aspect of the invention, an isolation layer or a gap may be arranged between the hollow
     waveguide array and the focal plane array to protect the often very fragile hollow waveguide array from being damaged
     during mounting as well as to protect the sensitive FPA, e.g. detector array, from being damaged during mounting or
     from functional degradation during operation. The gap or isolation layer may also be required by the fact that neither the
20   FPA nor the focal plane adaptor interface surface would have a perfectly matched or flat surface. The hollow waveguide
     array may also be electrically connected in order to control its voltage.
     [0025] According to a further aspect, the hollow waveguide array may comprise a highly light-reflective coating to
     minimize the losses when guiding the light to the focal plane array. By way of example, the plurality of waveguides may
     have a depth of hundreds of micrometers and comprise walls with a thickness of only a few micrometers. The dimensions
25   of the waveguide array are preferably chosen depending on the dimensions and array structure of the FPA.
     [0026] The present invention is particularly suitable for use in an imaging optics or front optics of imaging devices
     adapted to a broad field of view, e.g. on-vehicle cameras for detecting obstacles or space telescopes. According to a
     further aspect of the invention, the optical device of the invention may also be used with a camera objective or, preferably,
     a wide-field camera objective.
30   [0027] From the above, it can be understood that the invention solves a very critical optical imaging performance
     problem of optical instruments based on detector arrays or other FPAs used to process light of a non planar image field.
     The present invention makes it possible to provide optical instruments such as cameras, telescopes, spectrometers of
     higher image performance but without any corresponding excessive increase in effort by reducing the complexity, volume
     and weight of the imaging optics. Combining an FPA that is preferably planar with a focal plane adapter of the invention
35   reduces image degradation resulting from the effects of the optical field curvature and avoids the need for complicated
     optical elements to change the beam curvature in front of the FPA as well as the need for a curvature of the FPA itself,
     thereby enabling a simple, cost effective optical device with a high fill factor that effectively avoids the effects of the
     optical distortions when guiding light with a non-planar image field to the FPA.
     [0028] It is a particular advantage of the invention that the focal plane adapter spatially samples the optical field at its
40   best local focus, i.e. along the curved image plane and without cross-sensitivity, to reduce the typical effect of the non-
     planar optical field which is a wider image point, or which is a local defocus that may degrade the image resolution on
     the FPA. It is a further advantage that the invention further increases design options for imaging optics by providing the
     optical design engineer with a new degree of freedom or a variable design parameter. The invention thereby increases
     the performance of optical systems as well as helping to find easier the optimal solution since corrective lenses and
45   mirrors as required in optical systems known from the prior art can be removed and replaced by a focal plane adapter,
     such as a thin waveguide grid, in front of the focal plane array, thereby saving mass and volume.
     [0029] It should be clear that the invention is not restricted to space applications. The invention finds applications in
     numerous other fields. Optical devices according to this invention may also be used to increase the imaging performance
     of optical instruments, in particular of wide field cameras, as used for portable devices such as mobile phones, mobile
50   platforms such as vehicles and air-crafts, in surveillance, robotic vision or industrial monitoring applications. The present
     invention allows to greatly simplifying the optical design by means of the focal plane adapter as described above.
     Spectrometers based on optical gratings also can benefit from this invention the spectral resolutions of which can be
     increased, e.g., without increasing their size, or adding a mirror or a lens.
     [0030] The invention is explained below in an exemplary mannerwith reference to the accompanying drawings, wherein
55

     Fig. 1                  illustrates a schematic perspective view of the optical device according to an embodiment of the
                             invention;




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     Fig. 2A and Fig. 2B     illustrate the technical effect of a hollow waveguide array mounted in front of a planar focal plane
                             array;

     Fig. 3                  illustrates a schematic sectional front view of an optical device according to an embodiment of
5                            the present invention;

     Fig. 4A and Fig. 4B     illustrate schematically an optical device comprising a one-dimensional hollow waveguide array
                             according to an embodiment of the present invention.

10   [0031] Fig. 1 shows schematically an optical device 1 according to an embodiment of the invention comprising a focal
     plane array 20 and a hollow waveguide array 110 mounted in front of the focal plane array 20. The focal plane array 20
     is planar and comprises a plurality of light processing elements 21 arranged in a two-dimensional pattern. The light
     processing elements are for example detector pixels, if the focal plane array is a photo detector array. The hollow
     waveguide array 110 comprises a plurality of waveguides 111, each waveguide 111 corresponding to a light processing
15   element 21 of the focal plane array 20 and transmitting incident light at afirst end of the waveguide 111 to the corresponding
     light processing element 21 of the focal plane array. The first end, i.e., the front side 12, of the hollow waveguide array
     110 is curved so that the first ends of the waveguides 111 lie on a curved focal surface. The curved focal surface 12 is
     adapted to a contour of an optical field curvature of the curved image field and is shaped as an elliptical paraboloid. The
     plurality of waveguides 111 divide or sample the curved image field along a curved focal plane of the image field into a
20   plurality of image segments or ''pixels" as determined by the grid structure of the hollow waveguide array.
     [0032] The second ends of the waveguides 111 are located on top of the light processing elements 21 to map the
     plurality of image segments onto the allocated light processing elements 21. The back side of the focal plane adapter
     13 is planar and adjacent to the FPA 20. The insides of the hollow waveguides 111 are reflective, i.e., represent a mirror
     in order to conduct incident light at the first end 12 to the second end 13 with minimized transmission losses.
25   [0033] The grid structures of the hollow wave guide array 110 and the grid structure of the focal plane array 20 are
     aligned, i.e., each waveguide 111 corresponds to a corresponding light processing element 21 of the focal plane array
     so that light exiting a waveguide and corresponding to a defined image segment of the curved image field hits a well-
     defined corresponding grid element 21 of the focal plane array 20. For example, the upper left waveguide 111A corre-
     sponds to the upper left light processing element 21A as shown in Fig. 1. In other words, all the light entering the
30   waveguide 111A at the first end is transmitted to the corresponding light processing element 21A.
     [0034] The hollow waveguide array 110 can be mounted directly onto the focal plane array or at a predetermined
     small distance or gap in front of the focal plane array 20. As an option, an isolation layer (not shown) separates the
     hollow waveguide array 110 and the focal plane array 20. Preferably, the distance between the focal plane array 20 and
     the hollow waveguide array 110 is chosen to be small enough so that all the light exiting from a waveguide 111 mostly
35   hits the corresponding light processing element 21 of the focal plane array 20 and puts limitations on hitting any other
     light processing element 21. In this way, the hollow waveguide array 110 works as a focal plane (image) "pixilator" or
     sampler without orwith very limited cross-sensitivity. The curved front surface of the hollow waveguide array 110 ensures
     that pixilation occurs in the (non-planar) focal plane of the optical device, e.g. the telescope. The hollow waveguide array
     110 can also be described as a reflector grid placed in front of the focal plane array 20. In orderto more clearly emphasize
40   the principle of the invention, holding means used to mount and secure the focal plane adapter 110 in front of the focal
     plane array 20 are not shown.
     [0035] By way of example, such a hollow waveguide array 110 can be manufactured with micromachining techniques,
     for example, using a deep reactive ion etching (DRI E) process on a silicon substrate which is then coated with a reflective
     coating to reduce the transmission losses of the waveguide since a waveguide array 110 according to the invention
45   uses internal reflection to transmit the incident electromagnetic energy from one end of the waveguide array to the other
     end of the waveguide array. The eventual roughness induced by the DRIE process can be reduced with a wet or/and
     dry process prior to the reflective coating. Depending on the needs and the particular usage scenarios, additional
     reinforcement structures and alignment structures for simplifying bonding or packaging can be added to the hollow
     waveguide array structure. The hollow waveguides 111 as shown in Fig. 1 have a square cross-section.
50   [0036] The effect of the hollow waveguide array is further explained schematically in Figs. 2A and 2B.
     [0037] Fig. 2A shows a schematic side view of a conventional flat photo detector array as a typical example of a planar
     FPA 20, e.g. an FPA of a telescope. Fig. 2B shows a side of view of the same photo detector array of Fig. 2A, however
     with an additional hollow waveguide array 110 mounted in front of the focal plane array 20. The FPA 20 comprises a
     number of light processing elements 21, e.g. the photo detector pixels. The focal planes of most telescopes are not flat.
55   Off-axis light usually focuses closer to the objective than does on-axis light. Thus, an object is imaged or projected on
     a curved surface in the image space rather than on a plane due to the optical field curvature. This optical field curvature
     is shown schematically using the dotted line 30 which illustrates the resulting curved image plane.
     [0038] Since imaging detectors (CCDs, film, etc.) are normally flat, a curved focal plane cannot coincide exactly with




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     the detector. In particular for large CCD chips and highly curved fields, it will be impossible to correctly image small,
     sharp stars across the entire field.
     [0039] Due to the curved focal plane 30 of the image field, image degradation occurs in that not all light rays 31 hit
     the corresponding detector element. As illustrated schematically by the dotted circle in Fig. 2A around the lowest light
5    processing element 21 of the focal plane array 20, the optical field of the lowest the light ray 31 enters not only the lowest
     light processing element 21, but also hits the adjacent light processing element 21 above due to the curved focal plane
     of the incident light. This distortion effect can be effectively prevented by placing the curved hollow waveguide array 110
     in front of the focal plane array 20 as depicted in Fig. 2B which ensures that the lowest light ray 31 only enters the lowest
     waveguide 111 of the waveguide array 110 and therefore is guided only to the lowest light processing element 21 of the
10   focal plane array 20.
     [0040] As illustrated in Fig. 2B, the outer end portions of the wave guides 111 at the side of the incident light lie on a
     curved surface. The reflector grid or hollow waveguide array has a curved front surface that matches the contour of the
     optical field curvature of the image plane which allows for compensating for the degradation induced by the curvature
     difference between the focal plane and the flat focal plane array. Thus, in order to preserve the information being
15   transmitted by the waveguides 111, the relative position of the first ends 12 of each waveguide 111 may be placed
     substantially in a curved focal plane corresponding to the curved focal plane 30 of the incident light so that he focal plane
     adapter spatially samples the optical field at its best local focus, i.e., at the curved image plane and without cross-
     sensitivity to reduce the effect of the non-planar wavefront which is a wider image point, or which is a local defocus that
     may degrade the image resolution on the FPA. The relative position of the second ends 13 of each waveguide 111 lie
20   in a second planar plane parallel to the plane of the focal plane array 20, wherein each second end portion of a waveguide
     lies directly adjacent to a corresponding array element 21 of the FPA 20.
     [0041] Fig. 3 illustrates a schematic sectional front view of an optical device according to another embodiment of the
     present invention. According to this embodiment, the focal plane adapter 310 depicted in Fig. 3 comprises optical
     waveguides with a refractive index higher than 1 or higher than the surrounding media. The surrounding material is
25   either air/vacuum or a transparent material with index of refraction lower than the refractive index of the waveguide.
     [0042] The focal plane adapter 310 that is shown in a sectional view in Fig. 3 has a two-dimensional-curved front
     surface of elliptical paraboloid shape. The back side that is adjacent to the focal plane array 20 is planar. In contrast to
     the embodiment depicted in Fig. 1, the waveguides 311 are not hollow but have a refractive index higher than the
     surrounding material causing total internal reflection and thus guiding light with minimal transmission losses to the focal
30   plane array 20. In particular, the optical waveguides 311 guide the light to dedicated sensor elements 21 of the focal
     plane array 20. Thus, the incident light exiting the optical waveguides 311 hits a predetermined area where the light is
     further processed. The length of the optical waveguides 311 is increasing from the inner to the outer portions of the front
     surface due to the concave curvature of the front surface. Whereas the waveguides in the center of the focal plane
     adapter 310 can be substantially straight, the waveguides 311 at the outer portions of the focal plane adapter 310 are
35   either curved or inclined. The refractive index of the material 315 is higher than that of the optical waveguides 311.
     [0043] Fig. 4A illustrates another embodiment of the present invention, wherein the focal plane array 20 and the
     plurality of waveguides 11 are arranged in a one-dimensional array. Fig. 4A further illustrates schematically the use of
     a spectrometer device. The incident light enters the spectrometer slit 450 and hits a curved optical grating 460 which
     splits and diffracts light into several beams travelling in different directions depending on the wavelength of the light.
40   This phenomenon is illustrated in Fig. 4A using three different wavelengths Al , X2, and as that are diffracted in different
     directions with a curved image field. The dotted line 430 is used to illustrate the diffracted curved image plane. An optical
     device comprising a hollow waveguide array 410 and a focal plane array 20, e.g. a photo detector array, is placed in the
     propagation direction of these diffracted beams of different wavelength. The optical device according to this embodiment,
     i.e., a one-dimensional array hollow waveguide array 410 is illustrated in more detail in Fig. 4B which shows the hollow
45   waveguides 411 arranged in a one-dimensional array with a curved front surface at the side of the incident light. The
     curvature of the front surface is adapted to the curvature of the curved image plane 430. The planar back side of the
     focal plane array is arranged on top of a focal plane array 20 in the form of a photo detector array.
     [0044] Features, components and specific details of the structure of the above-described embodiments may be ex-
     changed or combined to form further embodiments optimized for the respective application. As far as those modifications
50   are already apparent for an expert skilled in the art, this shall be disclosed implicitly by the above description without
     specifying explicitly every possible combination, for the sake of conciseness of the present description.



     Claims
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     1.   An optical device for mapping a curved image field, comprising

              - a focal plane array (20) having a plurality of light processing elements (21); and




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              - a focal plane adapter (110; 310; 410) mounted in front of the focal plane array (20) configured to transmit the
              curved image field to the light processing elements (21) of the focal plane array (20);

          characterized in that
5         the focal plane adapter (110; 310; 410) comprises a plurality of waveguides (111; 311; 411),
          wherein first ends of the waveguides (111; 311; 411) facing the incident curved image field are arranged on a curved
          surface (12), the curved surface (12) being adapted to a profile of an optical field curvature of the curved image field
          so that the plurality of waveguides (111; 311; 411) divide the curved image field along a curved focal plane of the
          image field into a plurality of image segments; and
10        wherein second ends of the waveguides (111; 311; 411) are allocated to light processing elements (21) to map the
          plurality of image segments onto the allocated light processing elements (21).

     2.   An optical device according to claim 1, wherein the curved focal surface (12) is an elliptical paraboloid.

15   3.   An optical device according to claim 1, wherein the image segments of the non-planar/curved image plane are
          mapped onto the allocated light processing elements (21) using specular reflection.

     4.   An optical device according to at least of one of the claims 1 -3, the focal plane adapter being a hollow waveguide
          array (110).
20

     5.   An optical device according to claim 1, the focal plane adapter being an optical waveguide array working on the
          principle of total internal reflection (310).

     6.   An optical device according to claims 1 and 5, the optical waveguides (311) being embedded in a substantially
25        transparent material or air/vacuum with a refractive index lower than the refractive index of the waveguides (311)
          of the focal plane adapter (310), the focal plane adapter (310) having a curved front surface, and wherein the length
          of the optical waveguides (311) is varying from the inner to the outer portions of the front surface.

     7.   An optical device according to any of claims 1, 2, 5 or 6 the focal plane adapter (310) being an optical waveguide
30        array working on the principle of total internal reflection, wherein the distance between adjacent waveguides (311)
          is at least two wavelengths and wherein a front or/and back side of the waveguides comprises an anti-reflective
          coating.

     8.   An optical device according to at least one of the preceding claims 1 to 3, the plurality of waveguides (111) having
35        a depth in the range of hundreds of micrometers and comprising walls (14) with a light reflective coating and a
          thickness of a few micrometers.

     9.   An optical device according to at least one of the preceding claims, the focal plane array (20) being a planar focal
          plane array.
40

     10. An optical device according to at least one of the preceding claims, the focal plane array (20) comprising a photo-
         detector array, or a microlens array, or a liquid crystal array.

     11. An optical device according to at least one of the preceding claims, further comprising an isolation layer or gap being
45       arranged between the focal plane adapter (110; 310; 410) and the focal plane array (20).

     12. An optical device according to at least one of the preceding claims, the image processing elements (21) of the focal
         plane array (20) and the plurality of waveguides (111; 311) of the focal plane adapter (110; 310) being arranged in
         a two-dimensional array.
50

     13. An optical device according to at least one of the preceding claims, the image processing elements (21) of the focal
         plane array (20) and the plurality of waveguides (411) of the focal plane adapter(410) being arranged in an one-
         dimensional array.

55   14. An imaging spectrometer comprising one or several devices according to claims 12 or 13.

     15. A spectrometer comprising one or several devices according to claims 12 or 13.




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     16. A wide field camera comprising one or several devices according to any of the preceding claims 1-13

     17. A telescope comprising one or several devices according to any of the preceding claims 1-13.

5
     Amended claims in accordance with Rule 137(2) EPC.

         1. An optical device for mapping a curved image field, comprising

10           - a focal plane array (20) having a plurality of light processing elements (21); and
             - a focal plane adapter (110; 310; 410) mounted in front of the focal plane array (20) configured to transmit the
             curved image field to the light processing elements (21) of the focal plane array (20); the focal plane adapter
             (110; 310; 410) comprises a plurality of waveguides (111; 311; 411),

15       wherein first ends of the waveguides (111; 311; 411) facing the incident curved image field are arranged on a curved
         surface (12), the curved surface (12) being adapted to a profile of an optical field curvature of the curved image field
         so that the plurality of waveguides (111; 311; 411) divide the curved image field along a curved focal plane of the
         image field into a plurality of image segments; and
         wherein second ends of the waveguides (111; 311; 411) are allocated to light processing elements (21) to map the
20       plurality of image segments onto the allocated light processing elements (21)
         characterized in that
         the focal plane adapter being a hollow waveguide array (110).

         2. An optical device according to claim 1, wherein the curved focal surface (12) is an elliptical paraboloid.
25

         3. An optical device according to claim 1, wherein the image segments of the non-planar/curved image plane are
         mapped onto the allocated light processing elements (21) using specular reflection.

         4. An optical device according to at least one of the preceding claims 1 to 3, the plurality of waveguides (111) having
30       a depth in the range of hundreds of micrometers and comprising walls (14) with a light reflective coating and a
         thickness of a few micrometers.

         5. An optical device according to at least one of the preceding claims, the focal plane array (20) being a planar focal
         plane array.
35

         6. An optical device according to at least one of the preceding claims, the focal plane array (20) comprising a photo-
         detector array, or a microlens array, or a liquid crystal array.

         7. An optical device according to at least one of the preceding claims, further comprising an isolation layer or gap
40       being arranged between the focal plane adapter (110; 310; 410) and the focal plane array (20).

         8. An optical device according to at least one of the preceding claims, the image processing elements (21) of the
         focal plane array (20) and the plurality of waveguides (111; 311) of the focal plane adapter (110; 310) being arranged
         in a two-dimensional array.
45

         9. An optical device according to at least one of the preceding claims, the image processing elements (21) of the
         focal plane array (20) and the plurality of waveguides (411) of the focal plane adapter(410) being arranged in an
         one-dimensional array.

50       10. An imaging spectrometer comprising one or several devices according to claims 8 or 9.

         11. A spectrometer comprising one or several devices according to claims 8 or 9.

         12. A wide field camera comprising one or several devices according to any of the preceding claims 1-9.
55

         13. A telescope comprising one or several devices according to any of the preceding claims 1-9.




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      Fig. 1
                                          110


                                           13



                                      21A




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      Fig. 2A
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      Fig. 2B

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     Fig. 3




                   310


                ?        315                     311




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                                          21           20




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      Fig. 4A
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                                                            410




                                                   410
      Fig. 4B




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             Europe isches
             Pakentamt
             European
             Patent Office                                                                                                        Application Number
             Office europeen
                                                    EUROPEAN SEARCH REPORT
             des brevets                                                                                                   EP 10 17 0040


                 DOCUMENTS CONSIDERED TO BE RELEVANT
                        Citation of document with indication, where appropriate,                      Relevant        CLASSIFICATION OF THE
      Category
                                    of relevant paccageo                                              to claim        APPLICATION (IPC)


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                  [US]) 8 September 2009 (2009-09-08)                                              12,13
                  * column 6; figure 1 *




                                                                                                                       TECHNICAL FIELDS
                                                                                                                       SEARCHED     (IPC)

                                                                                                                     G026




                   The present search report has been drawn up for all claims
  1
                   Place of search                              Date of complet on of the search                       Examiner

                  Berlin                                         10 January 2011                             Andreassen, Jon
               CATEGORY OF CITED DOCUMENTS                                   T . theory or principle underlying the invention
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                            ANNEX TO THE EUROPEAN SEARCH REPORT
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                                                                                                                     10-01-2011

                Patent document                    Publication                      Patent family                   Publication
             cited in search report                  date                            member(s)                        date


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           Invention       Path

           As the below named inventor, I hereby declare that:

           This declaration                  The attached application, or
           is directed to:           VI

                                             United States application or PCT international application number

                                             filed on



           The above-identified application was made or authorized to be made by me.


           I believe that I am the original inventor or an original joint inventor of a claimed invention in the application.



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             LEGAL NAME OF INVENTOR


             Inventor:    Gaetan Pennecot                                                                                                 Jul 30, 2013
                                                                                                                Date (Optional) :
                               /Gaetan Pennecot!
             Signature:


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        Inventor:    Pierre-yves Droz                                                                      Date (Optional):
                                                                                                                                      Jul 30, 2013
                         /Pierre-Yves Droz/
        Signature:


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             LEGAL NAME OF INVENTOR


             Inventor:    Drew Eugene Ulrich                                                                    Date (Optional) :
                                                                                                                                         Jul 30, 2013

                                /Drew E. Ulrich/
             Signature:


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             Inventor:    Daniel Gruver                                                                         Date (Optional) :
                                                                                                                                          Jul 30, 2013
                               /Daniel Gruver/
             Signature:


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             LEGAL NAME OF INVENTOR


                           Zachary Morriss                                                                                               Jul 30, 2013
             Inventor:                                                                                            Date (Optional) :
                              /Zachary James Morriss/
             Signature:


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             DECLARATION (37 CFR 1.63) FOR UTILITY OR DESIGN APPLICATION USING AN
                             APPLICATION DATA SHEET (37 CFR 1.76)

      Title of        Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive
      Invention       Path

      As the below named inventor, I hereby declare that:

       This declaration                 The attached application, or
       is directed to:          VI

                                        United States application or PCT international application number

                                        filed on



      The above-identified application was made or authorized to be made by me.


      I believe that I am the original inventor or an original joint inventor of a claimed invention in the application.



      I hereby acknowledge that any willful false statement made in this declaration is punishable under 18 U.S.C, 1001
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        LEGAL NAME OF INVENTOR


                      Anthony Levandowski                                                                                           Jul 30, 2013
        Inventor:                                                                                            Date (Optional) :
                        /Anthony Scott Levandowskd
        Signature:


      Note: An application data sheet (PTO/AA/14 or equivalent), including naming the entire inventive entity, must accompany this form.
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            Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 135 of 212



                                   Electronic Patent Application Fee Transmittal

Application Number:


Filing Date:




                                                      Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/
Title of Invention:
                                                      Receive Path




First Named Inventor/Applicant Name:                  Gaetan Pennecot


Filer:                                                Richard A Machonkin


Attorney Docket Number:                               13-873


Filed as Large Entity


Track I Prioritized Examination - Nonprovisional Application under 35 USC 111(a) Filing Fees

                                                                                                                Sub-Total in
                             Description                       Fee Code       Quantity        Amount
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Basic Filing:


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                           Utility Search Fee                    1111             1              600                 600


                        Utility Examination Fee                  1311             1              720                 720


                Request for Prioritized Examination              1817             1              4000               4000



Pages:


Claims:


Miscellaneous-Filing:
            Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 136 of 212
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Petition:



Patent-Appeals-and-Interference:



Post-Allowance-and-Post-Issuance:



Extension-of-Time:



Miscellaneous:


                                                               Total in USD ($)            6030
           Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 137 of 212
                            Electronic Acknowledgement Receipt

                          EFS ID:                               16639720


                  Application Number:                           13971606


         International Application Number:


                  Confirmation Number:                          4985




                                                                Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/
                    Title of Invention:
                                                                Receive Path




       First Named Inventor/Applicant Name:                     Gaetan Pennecot


                   Customer Number:                             98929


                           Filer:                               Richard A Machonkin


                   Filer Authorized By:


               Attorney Docket Number:                          13-873


                      Receipt Date:                             20-AUG-2013


                       Filing Date:


                      Time Stamp:                               18:15:10


                    Application Type:                           Utility under 35 USC 111(a)


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Submitted with Payment                                          yes

Payment Type                                                  Deposit Account

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File Listing:
 Document                                                                                           File Size(Bytes)/                   Multi          Pages
                        Document Description                            File Name
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                                                                                                             152679
       1                     TrackOne Request                 13-873_TrackOne_Request.pdf                                                 no             2
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       2                     Power of Attorney                       13-873_POA.pdf                                                       no             2
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                                                    Claims                                                       39                             43



                                                   Abstract                                                      44                             44


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                                                                                       645546284d15d46e078189084710157d2c1
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     8                   Foreign Reference                  EP2410358A1.pdf                                                       no   15
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     10                Fee Worksheet (5E306)                   fee-info.pdf                                                       no   2
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                          EFS ID:                               16639720


                  Application Number:                           13971606


         International Application Number:


                  Confirmation Number:                          4985




                                                                Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/
                    Title of Invention:
                                                                Receive Path




       First Named Inventor/Applicant Name:                     Gaetan Pennecot


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                            Form (5E308)
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     8                   Foreign Reference                  EP2410358A1.pdf                                                       no   15
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     9                Oath or Declaration filed          13-873_Declaration.pdf                                                   no   6
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     10                Fee Worksheet (5E306)                   fee-info.pdf                                                       no   2
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                Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17
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                                                                     Attorney Docket Number                   13-873
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention          Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path

 The application data sheet is part of the provisional or nonprovisional application for which it is being submitted. The following form contains the
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           Gaetan                                                                                            Pennecot
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Mailing Address of Inventor:

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 Address 2                             1600 Amphitheatre Parkway
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 Inventor 2
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Mailing Address of Inventor:

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                                                                     Application Number

 Title of Invention          Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path


 City     San Francisco                                   State/Province             CA          Country of Residence i                US


Mailing Address of Inventor:

 Address 1                             Google Inc.
 Address 2                             1600 Amphitheatre Parkway
 City               Mountain View                                                           State/Province                  CA
 Postal Code                            94043                                       Country i               US
                                                                                                                                  Remove
Inventor 4
Legal Name

 Prefix Given Name                                              Middle Name                                   Family Name                                        Suffix
          Daniel                                                                                              Gruver
 Residence Information (Select One) C) US Residency                                   0 Non US Residency                 0 Active US Military Service
 City     San Francisco                                   State/Province             CA          Country of Residence i                US


Mailing Address of Inventor:

 Address 1                             Google Inc.
 Address 2                             1600 Amphitheatre Parkway
 City               Mountain View                                                           State/Province                  CA
 Postal Code                            94043                                       Country i               US
                                                                                                                                  Remove
Inventor 5
Legal Name

 Prefix Given Name                                              Middle Name                                   Family Name                                        Suffix
          Zachary                                                                                             Morriss
 Residence Information (Select One) C) US Residency                                   0 Non US Residency                 0 Active US Military Service
 City     San Francisco                                   State/Province             CA          Country of Residence i                US


Mailing Address of Inventor:

 Address 1                             Google Inc.
 Address 2                             1600 Amphitheatre Parkway
 City               Mountain View                                                           State/Province                  CA
 Postal Code                            94043                                       Country i               US
                                                                                                                                  Remove
Inventor 6
Legal Name

 Prefix Given Name                                              Middle Name                                   Family Name                                        Suffix
          Anthony                                                                                             Levandowski
 Residence Information (Select One) ® US Residency                                    0 Non US Residency                 0 Active US Military Service
 City     Berkeley                                        State/Province             CA          Country of Residence i                US
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                                                                     Attorney Docket Number                   13-873
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention          Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path




Mailing Address of Inventor:

 Address 1                             Google Inc.
 Address 2                             1600 Amphitheatre Parkway
 City               Mountain View                                                           State/Province                  CA
 Postal Code                            94043                                       Country i               US
 All Inventors Must Be Listed - Additional Inventor Information blocks may be
                                                                                                                                            Add
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Correspondence Information:
 Enter either Customer Number or complete the Correspondence Information section below.
 For further information see 37 CFR 1.33(a).

 ❑      An Address is being provided for the correspondence Information of this application.

 Customer Number                        98929

 Email Address                          docketing@mbhb.com                                                                    Add Email              Remove Email



Application Information:
 Title of the Invention                  Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path

 Attorney Docket Number 13-873                                                               Small Entity Status Claimed                   ❑
 Application Type                        Nonprovisional

 Subject Matter                          Utility

 Total Number of Drawing Sheets (if any)                            11                        Suggested Figure for Publication (if any)

 Publication Information:
 ❑      Request Early Publication (Fee required at time of Request 37 CFR 1.219)

        Request Not to Publish.                             I hereby request that the attached application not be published under
▪       35 U.S.C. 122(b) and certify that the invention disclosed in the attached application has not and will not be the
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Representative Information:
 Representative information should be provided for all practitioners having a power of attorney in the application. Providing
 this information in the Application Data Sheet does not constitute a power of attorney in the application (see 37 CFR 1.32).
 Either enter Customer Number or complete the Representative Name section below. If both sections are completed the customer
 Number will be used for the Representative Information during processing.




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                                                                     Attorney Docket Number                   13-873
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention          Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path




Domestic Benefit/National Stage Information:
 This section allows for the applicant to either claim benefit under 35 U.S.C. 119(e), 120, 121, or 365(c) or indicate
 National Stage entry from a PCT application. Providing this information in the application data sheet constitutes the
 specific reference required by 35 U.S.C. 119(e) or 120, and 37 CFR 1.78.
    Prior Application Status                                                                                                              Remove

     Application Number                            Continuity Type                      Prior Application Number                 Filing Date (YYYY-MM-DD)


 Additional Domestic Benefit/National Stage Data may be generated within this form
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Foreign Priority Information:
This section allows for the applicant to claim priority to a foreign application. Providing this information in the application data sheet
constitutes the claim for priority as required by 35 U.S.C. 119(b) and 37 CFR 1.55(d). When priority is claimed to a foreign application
that is eligible for retrieval under the priority document exchange program (PDX) 'the information will be used by the Office to
automatically attempt retrieval pursuant to 37 CFR 1.55(h)(1) and (2). Under the PDX program, applicant bears the ultimate
responsibility for ensuring that a copy of the foreign application is received by the Office from the participating foreign intellectual
property office, or a certified copy of the foreign priority application is filed, within the time period specified in 37 CFR 1.55(g)(1).

                                                                                                                                          Remove

     Application Number                               Country I                  Filing Date (YYYY-MM-DD)                         Access Codei (if applicable)


 Additional Foreign Priority Data may be generated within this form by selecting the
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Statement under 37 CFR 1.55 or 1.78 for AIA (First Inventor to File) Transition
Applications

     This application (1) claims priority to or the benefit of an application filed before March 16, 2013 and (2) also
❑    contains, or contained at any time, a claim to a claimed invention that has an effective filing date on or after March
     16, 2013.




Authorization to Permit Access:
D     Authorization to Permit Access to the Instant Application by the Participating Offices



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 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention          Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path


If checked, the unders gned hereby grants the USPTO authority to provide the European Patent Office (EPO),
the Japan Patent Office (JPO), the Korean Intellectual Property Office (KIPO), the World Intellectual Property Office (WIPO),
and any other intellectual property offices in which a foreign application claiming priority to the instant patent application
is filed access to the instant patent application. See 37 CFR 1.14(c) and (h). This box should not be checked if the applicant
does not wish the EPO, JPO, KIPO, WIPO, or other intellectual property office in which a foreign application claiming priority
to the instant patent application is filed to have access to the instant patent application.

In accordance with 37 CFR 1.14(h)(3), access will be provided to a copy of the instant patent application with respect
to: 1) the instant patent application-as-filed; 2) any foreign application to which the instant patent application
claims priority under 35 U.S.C. 119(a)-(d) if a copy of the foreign application that satisfies the certified copy requirement of
37 CFR 1.55 has been filed in the instant patent application; and 3) any U.S. application-as-filed from which benefit is
sought in the instant patent application.

In accordance with 37 CFR 1.14(c), access may be provided to information concerning the date of filing this Authorization.




Applicant Information:

 Providing assignment information in this section does not substitute for compliance with any requirement of part 3 of Title 37 of CFR
 to have an assignment recorded by the Office.

 Applicant        1                                                                                                                        Remove

If the applicant is the inventor (or the remaining joint inventor or inventors under 37 CFR 1.45), this section should not be completed.
The information to be provided in this section is the name and address of the legal representative who is the applicant under 37 CFR
1.43; or the name and address of the assignee, person to whom the inventor is under an obligation to assign the invention, or person
who otherwise shows sufficient proprietary interest in the matter who is the applicant under 37 CFR 1.46. If the applicant is an
applicant under 37 CFR 1.46 (assignee, person to whom the inventor is obligated to assign, or person who otherwise shows sufficient
proprietary interest) together with one or more joint inventors, then the joint inventor or inventors who are also the applicant should be
identified in this section.
                                                                                                                                              Clear


® Assignee                                         0 Legal Representative under 35 U.S.C. 117                               0       Joint Inventor

0 Person to whom the inventor is obligated to assign.                                    0        Person who shows sufficient proprietary interest

If applicant is the legal representative, indicate the authority to file the patent application, the inventor is:




Name of the Deceased or Legally Incapacitated Inventor :

 If the Applicant is an Organization check here.                          X
 Organization Name
                                   Google Inc.

 Mailing Address Information:
 Address 1                               1600 Amphitheatre Parkway

 Address 2

 City                                   Mountain View                                     State/Province                 CA

 Country i        US                                                                     Postal Code                     94043

 Phone Number                                                                            Fax Number


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                                                                     Attorney Docket Number                   13-873
 Application Data Sheet 37 CFR 1.76
                                                                     Application Number

 Title of Invention          Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path


 Email Address

Additional Applicant Data may be generated within this form by selecting the Add button.                                                     Add




Non-Applicant Assignee Information:

Providing assignment information in this section does not subsitute for compliance with any requirement of part 3 of Title 37 of CFR to
have an assignment recorded by the Office.


  Assignee         1

Complete this section only if non-applicant assignee information is desired to be included on the patent application publication in
accordance with 37 CFR 1.215(b). Do not include in this section an applicant under 37 CFR 1.46 (assignee, person to whom the
inventor is obligated to assign, or person who otherwise shows sufficient proprietary interest), as the patent application publication will
include the name of the applicant(s).
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 If the Assignee is an Organization check here.                            ❑

 Prefix                             Given Name                         Middle Name                        Family Name                       Suffix



 Mailing Address Information:

 Address 1

 Address 2

 City                                                                                     State/Province
 Country i                                                                                Postal Code

 Phone Number                                                                             Fax Number

 Email Address
Additional Assignee Data may be generated within this form by selecting the Add button.
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Signature:                                                                                                                                  Remove

 NOTE: This form must be signed in accordance with 37 CFR 1.33. See 37 CFR 1.4 for signature requirements and
 certifications

 Signature         /Richard A. Machonkin/                                                                     Date (YYYY-MM-DD)                 2013-08-20

 First Name          Richard A.                   Last Name            Machonkin                              Registration Number               41962

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                                                                     Attorney Docket Number                   13-873
Application Data Sheet 37 CFR 1.76
                                                                     Application Number

Title of Invention           Devices and Methods for a Rotating LIDAR Platform with a Shared Transmit/Receive Path




This collection of information is required by 37 CFR 1.76. The information is required to obtain or retain a benefit by the public which
is to file (and by the USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.14. This
collection is estimated to take 23 minutes to complete, including gathering, preparing, and submitting the completed application data
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Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR
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                                                          Privacy Act Statement




 The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection with your submission of the attached form related to
 a patent application or patent. Accordingly, pursuant to the requirements of the Act, please be advised that: (1) the general authority for the collection
 of this information is 35 U.S.C. 2(b)(2); (2) furnishing of the information solicited is voluntary; and (3) the principal purpose for which the information is
 used by the U.S. Patent and Trademark Office is to process and/or examine your submission related to a patent application or patent. If you do not
 furnish the requested information, the U.S. Patent and Trademark Office may not be able to process and/or examine your submission, which may
 result in termination of proceedings or abandonment of the application or expiration of the patent.

 The information provided by you in this form will be subject to the following routine uses:

      1         The information on this form will be treated confidentially to the extent allowed under the Freedom of Information Act (5 U.S.C. 552)
           and the Privacy Act (5 U.S.C. 552a). Records from this system of records may be disclosed to the Department of Justice to determine
           whether the Freedom of Information Act requires disclosure of these records.

      2.       A record from this system of records may be disclosed, as a routine use, in the course of presenting evidence to a court, magistrate, or
           administrative tribunal, including disclosures to opposing counsel in the course of settlement negotiations.

      3.         A record in this system of records may be disclosed, as a routine use, to a Member of Congress submitting a request involving an
           individual, to whom the record pertains, when the individual has requested assistance from the Member with respect to the subject matter of
           the record.

      4.        A record in this system of records may be disclosed, as a routine use, to a contractor of the Agency having need for the information in
           order to perform a contract. Recipients of information shall be required to comply with the requirements of the Privacy Act of 1974, as
           amended, pursuant to 5 U.S.C. 552a(m).

      5.        A record related to an International Application filed under the Patent Cooperation Treaty in this system of records may be disclosed,
           as a routine use, to the International Bureau of the World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.

      6.        A record in this system of records may be disclosed, as a routine use, to another federal agency for purposes of National Security
           review (35 U.S.C. 181) and for review pursuant to the Atomic Energy Act (42 U.S.C. 218(c)).

      7.        A record from this system of records may be disclosed, as a routine use, to the Administrator, General Services, or his/her designee,
           during an inspection of records conducted by GSA as part of that agency's responsibility to recommend improvements in records
           management practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall be made in accordance with the
           GSA regulations governing inspection of records for this purpose, and any other relevant (i.e., GSA or Commerce) directive. Such
           disclosure shall not be used to make determinations about individuals.

      8.        A record from this system of records may be disclosed, as a routine use, to the public after either publication of the application pursuant
           to 35 U.S.C. 122(b) or issuance of a patent pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
           CFR 1.14, as a routine use, to the public if the record was filed in an application which became abandoned or in which the proceedings were
           terminated and which application is referenced by either a published application, an application open to public inspections or an issued
           patent.

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                                                                                                                                               PTO/SB/35 (07-09)
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                                                                             First Named Inventor              Gaetan Pennecot
    NONPUBLICATION REQUEST
              UNDER                                                          Title          Devices and Methods for a Rotating LIDAR Platfc
      35 U.S.C. 122(b)(2)(B)(i)
                                                                             Attorney Docket Number                 13-873




I hereby certify that the invention disclosed in the attached application has not and will not be
the subject of an application filed in another country, or under a multilateral international
agreement, that requires publication at eighteen months after filing.


I hereby request that the attached application not be published under 35 U.S.C. 122(b).

  /Richard A. Machonkin/                                                                                         2013-08-20

                                              Signature                                                                             Date


   Richard A. Machonkin                                                                                          41,962

                                    Typed or printed name                                                      Registration Number, if applicable

    312-913-0001

                                       Telephone Number


This request must be signed in compliance with 37 CFR 1.33(b) and submitted with the
application upon filing.


Applicant may rescind this nonpublication request at any time. If applicant rescinds a request
that an application not be published under 35 U.S.C. 122(b), the application will be scheduled
for publication at eighteen months from the earliest claimed filing date for which a benefit is
claimed.


If applicant subsequently files an application directed to the invention disclosed in the attached
application in another country, or under a multilateral international agreement, that requires
publication of applications eighteen months after filing, the applicant must notify the United
States Patent and Trademark Office of such filing within forty-five (45) days after the date of
the filing of such foreign or international application. Failure to do so will result in
abandonment of this application (35 U.S.C. 122(b)(2)(B)(iii)).
This collection of information is required by 37 CFR 1.213(a). The information is required to obtain or retain a benefit by the public which is to file (and by the
USPTO to process) an application. Confidentiality is governed by 35 U.S.C. 122 and 37 CFR 1.11 and 1.14. This collection is estimated to take 6 minutes to
complete, including gathering, preparing, and submitting the completed application form to the USPTO. Time will vary depending upon the individual case. Any
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U.S. Patent and Trademark Office, U.S. Department of Commerce, P.O. Box 1450, Alexandria, VA 22313-1450. DO NOT SEND FEES OR COMPLETED
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                                        Privacy Act Statement

The Privacy Act of 1974 (P.L. 93-579) requires that you be given certain information in connection
with your submission of the attached form related to a patent application or patent. Accordingly,
pursuant to the requirements of the Act, please be advised that: (1) the general authority for the
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and (3) the principal purpose for which the information is used by the U.S. Patent and Trademark
Office is to process and/or examine your submission related to a patent application or patent. If you do
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process and/or examine your submission, which may result in termination of proceedings or
abandonment of the application or expiration of the patent.

The information provided by you in this form will be subject to the following routine uses:

    1. The information on this form will be treated confidentially to the extent allowed under the
       Freedom of Information Act (5 U.S.C. 552) and the Privacy Act (5 U.S.0 552a). Records from
       this system of records may be disclosed to the Department of Justice to determine whether
       disclosure of these records is required by the Freedom of Information Act.
    2. A record from this system of records may be disclosed, as a routine use, in the course of
       presenting evidence to a court, magistrate, or administrative tribunal, including disclosures to
       opposing counsel in the course of settlement negotiations.
    3. A record in this system of records may be disclosed, as a routine use, to a Member of
       Congress submitting a request involving an individual, to whom the record pertains, when the
       individual has requested assistance from the Member with respect to the subject matter of the
       record.
    4. A record in this system of records may be disclosed, as a routine use, to a contractor of the
       Agency having need for the information in order to perform a contract. Recipients of
       information shall be required to comply with the requirements of the Privacy Act of 1974, as
       amended, pursuant to 5 U.S.C. 552a(m).
    5. A record related to an International Application filed under the Patent Cooperation Treaty in
       this system of records may be disclosed, as a routine use, to the International Bureau of the
       World Intellectual Property Organization, pursuant to the Patent Cooperation Treaty.
    6. A record in this system of records may be disclosed, as a routine use, to another federal
       agency for purposes of National Security review (35 U.S.C. 181) and for review pursuant to
       the Atomic Energy Act (42 U.S.C. 218(c)).
    7. A record from this system of records may be disclosed, as a routine use, to the Administrator,
       General Services, or his/her designee, during an inspection of records conducted by GSA as
       part of that agency's responsibility to recommend improvements in records management
       practices and programs, under authority of 44 U.S.C. 2904 and 2906. Such disclosure shall
       be made in accordance with the GSA regulations governing inspection of records for this
       purpose, and any other relevant (i.e., GSA or Commerce) directive. Such disclosure shall not
       be used to make determinations about individuals.
    8. A record from this system of records may be disclosed, as a routine use, to the public after
       either publication of the application pursuant to 35 U.S.C. 122(b) or issuance of a patent
       pursuant to 35 U.S.C. 151. Further, a record may be disclosed, subject to the limitations of 37
       CFR 1.14, as a routine use, to the public if the record was filed in an application which
       became abandoned or in which the proceedings were terminated and which application is
       referenced by either a published application, an application open to public inspection or an
       issued patent.
    9. A record from this system of records may be disclosed, as a routine use, to a Federal, State,
       or local law enforcement agency, if the USPTO becomes aware of a violation or potential
       violation of law or regulation.
    Case 3:17-cv-00939-WHA Document 584-51 Filed 06/12/17 Page 155 of 212




                APPLICATION FOR UNITED STATES PATENT
             UNITED STATES PATENT AND TRADEMARK OFFICE

                               MBHB Case No. 13-873




Title:        Devices and Methods for a Rotating LIDAR Platform with a Shared
              Transmit/Receive Path


Inventors:    Gaetan Pennecot
              Pierre-yves Droz
              Drew Eugene Ulrich
              Daniel Gruver
              Zachary Morriss
              Anthony Levandowski




                                         1
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                                         BACKGROUND

[0001]           Unless otherwise indicated herein, the materials described in this section are not

prior art to the claims in this application and are not admitted to be prior art by inclusion in this

section.

[0002]           Vehicles can be configured to operate in an autonomous mode in which the

vehicle navigates through an environment with little or no input from a driver. Such autonomous

vehicles can include one or more sensors that are configured to detect information about the

environment in which the vehicle operates.

[0003]           One such sensor is a light detection and ranging (LIDAR) device. A LIDAR can

estimates distance to environmental features while scanning through a scene to assemble a "point

cloud" indicative of reflective surfaces in the environment. Individual points in the point cloud

can be determined by transmitting a laser pulse and detecting a returning pulse, if any, reflected

from an object in the environment, and determining the distance to the object according to the

time delay between the transmitted pulse and the reception of the reflected pulse. A laser, or set

of lasers, can be rapidly and repeatedly scanned across a scene to provide continuous real-time

information on distances to reflective objects in the scene. Combining the measured distances

and the orientation of the laser(s) while measuring each distance allows for associating a three-

dimensional position with each returning pulse. In this way, a three-dimensional map of points

indicative of locations of reflective features in the environment can be generated for the entire

scanning zone.




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                                            SUMMARY

[0004]         In one example, a light detection and ranging (LIDAR) device is provided that

includes a housing configured to rotate about an axis. The housing has an interior space that

includes a transmit block, a receive block, and a shared space. The transmit block has an exit

aperture and the receive block has an entrance aperture. The LIDAR device also includes a

plurality of light sources in the transmit block. The plurality of light sources is configured to

emit a plurality of light beams that enter the shared space through the exit aperture and traverse

the shared space via a transmit path. The light beams include light having wavelengths in a

wavelength range. The LIDAR device also includes a plurality of detectors in the receive block.

The plurality of detectors is configured to detect light having wavelengths in the wavelength

range. The LIDAR device also includes a lens mounted to the housing. The lens is configured

to (i) receive the light beams via the transmit path, (ii) collimate the light beams for transmission

into an environment of the LIDAR device, (iii) collect light that includes light from one or more

of the collimated light beams reflected by one or more objects in the environment of the LIDAR

device, and (iv) focus the collected light onto the detectors via a receive path that extends

through the shared space and the entrance aperture of the receive block.

[0005]         In another example, a method is provided that involves rotating a housing of a

light detection and ranging (LIDAR) device about an axis. The housing has an interior space that

includes a transmit block, a receive block, and a shared space. The transmit block has an exit

aperture and the receive block has an entrance aperture. The method further involves emitting a

plurality of light beams by a plurality of light sources in the transmit block. The plurality of light

beams enter the shared space via a transmit path. The light beams include light having

wavelengths in a wavelength range. The method further involves receiving the light beams at a
                                                  3
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lens mounted to the housing along the transmit path. The method further involves collimating,

by the lens, the light beams for transmission into an environment of the LIDAR device. The

method further involves collecting, by the lens, light from one or more of the collimated light

beams reflected by one or more objects in the environment of the LIDAR device. The method

further involves focusing, by the lens, the collected light onto a plurality of detectors in the

receive block via a receive path that extends through the shared space and the entrance aperture

of the receive block. The method further involves detecting, by the plurality of detectors in the

receive block, light from the focused light having wavelengths in the wavelength range.

[0006]         These as well as other aspects, advantages, and alternatives, will become apparent

to those of ordinary skill in the art by reading the following detailed description, with reference

where appropriate to the accompanying figures.




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                        BRIEF DESCRIPTION OF THE FIGURES

[0007]        Figure 1 is a block diagram of an example LIDAR device.

[0008]        Figure 2 is a cross-section view of an example LIDAR device.

[0009]        Figure 3A is a perspective view of an example LIDAR device fitted with various

components, in accordance with at least some embodiments described herein

[0010]        Figure 3B is a perspective view of the example LIDAR device shown in Figure

3A with the various components removed to illustrate interior space of the housing.

[0011]        Figure 4 illustrates an example transmit block, in accordance with at least some

embodiments described herein.

[0012]        Figure 5A is a view of an example light source, in accordance with an example

embodiment.

[0013]        Figure 5B is a view of the light source of Figure 5A in combination with a

cylindrical lens, in accordance with an example embodiment.

[0014]        Figure 5C is another view of the light source and cylindrical lens combination of

Figure 5B, in accordance with an example embodiment.

[0015]        Figure 6A illustrates an example receive block, in accordance with at least some

embodiments described herein.

[0016]        Figure 6B illustrates a side view of three detectors included in the receive block of

Figure 6A.

[0017]        Figure 7A illustrates an example lens with an aspheric surface and a toroidal

surface, in accordance with at least some embodiments described herein.
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[0018]        Figure 7B illustrates a cross-section view of the example lens 750 shown in

Figure 7A.

[0019]        Figure 8A illustrates an example LIDAR device mounted on a vehicle, in

accordance with at least some embodiments described herein.

[0020]        Figure 8B illustrates a scenario where the LIDAR device shown in Figure 8A is

scanning an environment that includes one or more objects, in accordance with at least some

embodiments described herein.

[0021]        Figure 9 is a flowchart of a method, in accordance with at least some

embodiments described herein.




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                                 DETAILED DESCRIPTION


[0022]         The following detailed description describes various features and functions of the

disclosed systems, devices and methods with reference to the accompanying figures. In the

figures, similar symbols identify similar components, unless context dictates otherwise. The

illustrative system, device and method embodiments described herein are not meant to be

limiting. It may be readily understood by those skilled in the art that certain aspects of the

disclosed systems, devices and methods can be arranged and combined in a wide variety of

different configurations, all of which are contemplated herein.

[0023]         A light detection and ranging (LIDAR) device may transmit light pulses

originating from a plurality of light sources and may receive reflected light pulses that are then

detected by a plurality of detectors. Within examples described herein, a LIDAR device is

provided that includes a transmit/receive lens that both collimates the light from the plurality of

light sources and focuses the reflected light onto the plurality of detectors. By using a

transmit/receive lens that performs both of these functions, instead of a transmit lens for

collimating and a receive lens for focusing, advantages with respect to size, cost, and/or

complexity can be provided.

[0024]         The LIDAR device comprises a housing that is configured to rotate about an axis.

In some examples, the axis is substantially vertical. The housing may have an interior space that

includes various components such as a transmit block that includes the plurality of light sources,

a receive block that includes the plurality of detectors, a shared space where emitted light

traverses from the transmit block to the transmit/receive lens and reflected light traverses from

the transmit/receive lens to the receive block, and the transmit/receive lens that collimates the

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emitted light and focuses the reflected light. By rotating the housing that includes the various

components, in some examples, a three-dimensional map of a 360-degree field of view of an

environment of the LIDAR device can be determined without frequent recalibration of the

arrangement of the various components.

[0025]         In some examples, the housing may include radio frequency (RF) and optical

shielding between the transmit block and the receive block. For example, the housing can be

formed from and/or coated by a metal, metallic ink, or metallic foam to provide the RF shielding.

Metals used for shielding can include, for example, copper or nickel.

[0026]         The plurality of light sources included in the transmit block can include, for

example, laser diodes. In one example, the light sources emit light with wavelengths of

approximately 905 nm. In some examples, a transmit path through which the transmit/receive

lens receives the light emitted by the light sources may include a reflective element, such as a

mirror or prism. By including the reflective element, the transmit path can be folded to provide a

smaller size of the transmit block and, hence, a smaller housing of the LIDAR device.

Additionally, the transmit path includes an exit aperture of the transmit block through which the

emitted light enters the shared space and traverses to the transmit/receive lens.

[0027]         In some examples, each light source of the plurality of light sources includes a

respective lens, such as a cylindrical or acylindrical lens. The light source may emit an

uncollimated light beam that diverges more in a first direction than in a second direction. In

these examples, the light source's respective lens may pre-collimate the uncollimated light beam

in the first direction to provide a partially collimated light beam, thereby reducing the divergence

in the first direction. In some examples, the partially collimated light beam diverges less in the


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first direction than in the second direction. The transmit/receive lens receives the partially

collimated light beams from the one or more light sources via an exit aperture of the transmit

block and the transmit/receive lens collimates the partially collimated light beams to provide

collimated light beams that are transmitted into the environment of the LIDAR device. In this

example, the light emitted by the light sources may have a greater divergence in the second

direction than in the first direction, and the exit aperture can accommodate vertical and

horizontal extents of the beams of light from the light sources.

[0028]         The housing mounts the transmit/receive lens through which light from the

plurality of light sources can exit the housing, and reflected light can enter the housing to reach

the receive block. The transmit/receive lens can have an optical power that is sufficient to

collimate the light emitted by the plurality of light sources and to focus the reflected light onto

the plurality of detectors in the receive block. In one example, the transmit/receive lens has a

surface with an aspheric shape that is at the outside of the housing, a surface with a toroidal

shape that is inside the housing, and a focal length of approximately 120 mm.

[0029]         The plurality of detectors included in the receive block can include, for example,

avalanche photodiodes in a sealed environment that is filled with an inert gas, such as nitrogen.

The receive block can include an entrance aperture through which focused light from the

transmit/receive lens traverses towards the detectors. In some examples, the entrance aperture

can include a filtering window that passes light having wavelengths within the wavelength range

emitted by the plurality of light sources and attenuates light having other wavelengths.

[0030]         The collimated light transmitted from the LIDAR device into the environment

may reflect from one or more objects in the environment to provide object-reflected light. The


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transmit/receive lens may collect the object-reflected light and focus the object-reflected light

through a focusing path ("receive path") onto the plurality of detectors. In some examples, the

receive path may include a reflective surface that directs the focused light to the plurality of

detectors. Additionally or alternatively, the reflective surface can fold the focused light towards

the receive block and thus provide space savings for the shared space and the housing of the

LIDAR device.

[0031]         In some examples, the reflective surface may define a wall that includes the exit

aperture between the transmit block and the shared space. In this case, the exit aperture of the

transmit block corresponds to a transparent and/or non-reflective portion of the reflective

surface. The transparent portion can be a hole or cut-away portion of the reflective surface.

Alternatively, the reflective surface can be formed by forming a layer of reflective material on a

transparent substrate (e.g., glass) and the transparent portion can be a portion of the substrate that

is not coated with the reflective material. Thus, the shared space can be used for both the

transmit path and the receive path. In some examples, the transmit path at least partially overlaps

the receive path in the shared space.

[0032]         The vertical and horizontal extents of the exit aperture are sufficient to

accommodate the beam widths of the emitted light beams from the light sources. However, the

non-reflective nature of the exit aperture prevents a portion of the collected and focused light in

the receive path from reflecting, at the reflective surface, towards the detectors in the receive

block. Thus, reducing the beam widths of the emitted light beams from the transmit blocks is

desirable to minimize the size of the exit aperture and reduce the lost portion of the collected

light. In some examples noted above, the reduction of the beam widths traversing through the

exit aperture can be achieved by partially collimating the emitted light beams by including a
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respective lens, such as a cylindrical or acylindrical lens, adjacent to each light source.

[0033]         Additionally or alternatively, to reduce the beam widths of the emitted light

beams, in some examples, the transmit/receive lens can be configured to define a focal surface

that has a substantial curvature in a vertical plane and/or a horizontal plane. For example, the

transmit/receive lens can be configured to have the aspheric surface and the toroidal surface

described above that provides the curved focal surface along the vertical plane and/or the

horizontal plane. In this configuration, the light sources in the transmit block can be arranged

along the transmit/receive lens' curved focal surface in the transmit block, and the detectors in

the receive block can be arranged on the transmit/receive lens' curved focal surface in the receive

block. Thus, the emitted light beams from the light sources arranged along the curved focal

surface can converge into the exit aperture having a smaller size than an aperture for light beams

that are substantially parallel and/or diverging.

[0034]         To facilitate such curved arrangement of the light sources, in some examples, the

light sources can be mounted on a curved edge of one or more vertically-oriented printed circuit

boards (PCBs), such that the curved edge of the PCB substantially matches the curvature of the

focal surface in the vertical plane of the PCB. In this example, the one or more PCBs can be

mounted in the transmit block along a horizontal curvature that substantially matches the

curvature of the focal surface in the horizontal plane of the one or more PCBs. For example, the

transmit block can include four PCBs, with each PCB mounting sixteen light sources, so as to

provide 64 light sources along the curved focal plane of the transmit/receive lens in the transmit

block. In this example, the 64 light sources are arranged in a pattern substantially corresponding

to the curved focal surface defined by the transmit/receive lens such that the emitted light beams

converge towards the exit aperture of the transmit block.
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[0035]           For the receive block, in some examples, the plurality of detectors can be

disposed on a flexible PCB that is mounted to the receive block to conform with the shape of the

transmit/receive lens' focal surface. For example, the flexible PCB may be held between two

clamping pieces that have surfaces corresponding to the shape of the focal surface. Additionally,

in this example, each of the plurality of detectors can be arranged on the flexible PCB so as to

receive focused light from the transmit/receive lens that corresponds to a respective light source

of the plurality of light sources. In this example, the detectors can be arranged in a pattern

substantially corresponding to the curved focal surface of the transmit/receive lens in the receive

block. Thus, in this example, the transmit/receive lens can be configured to focus onto each

detector of the plurality of detectors a respective portion of the collected light that comprises

light from the detector's corresponding light source.

[0036]           Some embodiments of the present disclosure therefore provide systems and

methods for a LIDAR device that uses a shared transmit/receive lens. In some examples, such

LIDAR device can include the shared lens configured to provide a curved focal plane for

transmitting light sources and receiving detectors such that light from the light sources passes

through a small exit aperture included in a reflective surface that reflects collected light towards

the detectors.

[0037]           Figure 1 is a block diagram of an example LIDAR device 100. The LIDAR

device 100 comprises a housing 110 that houses an arrangement of various components included

in the LIDAR device 100 such as a transmit block 120, a receive block 130, a shared space 140,

and a lens 150. The LIDAR device 100 includes the arrangement of the various components that

provide emitted light beams 102 from the transmit block 120 that are collimated by the lens 150

and transmitted to an environment of the LIDAR device 100 as collimated light beams 104, and
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collect reflected light 106 from one or more objects in the environment of the LIDAR device 100

by the lens 150 for focusing towards the receive block 130 as focused light 108. The reflected

light 106 comprises light from the collimated light beams 104 that was reflected by the one or

more objects in the environment of the LIDAR device 100. The emitted light beams 102 and the

focused light 108 traverse in the shared space 140 also included in the housing 110. In some

examples, the emitted light beams 102 are propagating in a transmit path through the shared

space 140 and the focused light 108 are propagating in a receive path through the shared space

140. In some examples, the transmit path at least partially overlaps the receive path in the shared

space 140. The LIDAR device 100 can determine an aspect of the one or more objects (e.g.,

location, shape, etc.) in the environment of the LIDAR device 100 by processing the focused

light 108 received by the receive block 130. For example, the LIDAR device 100 can compare a

time when pulses included in the emitted light beams 102 were emitted by the transmit block 120

with a time when corresponding pulses included in the focused light 108 were received by the

receive block 130 and determine the distance between the one or more objects and the LIDAR

device 100 based on the comparison.

[0038]         The housing 110 included in the LIDAR device 100 can provide a platform for

mounting the various components included in the LIDAR device 100. The housing 110 can be

formed from any material capable of supporting the various components of the LIDAR device

100 included in an interior space of the housing 110. For example, the housing 110 may be

formed from a structural material such as plastic or metal.

[0039]         In some examples, the housing 110 can be configured for optical shielding to

reduce ambient light and/or unintentional transmission of the emitted light beams 102 from the

transmit block 120 to the receive block 130. Optical shielding from ambient light of the
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environment of the LIDAR device 100 can be achieved by forming and/or coating the outer

surface of the housing 110 with a material that blocks the ambient light from the environment.

Additionally, inner surfaces of the housing 110 can include and/or be coated with the material

described above to optically isolate the transmit block 120 from the receive block 130 to prevent

the receive block 130 from receiving the emitted light beams 102 before the emitted light beams

102 reach the lens 150.

[0040]        In some examples, the housing 110 can be configured for electromagnetic

shielding to reduce electromagnetic noise (e.g., Radio Frequency (RF) Noise, etc.) from ambient

environment of the LIDAR device 110 and/or electromagnetic noise between the transmit block

120 and the receive block 130. Electromagnetic shielding can improve quality of the emitted

light beams 102 emitted by the transmit block 120 and reduce noise in signals received and/or

provided by the receive block 130. Electromagnetic shielding can be achieved by forming

and/or coating the housing 110 with a material that absorbs electromagnetic radiation such as a

metal, metallic ink, metallic foam, carbon foam, or any other material configured to absorb

electromagnetic radiation. Metals that can be used for the electromagnetic shielding can include

for example, copper or nickel.

[0041]        In some examples, the housing 110 can be configured to have a substantially

cylindrical shape and to rotate about an axis of the LIDAR device 100. For example, the housing

110 can have the substantially cylindrical shape with a diameter of approximately 10

centimeters. In some examples, the axis is substantially vertical. By rotating the housing 110

that includes the various components, in some examples, a three-dimensional map of a 360

degree view of the environment of the LIDAR device 100 can be determined without frequent

recalibration of the arrangement of the various components of the LIDAR device 100.
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Additionally or alternatively, the LIDAR device 100 can be configured to tilt the axis of rotation

of the housing 110 to control the field of view of the LIDAR device 100.

[0042]         Although not illustrated in Figure 1, the LIDAR device 100 can optionally include

a mounting structure for the housing 110. The mounting structure can include a motor or other

means for rotating the housing 110 about the axis of the LIDAR device 100. Alternatively, the

mounting structure can be included in a device and/or system other than the LIDAR device 100.

[0043]         In some examples, the various components of the LIDAR device 100 such as the

transmit block 120, receive block 130, and the lens 150 can be removably mounted to the

housing 110 in predetermined positions to reduce burden of calibrating the arrangement of each

component and/or subcomponents included in each component. Thus, the housing 110 provides

the platform for the various components of the LIDAR device 100 for ease of assembly,

maintenance, calibration, and manufacture of the LIDAR device 100.

[0044]         The transmit block 120 includes a plurality of light sources 122 that can be

configured to emit the plurality of emitted light beams 102 via an exit aperture 124. In some

examples, each of the plurality of emitted light beams 102 corresponds to one of the plurality of

light sources 122. The transmit block 120 can optionally include a mirror 126 along the transmit

path of the emitted light beams 102 between the light sources 122 and the exit aperture 124.

[0045]         The light sources 122 can include laser diodes, light emitting diodes (LED),

vertical cavity surface emitting lasers (VCSEL), organic light emitting diodes (OLED), polymer

light emitting diodes (PLED), light emitting polymers (LEP), liquid crystal displays (LCD),

microelectromechanical systems (MEMS), or any other device configured to selectively transmit,

reflect, and/or emit light to provide the plurality of emitted light beams 102. In some examples,

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the light sources 122 can be configured to emit the emitted light beams 102 in a wavelength

range that can be detected by detectors 132 included in the receive block 130. The wavelength

range could, for example, be in the ultraviolet, visible, and/or infrared portions of the

electromagnetic spectrum. In some examples, the wavelength range can be a narrow wavelength

range, such as provided by lasers. In one example, the wavelength range includes wavelengths

that are approximately 905nm. Additionally, the light sources 122 can be configured to emit the

emitted light beams 102 in the form of pulses. In some examples, the plurality of light sources

122 can be disposed on one or more substrates (e.g., printed circuit boards (PCB), flexible PCBs,

etc.) and arranged to emit the plurality of light beams 102 towards the exit aperture 124.

[0046]         In some examples, the plurality of light sources 122 can be configured to emit

uncollimated light beams included in the emitted light beams 102. For example, the emitted

light beams 102 can diverge in one or more directions along the transmit path due to the

uncollimated light beams emitted by the plurality of light sources 122. In some examples,

vertical and horizontal extents of the emitted light beams 102 at any position along the transmit

path can be based on an extent of the divergence of the uncollimated light beams emitted by the

plurality of light sources 122.

[0047]         The exit aperture 124 arranged along the transmit path of the emitted light beams

102 can be configured to accommodate the vertical and horizontal extents of the plurality of light

beams 102 emitted by the plurality of light sources 122 at the exit aperture 124. It is noted that

the block diagram shown in Figure 1 is described in connection with functional modules for

convenience in description. However, the functional modules in the block diagram of Figure 1

can be physically implemented in other locations. For example, although illustrated that the exit

aperture 124 is included in the transmit block 120, the exit aperture 124 can be physically
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included in both the transmit block 120 and the shared space 140. For example, the transmit

block 120 and the shared space 140 can be separated by a wall that includes the exit aperture

124. In this case, the exit aperture 124 can correspond to a transparent portion of the wall. In

one example, the transparent portion can be a hole or cut-away portion of the wall. In another

example, the wall can be formed from a transparent substrate (e.g., glass) coated with a non-

transparent material, and the exit aperture 124 can be a portion of the substrate that is not coated

with the non-transparent material.

[0048]         In some examples of the LIDAR device 100, it may be desirable to minimize size

of the exit aperture 124 while accommodating the vertical and horizontal extents of the plurality

of light beams 102. For example, minimizing the size of the exit aperture 124 can improve the

optical shielding of the light sources 122 described above in the functions of the housing 110.

Additionally or alternatively, the wall separating the transmit block 120 and the shared space 140

can be arranged along the receive path of the focused light 108, and thus, the exit aperture 124

can be minimized to allow a larger portion of the focused light 108 to reach the wall. For

example, the wall can be coated with a reflective material (e.g., reflective surface 142 in shared

space 140) and the receive path can include reflecting the focused light 108 by the reflective

material towards the receive block 130. In this case, minimizing the size of the exit aperture 124

can allow a larger portion of the focused light 108 to reflect off the reflective material that the

wall is coated with.

[0049]         To minimize the size of the exit aperture 124, in some examples, the divergence

of the emitted light beams 102 can be reduced by partially collimating the uncollimated light

beams emitted by the light sources 122 to minimize the vertical and horizontal extents of the

emitted light beams 102 and thus minimize the size of the exit aperture 124. For example, each
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light source of the plurality of light sources 122 can include a cylindrical lens arranged adjacent

to the light source. The light source may emit a corresponding uncollimated light beam that

diverges more in a first direction than in a second direction. The cylindrical lens may pre-

collimate the uncollimated light beam in the first direction to provide a partially collimated light

beam, thereby reducing the divergence in the first direction. In some examples, the partially

collimated light beam diverges less in the first direction than in the second direction. Similarly,

uncollimated light beams from other light sources of the plurality of light sources 122 can have a

reduced beam width in the first direction and thus the emitted light beams 102 can have a smaller

divergence due to the partially collimated light beams. In this example, at least one of the

vertical and horizontal extents of the exit aperture 124 can be reduced due to partially

collimating the light beams 102.

[0050]         Additionally or alternatively, to minimize the size of the exit aperture 124, in

some examples, the light sources 122 can be arranged along a substantially curved surface

defined by the transmit block 120. The curved surface can be configured such that the emitted

light beams 102 converge towards the exit aperture 124, and thus the vertical and horizontal

extents of the emitted light beams 102 at the exit aperture 124 can be reduced due to the

arrangement of the light sources 122 along the curved surface of the transmit block 120. In some

examples, the curved surface of the transmit block 120 can include a curvature along the first

direction of divergence of the emitted light beams 102 and a curvature along the second direction

of divergence of the emitted light beams 102, such that the plurality of light beams 102 converge

towards a central area in front of the plurality of light sources 122 along the transmit path.

[0051]         To facilitate such curved arrangement of the light sources 122, in some examples,

the light sources 122 can be disposed on a flexible substrate (e.g., flexible PCB) having a
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curvature along one or more directions. For example, the curved flexible substrate can be curved

along the first direction of divergence of the emitted light beams 102 and the second direction of

divergence of the emitted light beams 102. Additionally or alternatively, to facilitate such curved

arrangement of the light sources 122, in some examples, the light sources 122 can be disposed on

a curved edge of one or more vertically-oriented printed circuit boards (PCBs), such that the

curved edge of the PCB substantially matches the curvature of the first direction (e.g., the

vertical plane of the PCB). In this example, the one or more PCBs can be mounted in the

transmit block 120 along a horizontal curvature that substantially matches the curvature of the

second direction (e.g., the horizontal plane of the one or more PCBs). For example, the transmit

block 120 can include four PCBs, with each PCB mounting sixteen light sources, so as to

provide 64 light sources along the curved surface of the transmit block 120. In this example, the

64 light sources are arranged in a pattern such that the emitted light beams 102 converge towards

the exit aperture 124 of the transmit block 120.

[0052]         The transmit block 120 can optionally include the mirror 126 along the transmit

path of the emitted light beams 102 between the light sources 122 and the exit aperture 124. By

including the mirror 126 in the transmit block 120, the transmit path of the emitted light beams

102 can be folded to provide a smaller size of the transmit block 120 and the housing 110 of the

LIDAR device 100 than a size of another transmit block where the transmit path that is not

folded.

[0053]         The receive block 130 includes a plurality of detectors 132 that can be configured

to receive the focused light 108 via an entrance aperture 134. In some examples, each of the

plurality of detectors 132 is configured and arranged to receive a portion of the focused light 108

corresponding to a light beam emitted by a corresponding light source of the plurality of light
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sources 122 and reflected of the one or more objects in the environment of the LIDAR device

100. The receive block 130 can optionally include the detectors 132 in a sealed environment

having an inert gas 136.

[0054]         The detectors 132 may comprise photodiodes, avalanche photodiodes,

phototransistors, cameras, active pixel sensors (APS), charge coupled devices (CCD), cryogenic

detectors, or any other sensor of light configured to receive focused light 108 having

wavelengths in the wavelength range of the emitted light beams 102.

[0055]         To facilitate receiving, by each of the detectors 132, the portion of the focused

light 108 from the corresponding light source of the plurality of light sources 122, the detectors

132 can be disposed on one or more substrates and arranged accordingly. For example, the light

sources 122 can be arranged along a curved surface of the transmit block 120, and the detectors

132 can also be arranged along a curved surface of the receive block 130. The curved surface of

the receive block 130 can similarly be curved along one or more axes of the curved surface of the

receive block 130. Thus, each of the detectors 132 are configured to receive light that was

originally emitted by a corresponding light source of the plurality of light sources 122.

[0056]         To provide the curved surface of the receive block 130, the detectors 132 can be

disposed on the one or more substrates similarly to the light sources 122 disposed in the transmit

block 120. For example, the detectors 132 can be disposed on a flexible substrate (e.g., flexible

PCB) and arranged along the curved surface of the flexible substrate to each receive focused

light originating from a corresponding light source of the light sources 122. In this example, the

flexible substrate may be held between two clamping pieces that have surfaces corresponding to

the shape of the curved surface of the receive block 130. Thus, in this example, assembly of the


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receive block 130 can be simplified by sliding the flexible substrate onto the receive block 130

and using the two clamping pieces to hold it at the correct curvature.

[0057]         The focused light 108 traversing along the receive path can be received by the

detectors 132 via the entrance aperture 134. In some examples, the entrance aperture 134 can

include a filtering window that passes light having wavelengths within the wavelength range

emitted by the plurality of light sources 122 and attenuates light having other wavelengths. In

this example, the detectors 132 receive the focused light 108 substantially comprising light

having the wavelengths within the wavelength range.

[0058]         In some examples, the plurality of detectors 132 included in the receive block 130

can include, for example, avalanche photodiodes in a sealed environment that is filled with the

inert gas 136. The inert gas 136 may comprise, for example, nitrogen.

[0059]         The shared space 140 includes the transmit path for the emitted light beams 102

from the transmit block 120 to the lens 150, and includes the receive path for the focused light

108 from the lens 150 to the receive block 130. In some examples, the transmit path at least

partially overlaps with the receive path in the shared space 140. By including the transmit path

and the receive path in the shared space 140, advantages with respect to size, cost, and/or

complexity of assembly, manufacture, and/or maintenance of the LIDAR device 100 can be

provided.

[0060]         In some examples, the shared space 140 can include a reflective surface 142. The

reflective surface 142 can be arranged along the receive path and configured to reflect the

focused light 108 towards the entrance aperture 134 and onto the detectors 132. The reflective

surface 142 may comprise a prism, mirror or any other optical element configured to reflect the

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focused light 108 towards the entrance aperture 134 in the receive block 130. In some examples

where a wall separates the shared space 140 from the transmit block 120. In these examples, the

wall may comprise a transparent substrate (e.g., glass) and the reflective surface 142 may

comprise a reflective coating on the wall with an uncoated portion for the exit aperture 124.

[0061]         In embodiments including the reflective surface 142, the reflective surface 142

can reduce size of the shared space 140 by folding the receive path similarly to the mirror 126 in

the transmit block 120. Additionally or alternatively, in some examples, the reflective surface

142 can direct the focused light 103 to the receive block 130 further providing flexibility to the

placement of the receive block 130 in the housing 110. For example, varying the tilt of the

reflective surface 142 can cause the focused light 108 to be reflected to various portions of the

interior space of the housing 110, and thus the receive block 130 can be placed in a

corresponding position in the housing 110. Additionally or alternatively, in this example, the

LIDAR device 100 can be calibrated by varying the tilt of the reflective surface 142.

[0062]         The lens 150 mounted to the housing 110 can have an optical power to both

collimate the emitted light beams 102 from the light sources 122 in the transmit block 120, and

focus the reflected light 106 from the one or more objects in the environment of the LIDAR

device 100 onto the detectors 132 in the receive block 130. In one example, the lens 150 has a

focal length of approximately 120 mm. By using the same lens 150 to perform both of these

functions, instead of a transmit lens for collimating and a receive lens for focusing, advantages

with respect to size, cost, and/or complexity can be provided. In some examples, collimating the

emitted light beams 102 to provide the collimated light beams 104 allows determining the

distance travelled by the collimated light beams 104 to the one or more objects in the

environment of the LIDAR device 100.
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[0063]         In an example scenario, the emitted light beams 102 from the light sources 122

traversing along the transmit path can be collimated by the lens 150 to provide the collimated

light beams 104 to the environment of the LIDAR device 100. The collimated light beams 104

may then reflect off the one or more objects in the environment of the LIDAR device 100 and

return to the lens 150 as the reflected light 106. The lens 150 may then collect and focus the

reflected light 106 as the focused light 108 onto the detectors 132 included in the receive block

130. In some examples, aspects of the one or more objects in the environment of the LIDAR

device 100 can be determined by comparing the emitted light beams 102 with the focused light

beams 108. The aspects can include, for example, distance, shape, color, and/or material of the

one or more objects. Additionally, in some examples, rotating the housing 110, a three

dimensional map of the surroundings of the LIDAR device 100 can be determined.

[0064]         In some examples where the plurality of light sources 122 are arranged along the

curved surface of the transmit block 120, the lens 150 can be configured to have a focal surface

corresponding to the curved surface of the transmit block 120. For example, the lens 150 can

include an aspheric surface outside the housing 110 and a toroidal surface inside the housing 110

facing the shared space 140. In this example, the shape of the lens 150 allows the lens 150 to

both collimate the emitted light beams 102 and focus the reflected light 106. Additionally, in this

example, the shape of the lens 150 allows the lens 150 to have the focal surface corresponding to

the curved surface of the transmit block 120. In some examples, the focal surface provided by

the lens 150 substantially matches the curved shape of the transmit block 120. Additionally, in

some examples, the detectors 132 can be arranged similarly in the curved shape of the receive

block 130 to receive the focused light 108 along the curved focal surface provided by the lens

150. Thus, in some examples, the curved surface of the receive block 130 may also substantially
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match the curved focal surface provided by the lens 150.

[0065]         Figure 2 is a cross-section view of an example LIDAR device 200. In this

example, the LIDAR device 200 includes a housing 210 that houses a transmit block 220, a

receive block 230, a shared space 240, and a lens 250. For purposes of illustration, Figure 2

shows an x-y-z axis, in which the z-axis is in a substantially vertical direction and the x-axis and

y-axis define a substantially horizontal plane.

[0066]         The structure, function, and operation of various components included in the

LIDAR device 200 are similar to corresponding components included in the LIDAR device 100

described in Figure 1. For example, the housing 210, the transmit block 220, the receive block

230, the shared space 240, and the lens 250 are similar, respectively, to the housing 110, the

transmit block 120, the receive block 130, and the shared space 140 described in Figure 1.

[0067]         The transmit block 220 includes a plurality of light sources 222a-c arranged along

a curved focal surface 228 defined by the lens 250. The plurality of light sources 222a-c can be

configured to emit, respectively, the plurality of light beams 202a-c having wavelengths within a

wavelength range. For example, the plurality of light sources 222a-c may comprise laser diodes

that emit the plurality of light beams 202a-c having the wavelengths within the wavelength

range. The plurality of light beams 202a-c are reflected by mirror 224 through an exit aperture

226 into the shared space 240 and towards the lens 250. The structure, function, and operation of

the plurality of light sources 222a-c, the mirror 224, and the exit aperture 226 can be similar,

respectively, to the plurality of light sources 122, the mirror 124, and the exit aperture 226

discussed in the description of the LIDAR device 100 of Figure 1.

[0068]         Although Figure 2 shows that the curved focal surface 228 is curved in the x-y

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plane (horizontal plane), additionally or alternatively, the plurality of light sources 222a-c may

be arranged along a focal surface that is curved in a vertical plane. For example, the curved focal

surface 228 can have a curvature in a vertical plane, and the plurality of light sources 222a-c can

include additional light sources arranged vertically along the curved focal surface 228 and

configured to emit light beams directed at the mirror 224 and reflected through the exit aperture

226.

[0069]         Due to the arrangement of the plurality of light sources 222a-c along the curved

focal surface 228, the plurality of light beams 202a-c, in some examples, may converge towards

the exit aperture 226. Thus, in these examples, the exit aperture 226 may be minimally sized

while being capable of accommodating vertical and horizontal extents of the plurality of light

beams 202a-c. Additionally, in some examples, the curved focal surface 228 can be defined by

the lens 250. For example, the curved focal surface 228 may correspond to a focal surface of the

lens 250 due to shape and composition of the lens 250. In this example, the plurality of light

sources 222a-c can be arranged along the focal surface defined by the lens 250 at the transmit

block.

[0070]         The plurality of light beams 202a-c propagate in a transmit path that extends

through the transmit block 220, the exit aperture 226, and the shared space 240 towards the lens

250. The lens 250 collimates the plurality of light beams 202a-c to provide collimated light

beams 204a-c into an environment of the LIDAR device 200. The collimated light beams 204a-c

correspond, respectively, to the plurality of light beams 202a-c. In some examples, the

collimated light beams 204a-c reflect off one or more objects in the environment of the LIDAR

device 200 as reflected light 206. The reflected light 206 may be focused by the lens 250 into

the shared space 240 as focused light 208 traveling along a receive path that extends through the
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shared space 240 onto the receive block 230. For example, the focused light 208 may be

reflected by the reflective surface 242 as focused light 208a-c propagating towards the receive

block 230.

[0071]         The lens 250 may be capable of both collimating the plurality of light beams

202a-c and focusing the reflected light 206 along the receive path 208 towards the receive block

230 due to shape and composition of the lens 250. For example, the lens 250 can have an

aspheric surface 252 facing outside of the housing 210 and a toroidal surface 254 facing the

shared space 240. By using the same lens 250 to perform both of these functions, instead of a

transmit lens for collimating and a receive lens for focusing, advantages with respect to size,

cost, and/or complexity can be provided.

[0072]         The exit aperture 226 is included in a wall 244 that separates the transmit block

220 from the shared space 240. In some examples, the wall 244 can be formed from a

transparent material (e.g., glass) that is coated with a reflective material 242. In this example,

the exit aperture 226 may correspond to the portion of the wall 244 that is not coated by the

reflective material 242. Additionally or alternatively, the exit aperture 226 may comprise a hole

or cut-away in the wall 244.

[0073]         The focused light 208 is reflected by the reflective surface 242 and directed

towards an entrance aperture 234 of the receive block 230. In some examples, the entrance

aperture 234 may comprise a filtering window configured to allow wavelengths in the

wavelength range of the plurality of light beams 202a-c emitted by the plurality of light sources

222a-c and attenuate other wavelengths. The focused light 208a-c reflected by the reflective

surface 242 from the focused light 208 propagates, respectively, onto a plurality of detectors


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232a-c. The structure, function, and operation of the entrance aperture 234 and the plurality of

detectors 232a-c is similar, respectively, to the entrance aperture 134 and the plurality of

detectors 132 included in the LIDAR device 100 described in Figure 1.

[0074]         The plurality of detectors 232a-c can be arranged along a curved focal surface 238

of the receive block 230. Although Figure 2 shows that the curved focal surface 238 is curved

along the x-y plane (horizontal plane), additionally or alternatively, the curved focal surface 238

can be curved in a vertical plane. The curvature of the focal surface 238 is also defined by the

lens 250. For example, the curved focal surface 238 may correspond to a focal surface of the

light projected by the lens 250 along the receive path at the receive block 230.

[0075]         Each of the focused light 208a-c corresponds, respectively, to the emitted light

beams 202a-c and is directed onto, respectively, the plurality of detectors 232a-c. For example,

the detector 232a is configured and arranged to received focused light 208a that corresponds to

collimated light beam 204a reflected of the one or more objects in the environment of the

LIDAR device 200. In this example, the collimated light beam 204a corresponds to the light

beam 202a emitted by the light source 222a. Thus, the detector 232a receives light that was

emitted by the light source 222a, the detector 232b receives light that was emitted by the light

source 222b, and the detector 232c receives light that was emitted by the light source 222c.

[0076]         By comparing the received light 208a-c with the emitted light beams 202a-c, at

least one aspect of the one or more object in the environment of the LIDAR device 200 may be

determined. For example, by comparing a time when the plurality of light beams 202a-c were

emitted by the plurality of light sources 222a-c and a time when the plurality of detectors 232a-c

received the focused light 208a-c, a distance between the LIDAR device 200 and the one or more


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object in the environment of the LIDAR device 200 may be determined. In some examples,

other aspects such as shape, color, material, etc. may also be determined.

[0077] In some examples, the LIDAR device 200 may be rotated about an axis to determine a

three-dimensional map of the surroundings of the LIDAR device 200. For example, the LIDAR

device 200 may be rotated about a substantially vertical axis as illustrated by arrow 290.

Although illustrated that the LIDAR device 200 is rotated counter clock-wise about the axis as

illustrated by the arrow 290, additionally or alternatively, the LIDAR device 200 may be rotated

in the clockwise direction. In some examples, the LIDAR device 200 may be rotated 360

degrees about the axis. In other examples, the LIDAR device 200 may be rotated back and forth

along a portion of the 360 degree view of the LIDAR device 200. For example, the LIDAR

device 200 may be mounted on a platform that wobbles back and forth about the axis without

making a complete rotation.

[0078]         Figure 3A is a perspective view of an example LIDAR device 300 fitted with

various components, in accordance with at least some embodiments described herein. Figure 3B

is a perspective view of the example LIDAR device 300 shown in Figure 3A with the various

components removed to illustrate interior space of the housing 310. The structure, function, and

operation of the LIDAR device 300 is similar to the LIDAR devices 100 and 200 described,

respectively, in Figures 1 and 2. For example, the LIDAR device 300 includes a housing 310

that houses a transmit block 320, a receive block 330, and a lens 350 that are similar,

respectively, to the housing 110, the transmit block 120, the receive block 130, and the lens 150

described in Figure 1. Additionally, collimated light beams 304 propagate from the lens 350

toward an environment of the LIDAR device 300 and reflect of one or more objects in the

environment as reflected light 306, similarly to the collimated light beams 104 and reflected light
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106 described in Figure 1.

[0079]         The LIDAR device 300 can be mounted on a mounting structure 360 and rotated

about an axis to provide a 360 degree view of the environment surrounding the LIDAR device

300. In some examples, the mounting structure 360 may comprise a movable platform that may

tilt in one or more directions to change the axis of rotation of the LIDAR device 300.

[0080]         As illustrated in Figure 3B, the various components of the LIDAR device 300 can

be removably mounted to the housing 310. For example, the transmit block 320 may comprise

one or more printed circuit boards (PCBs) that are fitted in the portion of the housing 310 where

the transmit block 320 can be mounted. Additionally, the receive block 330 may comprise a

plurality of detectors 332 mounted to a flexible substrate and can be removably mounted to the

housing 310 as a block that includes the plurality of detectors. Similarly, the lens 350 can be

mounted to another side of the housing 310.

[0081]         A plurality of light beams 302 can be transmitted by the transmit block 320 into

the shared space 340 and towards the lens 350 to be collimated into the collimated light beams

304. Similarly, the received light 306 can be focused by the lens 350 and directed through the

shared space 340 onto the receive block 330.

[0082]         Figure 4 illustrates an example transmit block 420, in accordance with at least

some embodiments described herein. Transmit block 420 can correspond to the transmit blocks

120, 220, and 320 described in Figures 1-3. For example, the transmit block 420 includes a

plurality of light sources 422a-c similar to the plurality of light sources 222a-c included in the

transmit block 220 of Figure 2. Additionally, the light sources 422a-c are arranged along a focal

surface 428, which is curved in a vertical plane. The light sources 422a-c are configured to emit

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a plurality of light beams 402a-c that converge and propagate through an exit aperture 426 in a

wall 444.

[0083]         Although the plurality of light sources 422a-c can be arranged along a focal

surface 428 that is curved in a vertical plane, additionally or alternatively, the plurality of light

sources 422a-c can be arranged along a focal surface that is curved in a horizontal plane or a

focal surface that is curved both vertically and horizontally. For example, the plurality of light

sources 422a-c can be arranged in a curved three dimensional grid pattern. For example, the

transmit block 420 may comprise a plurality of printed circuit board (PCB) vertically mounted

such that a column of light sources such as the plurality of light sources 422a-c are along the

vertical axis of each PCB and each of the plurality of PCBs can be arranged adjacent to other

vertically mounted PCBs along a horizontally curved plane to provide the three dimensional grid

pattern.

[0084]         As shown in Figure 4, the light beams 402a-c converge towards the exit aperture

426 which allows the size of the exit aperture 426 to be minimized while accommodating

vertical and horizontal extents of the light beams 402a-c similarly to the exit aperture 226

described in Figure 2.

[0085]         As noted above in the description of Figure 1, the light from light sources 122

could be partially collimated to fit through the exit aperture 124. Figures 5A, 5B, and 5C

illustrate an example of how such partial collimation could be achieved. In this example, a light

source 500 is made up of a laser diode 502 and a cylindrical lens 504. As shown in Figure 5A,

laser diode 502 has an aperture 506 with a shorter dimension corresponding to a fast axis 508

and a longer dimension corresponding to a slow axis 510. Figures 5B and 5C show an


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uncollimated laser beam 512 being emitted from laser diode 502. Laser beam 512 diverges in

two directions, one direction defined by fast axis 508 and another, generally orthogonal direction

defined by slow axis 510. Figure 5B shows the divergence of laser beam 512 along fast axis

508, whereas Figure 5C shows the divergence of laser beam 512 along slow axis 510. Laser

beam 512 diverges more quickly along fast axis 508 than along slow axis 510.

[0086]         In one specific example, laser diode 502 is an Osram SPL DL90 3 nanostack

pulsed laser diode that emits pulses of light with a range of wavelengths from about 896 nm to

about 910 nm (a nominal wavelength of 905 nm). In this specific example, the aperture has a

shorter dimension of about 10 microns, corresponding to its fast axis, and a longer dimension of

about 200 microns, corresponding to its slow axis. The divergence of the laser beam in this

specific example is about 25 degrees along the fast axis and about 11 degrees along the slow

axis. It is to be understood that this specific example is illustrative only. Laser diode 502 could

have a different configuration, different aperture sizes, different beam divergences, and/or emit

different wavelengths.

[0087]         As shown in Figures 5B and 5C, cylindrical lens 504 may be positioned in front

of aperture 506 with its cylinder axis 514 generally parallel to slow axis 510 and perpendicular to

fast axis 508. In this arrangement, cylindrical lens 504 can pre-collimate laser beam 512 along

fast axis 508, resulting in partially collimated laser beam 516. In some examples, this pre-

collimation may reduce the divergence along fast axis 508 to about one degree or less.

Nonetheless, laser beam 516 is only partially collimated because the divergence along slow axis

510 may be largely unchanged by cylindrical lens 504. Thus, whereas uncollimated laser beam

512 emitted by laser diode has a higher divergence along fast axis 508 than along slow axis 510,

partially collimated laser beam 516 provided by cylindrical lens 504 may have a higher
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divergence along slow axis 510 than along fast axis 508. Further, the divergences along slow

axis 510 in uncollimated laser beam 512 and in partially collimated laser beam 516 may be

substantially equal.

[0088]         In one example, cylindrical lens 504 is a microrod lens with a diameter of about

600 microns that is placed about 250 microns in front of aperture 506. The material of the

microrod lens could be, for example, fused silica or a borosilicate crown glass, such as Schott

BK7. Alternatively, the microrod lens could be a molded plastic cylinder or acylinder.

Cylindrical lens 504 could also be used to provide magnification along fast axis 508. For

example, if the dimensions of aperture 506 are 10 microns by 200 microns, as previously

described, and cylindrical lens 504 is a microrod lens as described above, then cylindrical lens

504 may magnify the shorter dimension (corresponding to fast axis 508) by about 20 times. This

magnification effectively stretches out the shorter dimension of aperture 506 to about the same as

the longer dimension. As a result, when light from laser beam 516 is focused, for example,

focused onto a detector, the focused spot could have a substantially square shape instead of the

rectangular slit shape of aperture 506.

[0089]         Figure 6A illustrates an example receive block 630, in accordance with at least

some embodiments described herein. Figure 6B illustrates a side view of three detectors 632a-c

included in the receive block 630 of Figure 6A. Receive block 630 can correspond to the receive

blocks 130, 230, and 330 described in Figures 1-3. For example, the receive block 630 includes

a plurality of detectors 632a-c arranged along a curved surface 638 defined by a lens 650

similarly to the receive block 230, the detectors 232 and the curved plane 238 described in

Figure 2. Focused light 608a-c from lens 650 propagates along a receive path that includes a

reflective surface 642 onto the detectors 632a-c similar, respectively, to the focused light 208a-c,
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the lens 250, the reflective surface 242, and the detectors 232a-c described in Figure 2.

[0090]         The receive block 630 comprises a flexible substrate 680 on which the plurality of

detectors 632a-c are arranged along the curved surface 638. The flexible substrate 680 conforms

to the curved surface 638 by being mounted to a receive block housing 690 having the curved

surface 638. As illustrated in Figure 6, the curved surface 638 includes the arrangement of the

detectors 632a-c curved along a vertical and horizontal axis of the receive block 630.

[0091]         Figures 7A and 7B illustrate an example lens 750 with an aspheric surface 752

and a toroidal surface 754, in accordance with at least some embodiments described herein.

Figure 7B illustrates a cross-section view of the example lens 750 shown in Figure 7A. The lens

750 can correspond to lens 150, 250, and 350 included in Figures 1-3. For example, the lens 750

can be configured to both collimate light incident on the toroidal surface 754 from a light source

into collimated light propagating out of the aspheric surface 752, and focus reflected light

entering from the aspheric surface 752 onto a detector. The structure of the lens 750 including

the aspheric surface 752 and the toroidal surface 754 allows the lens 750 to perform both

functions of collimating and focusing described in the example above.

[0092]         In some examples, the lens 750 defines a focal surface of the light propagating

through the lens 750 due to the aspheric surface 752 and the toroidal surface 754. In these

examples, the light sources providing the light entering the toroidal surface 754 can be arranged

along the defined focal surface, and the detectors receiving the light focused from the light

entering the aspheric surface 752 can also be arranged along the defined focal surface.

[0093]         By using the lens 750 that performs both of these functions (collimating

transmitted light and focusing received light), instead of a transmit lens for collimating and a

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receive lens for focusing, advantages with respect to size, cost, and/or complexity can be

provided.

[0094]         Figure 8A illustrates an example LIDAR device 810 mounted on a vehicle 800, in

accordance with at least some embodiments described herein. Figure 8A shows a Right Side

View, Front View, Back View, and Top View of the vehicle 800. Although vehicle 800 is

illustrated in Figure 8 as a car, other examples are possible. For instance, the vehicle 800 could

represent a truck, a van, a semi-trailer truck, a motorcycle, a golf cart, an off-road vehicle, or a

farm vehicle, among other examples.

[0095]         The structure, function, and operation of the LIDAR device 810 shown in Figure

8A is similar to the example LIDAR devices 100, 200, and 300 shown in Figures 1-3. For

example, the LIDAR device 810 can be configured to rotate about an axis and determine a three-

dimensional map of a surrounding environment of the LIDAR device 810. To facilitate the

rotation, the LIDAR device 810 can be mounted on a platform 802. In some examples, the

platform 802 may comprise a movable mount that allows the vehicle 800 to control the axis of

rotation of the LIDAR device 810.

[0096]         While the LIDAR device 810 is shown to be mounted in a particular location on

the vehicle 800, in some examples, the LIDAR device 810 may be mounted elsewhere on the

vehicle 800. For example, the LIDAR device 810 may be mounted anywhere on top of the

vehicle 800, on a side of the vehicle 800, under the vehicle 800, on a hood of the vehicle 800,

and/or on a trunk of the vehicle 800.

[0097]         The LIDAR device 810 includes a lens 812 through which collimated light is

transmitted from the LIDAR device 810 to the surrounding environment of the LIDAR device

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810, similarly to the lens 150, 250, and 350 described in Figures 1-3. Similarly, the lens 812 can

also be configured to receive reflected light from the surrounding environment of the LIDAR

device 810 that were reflected off one or more objects in the surrounding environment.

[0098]         Figure 8B illustrates a scenario where the LIDAR device 810 shown in Figure 8A

and scanning an environment 830 that includes one or more objects, in accordance with at least

some embodiments described herein. In this example scenario, vehicle 800 can be traveling on a

road 822 in the environment 830. By rotating the LIDAR device 810 about the axis defined by

the platform 802, the LIDAR device 810 may be able to determine aspects of objects in the

surrounding environment 830, such as lane lines 824a-b, other vehicles 826a-c, and/or street sign

828. Thus, the LIDAR device 810 can provide the vehicle 800 with information about the

objects in the surrounding environment 830, including distance, shape, color, and/or material

type of the objects.

[0099]         Figure 9 is a flowchart of a method 900 of operating a LIDAR device, in

accordance with at least some embodiments described herein. Method 900 shown in Figure 9

presents an embodiment of a method that could be used with the LIDAR devices 100, 200, and

300, for example. Method 900 may include one or more operations, functions, or actions as

illustrated by one or more of blocks 902-912. Although the blocks are illustrated in a sequential

order, these blocks may in some instances be performed in parallel, and/or in a different order

than those described herein. Also, the various blocks may be combined into fewer blocks,

divided into additional blocks, and/or removed based upon the desired implementation.

[00100]        In addition, for the method 900 and other processes and methods disclosed herein,

the flowchart shows functionality and operation of one possible implementation of present


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embodiments. In this regard, each block may represent a module, a segment, or a portion of a

manufacturing or operation process.

[00101]        At block 902, the method 900 includes rotating a housing of a light detection and

ranging (LIDAR) device about an axis, wherein the housing has an interior space that includes a

transmit block, a receive block, and a shared space, wherein the transmit block has an exit

aperture, and wherein the receive block has an entrance aperture.

[00102]        At block 904, the method 900 includes emitting, by a plurality of light sources in

the transmit block, a plurality of light beams that enter the shared space via a transmit path, the

light beams comprising light having wavelengths in a wavelength range.

[00103]        At block 906, the method 900 includes receiving the light beams at a lens

mounted to the housing along the transmit path.

[00104]        At block 908, the method 900 includes collimating, by the lens, the light beams

for transmission into an environment of the LIDAR device.

[00105]        At block 910, the method 900 includes focusing, by the lens, the collected light

onto a plurality of detectors in the receive block via a receive path that extends through the

shared space and the entrance aperture of the receive block.

[00106]        At block 912, the method 900 includes detecting, by the plurality of detectors in

the receive block, light from the focused light having wavelengths in the wavelength range.

[00107]        For example, a LIDAR device such as the LIDAR device 200 can be rotated

about an axis (block 902). A transmit block, such as the transmit block 220, can include a

plurality of light sources that emit light beams having wavelengths in a wavelength range,


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through an exit aperture and a shared space to a lens (block 904). The light beams can be

received by the lens (block 906) and collimated for transmission to an environment of the

LIDAR device (block 908). The collimated light may then reflect off one or more objects in the

environment of the LIDAR device and return as reflected light collected by the lens. The lens

may then focus the collected light onto a plurality of detectors in the receive block via a receive

path that extends through the shared space and an entrance aperture of the receive block (block

910). The plurality of detectors in the receive block may then detect light from the focused light

having wavelengths in the wavelength range of the emitted light beams from the light sources

(block 912).

[00108]        Within examples, devices and operation methods described include a LIDAR

device rotated about an axis and configured to transmit collimated light and focus reflected light.

The collimation and focusing can be performed by a shared lens. By using a shared lens that

performs both of these functions, instead of a transmit lens for collimating and a receive lens for

focusing, advantages with respect to size, cost, and/or complexity can be provided. Additionally,

in some examples, the shared lens can define a curved focal surface. In these examples, the light

sources emitting light through the shared lens and the detectors receiving light focused by the

shared lens can be arranged along the curved focal surface defined by the shared lens.

[00109]        It should be understood that arrangements described herein are for purposes of

example only. As such, those skilled in the art will appreciate that other arrangements and other

elements (e.g. machines, interfaces, functions, orders, and groupings of functions, etc.) can be

used instead, and some elements may be omitted altogether according to the desired results.

Further, many of the elements that are described are functional entities that may be implemented

as discrete or distributed components or in conjunction with other components, in any suitable
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combination and location, or other structural elements described as independent structures may

be combined.

[00110]        While various aspects and embodiments have been disclosed herein, other aspects

and embodiments will be apparent to those skilled in the art. The various aspects and

embodiments disclosed herein are for purposes of illustration and are not intended to be limiting,

with the true scope being indicated by the following claims, along with the full scope of

equivalents to which such claims are entitled. It is also to be understood that the terminology

used herein is for the purpose of describing particular embodiments only, and is not intended to

be limiting.




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                                            CLAIMS

What is claimed is:



       1.      A light detection and ranging (LIDAR) device, comprising:

       a housing configured to rotate about an axis, wherein the housing has an interior space

that includes a transmit block, a receive block, and a shared space, wherein the transmit block

has an exit aperture, and wherein the receive block has an entrance aperture;

       a plurality of light sources in the transmit block, wherein the plurality of light sources are

configured to emit a plurality of light beams that enter the shared space through the exit aperture

and traverse the shared space via a transmit path, the light beams comprising light having

wavelengths in a wavelength range;

       a plurality of detectors in the receive block, wherein the plurality of detectors are

configured to detect light having wavelengths in the wavelength range; and

       a lens mounted to the housing, wherein the lens is configured to receive the light beams

via the transmit path, collimate the light beams for transmission into an environment of the

LIDAR device, collect light comprising light from one or more of the collimated light beams

reflected by one or more objects in the environment of the LIDAR device, and focus the

collected light onto the detectors via a receive path that extends through the shared space and the

entrance aperture of the receive block.



       2.      The LIDAR device of claim 1, wherein each detector in the plurality of detectors

is associated with a corresponding light source in the plurality of light sources, and wherein the



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lens is configured to focus onto each detector a respective portion of the collected light that

comprises light from the detector's corresponding light source.



       3.      The LIDAR device of claim 1, wherein the exit aperture is in a wall that separates

the transmit block from the shared space.



       4.      The LIDAR device of claim 3, further comprising a reflective surface proximate

to the exit aperture, wherein the receive path includes reflection by the reflective surface.



       5.      The LIDAR device of claim 4, wherein the wall comprises a transparent material,

the reflective surface covers a portion of the transparent material, and the exit aperture

corresponds to a portion of the transparent material that is not covered by the reflective surface.



       6.      The LIDAR device of claim 1, wherein the transmit path at least partially overlaps

the receive path in the shared space.



       7.      The LIDAR device of claim 1, wherein the lens defines a curved focal surface in

the transmit block and a curved focal surface in the receive block.



       8.      The LIDAR device of claim 7, wherein the light sources in the plurality of light

sources are arranged in a pattern substantially corresponding to the curved focal surface in the

transmit block, and wherein the detectors in the plurality of detectors are arranged in a pattern

substantially corresponding to the curved focal surface in the receive block.

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       9.      The LIDAR device of claim 1, wherein the lens has an aspheric surface and a

toroidal surface.



       10.     The LIDAR device of claim 9, wherein the toroidal surface is in the shared space

within the housing and the aspheric surface is outside of the housing.



       11.     The LIDAR device of claim 1, wherein the axis is substantially vertical.



       12.     The LIDAR device of claim 1, further comprising a mirror in the transmit block,

wherein the mirror is configured to reflect the light beams toward the exit aperture.



       13.     The LIDAR device of claim 1, wherein the receive block comprises a sealed

environment containing an inert gas.



       14.     The LIDAR device of claim 1, wherein the entrance aperture comprises a material

that passes light having wavelengths in the wavelength range and attenuates light having other

wavelengths.



       15.     The LIDAR device of claim 1, wherein each light source in the plurality of light

sources comprises a respective laser diode.




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       16.     The LIDAR device of claim 1, wherein each detector in the plurality of detectors

comprises a respective avalanche photodiode.



       17.    A method comprising:

       rotating a housing of a light detection and ranging (LIDAR) device about an axis,

wherein the housing has an interior space that includes a transmit block, a receive block, and a

shared space, wherein the transmit block has an exit aperture, and wherein the receive block has

an entrance aperture;

       emitting, by a plurality of light sources in the transmit block, a plurality of light beams

that enter the shared space via a transmit path, the light beams comprising light having

wavelengths in a wavelength range;

       receiving the light beams at a lens mounted to the housing along the transmit path;

       collimating, by the lens, the light beams for transmission into an environment of the

LIDAR device;

       collecting, by the lens, light from one or more of the collimated light beams reflected by

one or more objects in the environment of the LIDAR device;

       focusing, by the lens, the collected light onto a plurality of detectors in the receive block

via a receive path that extends through the shared space and the entrance aperture of the receive

block; and

       detecting, by the plurality of detectors in the receive block, light from the focused light

having wavelengths in the wavelength range.




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       18.     The method of claim 17, wherein each detector in the plurality of detectors is

associated with a corresponding light source in the plurality of light sources, the method further

comprising:

        focusing onto each detector, by the lens, a respective portion of the collected light that

comprises light from the detector's corresponding light source.



       19.     The method of claim 17, the method further comprising:

       reflecting, by a reflective surface in the shared space, the focused light along the receive

path toward the entrance aperture of the receive block, wherein the reflective surface is

proximate to the exit aperture, and wherein the receive path includes the reflecting by the

reflective surface.



       20.     The method of claim 17, further comprising:

       reflecting, by a mirror in the transmit block, the emitted light beams toward the exit

aperture.




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                                          ABSTRACT

       A LIDAR device may transmit light pulses originating from one or more light sources

and may receive reflected light pulses that are then detected by one or more detectors. The

LIDAR device may include a lens that both (i) collimates the light from the one or more light

sources to provide collimated light for transmission into an environment of the LIDAR device

and (ii) focuses the reflected light onto the one or more detectors. The lens may define a curved

focal surface in a transmit path of the light from the one or more light sources and a curved focal

surface in a receive path of the one or more detectors. The one or more light sources may be

arranged along the curved focal surface in the transmit path. The one or more detectors may be

arranged along the curved focal surface in the receive path.




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                                                                                  100



                                         Housing 110

              Transmit Block 120                        Receive Block 130

              Light Sources 122                           Detectors 132

                                        1           I                       1
                  Mirror 126                              Inert Gas 136     I

                                                        Entrance Aperture
              Exit Aperture 124
                                                               134


                              m
                    n) 73
                    W
                    3 -7. Fr;

                    (1)



                                    Shared Space 140

                          I        Reflective Surface 142       I




        102         coEm                                                    108
                    c.) cc) —•
                    3
                    co
                         -7. Fr;
                             a_



                                         Lens 150




        104




                                       FIG. 1
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200

 c       206




                                                          228 220
                       244


          1

            Z
                              290 )



                              FIG. 2
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300

 c




       304


          L-..
       Collimated
         Light
        Beams


 306
          Reflected
            Light




              350
                                                                                      330




                                            FIG. 3A
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300

 c




 340




                           FIG. 3B
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                                                                   V
                                                                    •
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FIG. 5A



                                                            502




FIG. 5B



                           506


                     502         512                  516




FIG. 5C        510                           504             4- 500

                       506




                                       514
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   690




                                FIG. 6A

                638
                                                              650
                        608a

                               08b
                               __-----
         632a
                      08c




                                FIG. 6B
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                                                                750


                                           752                /




                              FIG. 7A

                                                        752




                                     754




                              FIG. 7B
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                                         802
800




           810                            Right Side View
        802
           ••-•                         812
                                6
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               •         &&&&&,




                                              •• • • • • • • • ; •

                   Front View
                                                                     810

         810                              802




                   Back View                                               Top View


                                               FIG. 8A
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                          FIG. 8B
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                                         900


             ROTATING A HOUSING OF A LIGHT DETECTION AND
             RANGING (LIDAR) DEVICE ABOUT AN AXIS, WHEREIN
    902    THE HOUSING HAS AN INTERIOR SPACE THAT INCLUDES
           A TRANSMIT BLOCK, A RECEIVE BLOCK, AND A SHARED
            SPACE, WHEREIN THE TRANSMIT BLOCK HAS AN EXIT
           APERTURE, AND WHEREIN THE RECEIVE BLOCK HAS AN
                          ENTRANCE APERTURE



           EMITTING, BY A PLURALITY OF LIGHT SOURCES IN THE
    904
           TRANSMIT BLOCK, A PLURALITY OF LIGHT BEAMS THAT
           ENTER THE SHARED SPACE VIA A TRANSMIT PATH, THE
                LIGHT BEAMS COMPRISING LIGHT HAVING
                WAVELENGTHS IN A WAVELENGTH RANGE


    906                              •
           RECEIVING THE LIGHT BEAMS AT A LENS MOUNTED TO
                THE HOUSING ALONG THE TRANSMIT PATH

    908
             COLLIMATING, BY THE LENS, THE LIGHT BEAMS FOR
            TRANSMISSION INTO AN ENVIRONMENT OF THE LIDAR
                                DEVICE



    910   FOCUSING, BY THE LENS, THE COLLECTED LIGHT ONTO
           A PLURALITY OF DETECTORS IN THE RECEIVE BLOCK
            VIA A RECEIVE PATH THAT EXTENDS THROUGH THE
          SHARED SPACE AND THE ENTRANCE APERTURE OF THE
                            RECEIVE BLOCK

    912
           DETECTING, BY THE PLURALITY OF DETECTORS IN THE
             RECEIVE BLOCK, LIGHT FROM THE FOCUSED LIGHT
            HAVING WAVELENGTHS IN THE WAVELENGTH RANGE



                               Figure 9
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